Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 1 of 175 Page ID #:1



1    Brandon J. Witkow (SBN 210443)
     bw@witkowlaw.com
2    Cory A. Baskin (SBN 240517)
     cb@witkowlaw.com
3    witkow | baskin
4
     21031 Ventura Boulevard, Suite 700
     Woodland Hills, California 91364
5    Tel: 818.296.9508
     Fax: 818.296.9510
6
     Attorneys for Plaintiff
7    2BCOM, LLC
8
                               UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                                                      Case No.   8:20-cv-00708
11   2BCOM, LLC.,
12                                                        COMPLAINT FOR PATENT
                                 Plaintiff,               INFRINGEMENT
13

14         vs.                                        JURY TRIAL DEMANDED
15
     TP-LINK USA CORPORATION d/b/a
16   TP-LINK NORTH AMERICA, INC.,
17
                                 Defendant.
18

19

20

21

22

23

24

25

26

27

28


                                              COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 2 of 175 Page ID #:2



1                      COMPLAINT FOR PATENT INFRINGEMENT
2          Plaintiff 2BCom, LLC (“Plaintiff” or “2BCom”) files this Complaint against
3    Defendant TP-Link USA Corporation d/b/a TP-Link North America, Inc. (“TP-Link”
4    or “Defendant”) for patent infringement and by and through its undersigned attorneys,
5    hereby prays to this honorable Court for relief and remedy based on the following:
6                                  NATURE OF THE CASE
7          1.      This is an action for patent infringement arising under the patent laws of
8    the United States, 2BCom holds the rights in U.S. Patent Nos. 6,885,643 (“the ‘643
9    patent”), 6,928,166 (“the ‘166 patent”), 7,039,445 (“the ‘445 patent”), 7,127,210 (“the
10   ‘210 patent”), and 7,460,477 (“the ‘477 patent”). The United States patent laws grant
11   the holder of a patent the right to exclude infringers from making, using, selling or
12   importing the invention claimed in a patent, and to recover damages for the infringer’s
13   violations of these rights, and to recover treble damages where the infringer willingly
14   infringed the patent. Under 35 U.S.C. § 282(a), the ‘643 patent, the ‘166 patent, the
15   ‘445 patent, the ‘210 patent, and the ‘477 patent are entitled to a presumption of
16   validity. 2BCom is suing Defendant for infringing its patents and doing so willfully.
17   2BCom seeks to recover damages from Defendant, including treble damages for
18   willful infringement.
19                                       THE PARTIES
20         2.      2BCom, LLC is a company, organized and existing under the laws of
21   Delaware, having a place of business at 1603 Orrington Ave, Suite 600, Evanston,
22   Illinois 60201.
23         3.      Upon information and belief, Defendant TP-Link USA Corporation d/b/a
24   TP-Link North America, Inc. is a California corporation with a principal place of
25   business at 145 South State College Boulevard, Suite 400, Brea, California 92821.
26         4.      Upon information and belief, Defendant manufactures, imports, and/or
27   sells wireless router and Bluetooth receiver products listed in Exhibit 11 (“Accused
28   Products”).

                                                 1
                                           COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 3 of 175 Page ID #:3



1                                           JURISDICTION
2           5.    This is an action for patent infringement arising under the patent laws of
3    the United States of America, more specifically under 35 U.S.C. § 100, et seq.,
4    including 35 U.S.C. §271. Subject matter jurisdiction is proper in this Court pursuant
5    to 28 U.S.C. §§ 1331 and 1338.
6           6.    The Court has personal jurisdiction over Defendant because Defendant,
7    among other things, conducts business in, and avails itself of the laws of the State of
8    California. Upon information and belief, Defendant has a principal place of business
9    in this District. In addition, upon information and belief, Defendant through its own
10   acts and/or through the acts of its affiliated companies (acting as its agents or alter
11   egos) makes, uses, offers to sell, sells (directly or through intermediaries), imports,
12   licenses and/or supplies, in this District and elsewhere in the United States, products,
13   through regular distribution channels, knowing such products would be used, offered
14   for sale and/or sold in this District. Plaintiff’s cause of action arises directly from
15   Defendant’s business contacts and other activities in the State of California and in this
16   District.
17                                           VENUE
18          7.    Venue properly lies within this judicial district and division, pursuant to
19   28 U.S.C. §§ 1391(b), (c), and (d), and 1400(b).
20          8.    Upon information and belief, Defendant has a principal place of business
21   in this District. Thus, Defendant resides in this District for the purposes of venue and
22   has committed acts of infringement within this judicial District, does business in this
23   District, and maintains a regular and established place of business in this District.
24                   INFRINGEMENT OF U.S. PATENT NO. 6,885,643
25          9.    2BCom incorporates by reference the allegations set forth in the
26   preceding paragraphs.
27          10.   On April 26, 2005, the ‘643 patent, entitled “Method And Device For
28   Facilitating Efficient Data Transfer Via A Wireless Communication Network,” was

                                                 2
                                            COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 4 of 175 Page ID #:4



1    duly and lawfully issued based upon an application filed by the inventors, Keiichi
2    Teramoto, Yoshiaki Takabatake, Junko Ami and Kensaku Fujimoto. A true and
3    correct copy of the ‘643 Patent is attached hereto as Exhibit 1.
4           11.        2BCom is the assignee and the owner of all right, title and interest in and
5    to the ‘643 patent and has the right to sue and recover damages for infringement
6    thereof.
7           12.        Upon information and belief, Defendant has been and continues to be
8    engaged in making, using, importing, selling and/or offering for sale infringing
9    products, including, but not limited to, the Accused Products in the United States
10   generally, and in the Central District of California specifically. The Accused Products
11   are available for retail purchase through numerous retail websites in the United States,
12   such         as       www.amazon.com,          www.bestbuy.com,         www.walmart.com,
13   www.bhphotovideo.com and many others listed on the Defendant’s website at
14   https://www.tp-link.com/us/where-to-buy/.
15          13.        Upon information and belief, by acts including, but not limited to use,
16   making, importation, offers to sell, sales and marketing of products that fall within the
17   scope of at least claim 1 of the ‘643 patent, Defendant has directly infringed literally
18   and/or upon information and belief, equivalently, and is continuing to infringe the
19   ‘643 patent and is thus liable to 2BCom pursuant to 35 U.S.C. § 271.
20          14.        As a non-limiting example of Defendant’s infringement of the ‘643
21   patent, set forth in Exhibit 2, is a preliminary claim chart showing Defendant’s
22   infringement of exemplary claim 1 of the ‘643 patent by the AC1750 Wireless Dual
23   Band Gigabit Router.
24          15.              Defendant has indirectly infringed and continues to infringe at
25   least claim 1 of the ‘643 patent by inducement under 35 U.S.C. § 271(b). Defendant
26   has induced and continues to induce users and retailers of the Accused Products to
27   directly infringe at least claim 1 of the ‘643 patent.
28

                                                     3
                                                COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 5 of 175 Page ID #:5



1          16.           Upon information and belief, Defendant’s knowingly induced
2    customers to use its Accused Products, including, for example, by promoting such
3    products online (e.g., https://www.tp-link.com/us/) and/or providing customers with
4    instructions and/or manuals for using the Accused Products through websites such as
5    https://www.tp-link.com/us/.    Likewise, Defendant knowingly induced retailers to
6    market and sell the Accused Products via websites such as www.amazon.com,
7    www.bestbuy.com, www.walmart.com, www.bhphotovideo.com and many others
8    listed on the Defendant’s website at https://www.tp-link.com/us/where-to-buy/.
9          17.           Defendant has been on notice of the ‘643 patent and Defendant’s
10   respective infringement of the ‘643 patent, since, at least, February 26, 2020, via letter
11   to Louis Liu, Chief Executive Officer of TP-Link USA Corporation, notifying the
12   Defendant of infringement of the patent.
13         18.    Defendant’s infringement of the ‘643 patent is without consent of,
14   authority of, or license from 2BCom.
15         19.    Upon information and belief, Defendant’s infringement of the ‘643 patent
16   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
17   285 entitling 2BCom to its attorneys’ fees and expenses.
18         20.    As a result of Defendant’s acts of infringement, 2BCom has suffered and
19   will continue to suffer damages in an amount to be proven at trial.
20                      INFRINGEMENT OF U.S. PATENT NO. 6,928,166
21         21.    2BCom incorporates by reference the allegations set forth in the
22   preceding paragraphs.
23         22.    On August 9, 2005 the ‘166 patent, entitled “Radio Communication
24   Device And User Authentication Method For Use Therewith,” was duly and lawfully
25   issued based upon an application filed by the inventor Junichi Yoshizawa. A true and
26   correct copy of the ‘166 Patent is attached hereto as Exhibit 3.
27

28

                                                 4
                                            COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 6 of 175 Page ID #:6



1           23.        2BCom is the assignee and the owner of all right, title and interest in and
2    to the ‘166 patent and has the right to sue and recover damages for infringement
3    thereof.
4           24.        Upon information and belief, Defendant has been and continues to be
5    engaged in making, using, importing, selling and/or offering for sale infringing
6    products, including, but not limited to, the Accused Products in the United States
7    generally, and in the Central District of California specifically. The Accused Products
8    are available for retail purchase through numerous retail websites in the United States,
9    such         as       www.amazon.com,          www.bestbuy.com,         www.walmart.com,
10   www.bhphotovideo.com and many others listed on the Defendant’s website at
11   https://www.tp-link.com/us/where-to-buy/.
12          25.        Upon information and belief, by acts including, but not limited to use,
13   making, importation, offers to sell, sales and marketing of products that fall within the
14   scope of at least claim 13 of the ‘166 patent, Defendant has directly infringed literally
15   and/or upon information and belief, equivalently, and is continuing to infringe the
16   ‘166 patent and is thus liable to 2BCom pursuant to 35 U.S.C. § 271.
17          26.        As a non-limiting example of Defendant’s infringement of the ‘166
18   patent, set forth in Exhibit 4, is a preliminary claim chart showing Defendant’s
19   infringement of exemplary claim 13 of the ‘166 patent by the AC1200 Wireless Dual
20   Band Router.
21          27.              Defendant has indirectly infringed and continues to infringe at
22   least claim 13 of the ‘166 patent by inducement under 35 U.S.C. § 271(b). Defendant
23   has induced and continues to induce users and retailers of the Accused Products to
24   directly infringe at least claim 13 of the ‘166 patent.
25          28.              Upon information and belief, Defendant’s knowingly induced
26   customers to use its Accused Products, including, for example, by promoting such
27   products online (e.g., https://www.tp-link.com/us/) and/or providing customers with
28   instructions and/or manuals for using the Accused Products through websites such as

                                                     5
                                                COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 7 of 175 Page ID #:7



1    https://www.tp-link.com/us/.    Likewise, Defendant knowingly induced retailers to
2    market and sell the Accused Products via websites such as www.amazon.com,
3    www.bestbuy.com, www.walmart.com, www.bhphotovideo.com and many others
4    listed on the Defendant’s website at https://www.tp-link.com/us/where-to-buy/.
5          29.           Defendant has been on notice of the ‘166 patent and Defendant’s
6    respective infringement of the ‘166 patent, since, at least, February 26, 2020, via letter
7    to Louis Liu, Chief Executive Officer of TP-Link USA Corporation, notifying the
8    Defendant of infringement of the patent.
9          30.    Defendant’s infringement of the ‘166 patent is without consent of,
10   authority of, or license from 2BCom.
11         31.    Upon information and belief, Defendant’s infringement of the ‘166 patent
12   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
13   285 entitling 2BCom to its attorneys’ fees and expenses.
14         32.    As a result of Defendant’s acts of infringement, 2BCom has suffered and
15   will continue to suffer damages in an amount to be proven at trial.
16                   INFRINGEMENT OF U.S. PATENT NO. 7,039,445
17         33.    2BCom incorporates by reference the allegations set forth in the
18   preceding paragraphs.
19         34.    On May 2, 2006 the ‘445 patent, entitled “Communication System,
20   Communication Apparatus, and Communication Method,” was duly and lawfully
21   issued based upon an application filed by the inventor Junichi Yoshizawa. A true and
22   correct copy of the ‘445 Patent is attached hereto as Exhibit 5.
23         35.    2BCom is the assignee and the owner of all right, title and interest in and
24   to the ‘445 patent and has the right to sue and recover damages for infringement
25   thereof.
26         36.    Upon information and belief, Defendant has been and continues to be
27   engaged in making, using, importing, selling and/or offering for sale infringing
28   products, including, but not limited to, the Accused Products in the United States

                                                 6
                                            COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 8 of 175 Page ID #:8



1    generally, and in the Central District of California specifically. The Accused Products
2    are available for retail purchase through numerous retail websites in the United States,
3    such         as       www.amazon.com,         www.bestbuy.com,       www.walmart.com,
4    www.bhphotovideo.com and many others listed on the Defendant’s website at
5    https://www.tp-link.com/us/where-to-buy/.
6           37.        Upon information and belief, by acts including, but not limited to use,
7    making, importation, offers to sell, sales and marketing of products that fall within the
8    scope of at least claim 13 of the ‘445 patent, Defendant has directly infringed literally
9    and/or upon information and belief, equivalently, and is continuing to infringe the
10   ‘445 patent and is thus liable to 2BCom pursuant to 35 U.S.C. § 271.
11          38.        As a non-limiting example of Defendant’s infringement of the ‘445
12   patent, set forth in Exhibit 6, is a preliminary claim chart showing Defendant’s
13   infringement of exemplary claim 13 of the ‘445 patent by the AC1900 Wireless MU-
14   MIMO Gigabit Router.
15          39.              Defendant has indirectly infringed and continues to infringe at
16   least claim 13 of the ‘445 patent by inducement under 35 U.S.C. § 271(b). Defendant
17   has induced and continues to induce users and retailers of the Accused Products to
18   directly infringe at least claim 13 of the ‘445 patent.
19          40.              Upon information and belief, Defendant’s knowingly induced
20   customers to use its Accused Products, including, for example, by promoting such
21   products online (e.g., https://www.tp-link.com/us/) and/or providing customers with
22   instructions and/or manuals for using the Accused Products through websites such as
23   https://www.tp-link.com/us/.       Likewise, Defendant knowingly induced retailers to
24   market and sell the Accused Products via websites such as www.amazon.com,
25   www.bestbuy.com, www.walmart.com, www.bhphotovideo.com and many others
26   listed on the Defendant’s website at https://www.tp-link.com/us/where-to-buy/.
27          41.              Defendant has been on notice of the ‘445 patent and Defendant’s
28   respective infringement of the ‘445 patent, since, at least, February 26, 2020, via letter

                                                   7
                                              COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 9 of 175 Page ID #:9



1    to Louis Liu, Chief Executive Officer of TP-Link USA Corporation, notifying the
2    Defendant of infringement of the patent.
3           42.        Defendant’s infringement of the ‘445 patent is without consent of,
4    authority of, or license from 2BCom.
5           43.        Upon information and belief, Defendant’s infringement of the ‘445 patent
6    is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
7    285 entitling 2BCom to its attorneys’ fees and expenses.
8           44.        As a result of Defendant’s acts of infringement, 2BCom has suffered and
9    will continue to suffer damages in an amount to be proven at trial
10                       INFRINGEMENT OF U.S. PATENT NO. 7,127,210
11          45.        2BCom incorporates by reference the allegations set forth in the
12   preceding paragraphs.
13          46.        On October 24, 2006 the ‘210 patent, entitled “Wireless Communication
14   Apparatus,” was duly and lawfully issued based upon an application filed by the
15   inventor Kazunori Aoyagi. A true and correct copy of the ‘210 Patent is attached
16   hereto as Exhibit 7.
17          47.        2BCom is the assignee and the owner of all right, title and interest in and
18   to the ‘210 patent and has the right to sue and recover damages for infringement
19   thereof.
20          48.        Upon information and belief, Defendant has been and continues to be
21   engaged in making, using, importing, selling and/or offering for sale infringing
22   products, including, but not limited to, the Accused Products in the United States
23   generally, and in the Central District of California specifically. The Accused Products
24   are available for retail purchase through numerous retail websites in the United States,
25   such         as       www.amazon.com,          www.bestbuy.com,         www.walmart.com,
26   www.bhphotovideo.com and many others listed on the Defendant’s website at
27   https://www.tp-link.com/us/where-to-buy/.
28

                                                     8
                                                COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 10 of 175 Page ID #:10



 1         49.    Upon information and belief, by acts including, but not limited to use,
 2   making, importation, offers to sell, sales and marketing of products that fall within the
 3   scope of at least claim 20 of the ‘210 patent, Defendant has directly infringed literally
 4   and/or upon information and belief, equivalently, and is continuing to infringe the
 5   ‘210 patent and is thus liable to 2BCom pursuant to 35 U.S.C. § 271.
 6         50.    As a non-limiting example of Defendant’s infringement of the ‘210
 7   patent, set forth in Exhibit 8, is a preliminary claim chart showing Defendant’s
 8   infringement of exemplary claim 20 of the ‘210 patent by the Bluetooth Music
 9   Receiver.
10         51.           Defendant has indirectly infringed and continues to infringe at
11   least claim 20 of the ‘210 patent by inducement under 35 U.S.C. § 271(b). Defendant
12   has induced and continues to induce users and retailers of the Accused Products to
13   directly infringe at least claim 20 of the ‘210 patent.
14         52.           Upon information and belief, Defendant’s knowingly induced
15   customers to use its Accused Products, including, for example, by promoting such
16   products online (e.g., https://www.tp-link.com/us/) and/or providing customers with
17   instructions and/or manuals for using the Accused Products through websites such as
18   https://www.tp-link.com/us/.     Likewise, Defendant knowingly induced retailers to
19   market and sell the Accused Products via websites such as www.amazon.com,
20   www.bestbuy.com, www.walmart.com, www.bhphotovideo.com and many others
21   listed on the Defendant’s website at https://www.tp-link.com/us/where-to-buy/.
22         53.           Defendant has been on notice of the ‘210 patent and Defendant’s
23   respective infringement of the ‘210 patent, since, at least, February 26, 2020, via letter
24   to Louis Liu, Chief Executive Officer of TP-Link USA Corporation, notifying the
25   Defendant of infringement of the patent.
26         54.    Defendant’s infringement of the ‘210 patent is without consent of,
27   authority of, or license from 2BCom.
28

                                                  9
                                            COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 11 of 175 Page ID #:11



 1          55.        Upon information and belief, Defendant’s infringement of the ‘210 patent
 2   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
 3   285 entitling 2BCom to its attorneys’ fees and expenses.
 4          56.        As a result of Defendant’s acts of infringement, 2BCom has suffered and
 5   will continue to suffer damages in an amount to be proven at trial.
 6                       INFRINGEMENT OF U.S. PATENT NO. 7,460,477
 7          57.        2BCom incorporates by reference the allegations set forth in the
 8   preceding paragraphs.
 9          58.        On December 2, 2008 the ‘477 patent, entitled “Electronic Apparatus
10   with Communication Device,” was duly and lawfully issued based upon an
11   application filed by the inventors, Koichi Yata and Tooru Homma. A true and correct
12   copy of the ‘477 Patent is attached hereto as Exhibit 9.
13          59.        2BCom is the assignee and the owner of all right, title and interest in and
14   to the ‘477 patent and has the right to sue and recover damages for infringement
15   thereof.
16          60.        Upon information and belief, Defendant has been and continues to be
17   engaged in making, using, importing, selling and/or offering for sale infringing
18   products, including, but not limited to, the Accused Products in the United States
19   generally, and in the Central District of California specifically. The Accused Products
20   are available for retail purchase through numerous retail websites in the United States,
21   such         as       www.amazon.com,          www.bestbuy.com,         www.walmart.com,
22   www.bhphotovideo.com and many others listed on the Defendant’s website at
23   https://www.tp-link.com/us/where-to-buy/.
24          61.        Upon information and belief, by acts including, but not limited to use,
25   making, importation, offers to sell, sales and marketing of products that fall within the
26   scope of at least claim 7 of the ‘477 patent, Defendant has directly infringed literally
27   and/or upon information and belief, equivalently, and is continuing to infringe the
28   ‘477 patent and is thus liable to 2BCom pursuant to 35 U.S.C. § 271.

                                                    10
                                                COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 12 of 175 Page ID #:12



 1         62.    As a non-limiting example of Defendant’s infringement of the ‘477
 2   patent, set forth in Exhibit 10, is a preliminary claim chart showing Defendant’s
 3   infringement of exemplary claim 7 of the ‘477 patent by the AC1200 Wireless Dual
 4   Band Router.
 5         63.           Defendant has indirectly infringed and continues to infringe at
 6   least claim 7 of the ‘477 patent by inducement under 35 U.S.C. § 271(b). Defendant
 7   has induced and continues to induce users and retailers of the Accused Products to
 8   directly infringe at least claim 7 of the ‘477 patent.
 9         64.           Upon information and belief, Defendant’s knowingly induced
10   customers to use its Accused Products, including, for example, by promoting such
11   products online (e.g., https://www.tp-link.com/us/) and/or providing customers with
12   instructions and/or manuals for using the Accused Products through websites such as
13   https://www.tp-link.com/us/.     Likewise, Defendant knowingly induced retailers to
14   market and sell the Accused Products via websites such as www.amazon.com,
15   www.bestbuy.com, www.walmart.com, www.bhphotovideo.com and many others
16   listed on the Defendant’s website at https://www.tp-link.com/us/where-to-buy/.
17         65.           Defendant has been on notice of the ‘477 patent and Defendant’s
18   respective infringement of the ‘477 patent, since, at least, February 26, 2020, via letter
19   to Louis Liu, Chief Executive Officer of TP-Link USA Corporation, notifying the
20   Defendant of infringement of the patent.
21         66.    Defendant’s infringement of the ‘477 patent is without consent of,
22   authority of, or license from 2BCom.
23         67.    Upon information and belief, Defendant’s infringement of the ‘477 patent
24   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
25   285 entitling 2BCom to its attorneys’ fees and expenses.
26         68.    As a result of Defendant’s acts of infringement, 2BCom has suffered and
27   will continue to suffer damages in an amount to be proven at trial.
28

                                                 11
                                             COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 13 of 175 Page ID #:13



 1                                  PRAYER FOR RELIEF
 2    WHEREFORE, 2BCom requests this Court enter judgment as follows:
 3                A.    That the ‘643 patent, the ‘166 patent, the ‘445 patent, the ‘210
 4   patent, and the ‘477 patent are valid and enforceable;
 5                B.    That Defendant has directly and indirectly infringed at least claim
 6   1 of the ‘643 patent, claim 13 of the ‘166 patent, claim 13 of the ’445 patent, claim 20
 7   of the ‘210 patent, and claim 7 of the ‘477 patent.
 8                C.    That such infringement is willful;
 9                D.    That Defendant account for and pay to 2BCom all damages
10   pursuant to 35 U.S.C. § 284 to adequately compensate 2BCom for Defendant’s
11   infringement of the ‘643 patent, the ‘166 patent, the ‘445 patent, the ‘210 patent, and
12   the ‘477 patent, but in no event less than a reasonable royalty for the use made by
13   Defendant of the invention set forth in the ‘643 patent, the ‘166 patent, the ‘445
14   patent, the ‘210 patent, and the ‘477 patent;
15                E.    That 2BCom receives enhanced damages, in the form of treble
16   damages, pursuant to 35 U.S.C. § 284;
17                F.    That this is an exceptional case under 35 U.S.C. § 285;
18                G.    That Defendant pay 2BCom all of 2BCom’s reasonable attorneys’
19   fees and expenses pursuant to 35 U.S.C. § 285;
20                H.    That 2BCom be granted pre-judgment and post-judgment interest
21   in accordance with 35 U.S.C. § 284 on the damages caused to it by reason of
22   Defendant’s infringement of the ‘643 patent, the ‘166 patent, the ‘445 patent, the ‘210
23   patent, and the ‘477 patent, including pre-judgment and post-judgment interest on any
24   enhanced damages or attorneys’ fees award;
25                I.    That costs be awarded in accordance with 35 U.S.C. § 284 to
26   2BCom; and
27                J.    That 2BCom be granted such other and further relief as the Court
28   may deem just and proper under the circumstances.

                                                12
                                            COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 14 of 175 Page ID #:14



 1                             DEMAND FOR JURY TRIAL
 2         2BCom hereby demands a trial by jury on all issues so triable in this action.
 3

 4   Dated: April 9, 2020                 witkow | baskin
 5

 6
                                          By: /s/ Brandon J. Witkow
 7                                                Brandon J. Witkow
                                                  Cory A. Baskin
 8
                                          Attorneys for Plaintiff 2BCOM, LLC.
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               13
                                          COMPLAINT
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 15 of 175 Page ID #:15




                            EXHIBIT 1
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 16 of 175 Page ID #:16
                                                                                                    USOO6885643B1

  (12) United States Patent                                                         (10) Patent No.:               US 6,885,643 B1
         Teram0t0 et al.                                                            (45) Date of Patent:                    Apr. 26, 2005

  (54) METHOD AND DEVICE FOR FACILITATING                                      JP                8-116424         5/1996
          EFFICIENT DATA TRANSFER WIAA                                         JP               10-154996          6/1998
          WIRELESS COMMUNICATION NETWORK                                       JP               10-164107          6/1998
                                                                               WO            WO95/35002           12/1995
  (75) Inventors: Keiichi Teramoto, Tokyo (JP);
                        Yoshiaki Takabatake, Kanagawa (JP);                                      OTHER PUBLICATIONS
                        Junko Ami, Tokyo (JP); Kensaku
                        Fujimoto, Kanagawa (JP)                                U.S. Appl. No. 09/343,509.*
  (73) Assignee: Kabushiki Kaisha Toshiba, Kawasaki                            * cited by examiner
                 (JP)
           -- -                     -                                          Primary Examiner       Dang Ton
  (*) Notice:    Subject to any disclaimer, the term of this
                 patent is extended or adjusted under 35                       ASSistant Examiner-Robert C Scheibel
                 U.S.C. 154(b) by 756 days                                     (74) Attorney, Agent, or Firm-Oblon, Spivak, McClelland,
                            a --                                               Maier & Neustadt, P.C.
  (21) Appl. No.: 09/671,012                                                   (57)                    ABSTRACT
  (22) Filed:        Sep. 28, 2000                                             A wireleSS network System capable of controlling highly
                             O O                                               efficient transfer of AV data by an upper application, using
  (30)         Foreign Application Priority Data                               information indicating a wireleSS link condition that varies
    Sep. 30, 1999 (JP) ........................................ P.11-280651    dynamically is disclosed. In this wireleSS network System, a
                   7                                                           wireleSS terminal and a wire gateway apparatus each Store
  (51) Int. Cl." ...................................... ...To H04L 1226        collected wireleSS link condition information in a descriptor.
  (52) U.S. Cl. ....................... 370/252; 370/338; 370/463;             An upper application on the wireleSS terminal reads the
                                                              370/469          descriptor at Said terminal device and obtains wireleSS LAN
  (58) Field of Search ................................. 370/252-253,          link condition information. The wireless gateway apparatus
                                   370/338,469, 231-236, 463,329               makes notification to a wireless terminal of a VTR, for
                                                                               example, that actually exists in a 1394 terminal as if it
  (56)                   References Cited                                      existed as a Sub-unit in the local terminal device. The
                   U.S. PATENT DOCUMENTS                                       wireleSS terminal accesses the collected wireleSS link con
                                                                               dition information and selects a AV/C command to be sent
         5,764,699 A : 6/1998 Needham et al.                                   to the VTR sub-unit of the wireless gateway apparatus. The
          2.
          24 12
                    R : s28; i. et al .. 38.i.
                              aKal el al. . . . . . . . . . . . . . . .
                                                                               wireleSS terminal transferS the play command for playback
         6,301,609 B1      10/2001 Aravamudan et al. ...... 709/207            to the wireleSS gateway apparatus. The wireleSS gateway
         6,480.889 B1 11/2002 Saito et al. ................. 702               apparatus transfers the play command to a VTR Sub-unit
         6.72s244 B1        4/2004 Takabatake ................. 370/392        within a terminal on the wired network. In accordance with
         6,845,090 B1        1/2005 Takabatake ................. 370/338       this action, the VTR Sub-unit within the terminal on the
                                                                               wired network starts transfer of AV data.
                  FOREIGN PATENT DOCUMENTS
  EP                O844. 769            5/1998                                                23 Claims, 16 Drawing Sheets

                                                                   508b.               s                    507
                                                            APPLICATION
                                                            PARAMETER
                                                            CONVERSION
                                                            SECTION
                                                                              AWAPPLICATION
                                                                              PROCESSOR
                                                                                                      e
                                                                                                      DISPLAY
                                                                                                      SECTION

                                                                                               505 || 506
                                         SDP
                                         NFORMATION        SDP       PARAMETER        AWAC
                                         STORAGE           PROCESSOR CONVERSION       PROCESSOR
                                         SECTION                     SECTION


                                               LINK
                                               MONOR
                                               PROCESSOR
                                               (IMP)

                                                                    ACL

                                                               BLUETOOTH INTERFACE PROCESSOR
                                                                       (RF/BASEBAND)
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 17 of 175 Page ID #:17


  U.S. Patent             Apr. 26, 2005     Sheet 1 of 16           US 6,885,643 B1




                                          FIG.1
           BT TERMINAL 101                       7          BT TERMINAL 111
                                          WIRELESS
                Display                   LLNK                  VTR
                SubUnit                   (BLUETOOTH)           SubUnit


                      102                                            112
              SDP                                             SDP
              INFORMATION                                     INFORMATION

                      103                                           113
                    USER
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 18 of 175 Page ID #:18


  U.S. Patent         Apr. 26, 2005        Sheet 2 of 16             US 6,885,643 B1




                                           FIG.2
                                                28


                                      A/V APPLICATION


                        23            24             25          26            27




         30s, t-z-z-z-z-z-z-z-z-z-z-z-z-za

         22
                             L2CAP PROCESSOR




                                  ACL                                -   SCO
                                                           211 212
          21
                                 BASEBAND PROCESSOR
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 19 of 175 Page ID #:19
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 20 of 175 Page ID #:20


  U.S. Patent           Apr. 26, 2005      Sheet 4 of 16                 US 6,885,643 B1



                                        FIG.4
                                                   S11

                               PUBLIC BROWSE ROOT



                         S21                        S22                    S23
            ENTERTAINMENT               NEWS(G)             REFERENCE
                  (G)                                              (G)


                                                           S25                S26

                                           DICTIONARY YT-LINK(G)
                                                  (S)                            /


                                                                                 S28


                                                                    59%
                                         S32                S3 3              S34
                        S31
       BANDWIDTH(S)
                     Z     5. CHANNEL(S)
                                                                 55  M           ^
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 21 of 175 Page ID #:21


  U.S. Patent          Apr. 26, 2005          Sheet 5 of 16           US 6,885,643 B1




                                         FIG.5

                                508b.                     508              507

                           APPLICATION
                           PARAMETER           AV APPLICATION            DISPLAY
                           CONVERSION          PROCESSOR                 SECTION
                           SECTION


         SDP                            SDP
         INFORMATION                 PARAMETER            AV/C         AV DATA
         STORAGE           PROCESSOR CONVERSION           PROCESSOR    PROCESSOR
         SECTION                        SECTION


               LINK
               MONITOR                   L2CAP PROCESSOR
               PROCESSOR
               (LMP)


        V                    BLUETOOTH INTERFACE PROCESSOR
                                         (RF/BASEBAND)
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 22 of 175 Page ID #:22


  U.S. Patent         Apr. 26, 2005       Sheet 6 of 16                US 6,885,643 B1




                                    FIG.6
                                                 28


                                      A/V APPLICATION


                         23               24                25                  27


                       Z2               2                  /.


         29
                    22222
              lar
              LMP
                               car processor -2.
                              L2CAP PROCESSOR




                              ACL                     -          212      SCO
                                                          211     1.
    21
                              BASEBAND PROCESSOR
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 23 of 175 Page ID #:23
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 24 of 175 Page ID #:24
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 25 of 175 Page ID #:25


  U.S. Patent             Apr. 26, 2005       Sheet 9 of 16           US 6,885,643 B1




                                        FIG.9
                                                         908              907

                                                                        DISPLAY
                                        AV APPLICATION PROCESSOR        SECTION

                    909       905                               910    906

                    INFORMATION                      AV/C
                    CONVERSION                       INFORMATION || AV DATA
                                                     STORAGE          PROCESSOR
                    PROCESSOR                        SECTION
     902
            LINK
            MONITOR
            PROCESSOR                   L2CAP PROCESSOR
            (LMP)
      901                                               ? 901                9012
                                  ACL                                   SCO
    V7
                           BLUETOOTH INTERFACE PROCESSOR
                                        (RF/BASEBAND)
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 26 of 175 Page ID #:26
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 27 of 175 Page ID #:27
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 28 of 175 Page ID #:28


  U.S. Patent          Apr. 26, 2005       Sheet 12 of 16          US 6,885,643 B1




                                 FIG. 12
                               1208b.                  1208

                           GATEWAY
                           PARAMETER             GATEWAY PROCESSOR
                           CONVERSION              (AV/C PROCESSOR)
                           SECTION


        SDP                          SDP
        INFORMATION                  PARAMETER         AV DATA
        STORAGE        PROCESSOR CONVERSION            PROCESSOR
        SECTION                  SECTION


                  LINK
                  MONITOR                  L2CAP               TRANSACTION
                   PROCESSOR               PROCESSOR           PROCESSOR
                   (LMP)


                                                               IEEE1394
                                                               INTERFACE
                  BLUETOOTH INTERFACE PROCESSOR                PROCESSOR
                             (RF/BASEBAND)                     (PHY/LINK)
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 29 of 175 Page ID #:29
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 30 of 175 Page ID #:30
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 31 of 175 Page ID #:31
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 32 of 175 Page ID #:32


  U.S. Patent          Apr. 26, 2005     Sheet 16 of 16          US 6,885,643 B1




                                 FIG.16
           1609                              1608

       AV/C
       INFORMATION         GATEWAY PROCESSOR (AV/C PROCESSOR)
       STORAGE
       SECTION
                                                                1607
                       INFORMATION                    AV DATA
                       COLLECTION                     PROCESSOR
                        PROCESSOR
                                                                       1605

                                        MAC                      TRANSACTION
                                        PROCESSOR                PROCESSOR

                   16011                                                  16O2

                  FALL BACK
      N/          PROCESSOR                                      IEEE 394
                                                                 INTERFACE
                                                                 PROCESSOR
                    IEEE 802.11 INTERFACE PROCESSOR              (PHY/LINK)
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 33 of 175 Page ID #:33


                                                       US 6,885,643 B1
                                1                                                                    2
     METHOD AND DEVICE FOR FACILITATING                                     In current wireless LAN specifications (Such as
         EFFICIENT DATA TRANSFER WIAA                                    Bluetooth), however, there are no functions for “acquiring
      WIRELESS COMMUNICATION NETWORK                                     condition information of the wireless link” or “notify an
                                                                         upper application of the condition of the wireleSS link.”
           BACKGROUND OF THE INVENTION                                   Additionally, because upper applications on the IEEE 1394
    1. Field of the Invention                                            (such as the AV/C Protocol) were devised with the assump
    The present invention relates to a wireleSS terminal                 tion of execution in a wired network, these upper applica
  device, a gateway device, and a wireleSS data transfer                 tions also lack an “information element for holding link
  control method. In particular, it relates to technology in a           condition information' and a function for “acquiring link
                                                                         condition information.”
  data communication System which executes an upper appli                  In the case in which AV data is transferred on a medium
  cation Such as an AV (audio/video) protocol as to a wireless
  network exhibiting dynamic variations in the condition of              in which the link condition (Such as usable transmission
  the wireleSS link or in an integrated network System encom             bandwidth) varies, such as in a wireless network, when an
  passing a wireleSS network and wired network So as to                  upper layer protocol (upper application) Such as AV/C is
                                                                    15   executed, it was not possible to ascertain the condition of the
  perform efficient transfer of content data.
    2. Related Art                                                       link, which represents a downstream layer. For this reason,
     With the recent increase in the use of digital equipment,           it was difficult to select the AV data type and transfer rate
  the implementation of networks in the home has gained                  uSable on the linked to be used and to perform Smooth,
                                                                         efficient AV data transfer.
  attention. At present, the IEEE Std 1394 (hereinafter abbre
  viated IEEE 1394), which was devised as a connecting wired                         SUMMARY OF THE INVENTION
  for connection between AV equipment, has gained attention                Accordingly, it is an object of the present invention to
  as a home-use network media. The IEEE 1394 is a high                   provide a wireleSS terminal device, a gateway device, and a
  Speed bus capable of connection between a plurality of                 wireleSS data transfer control method in an environment
  terminals by a daisy chain or Star-configured connection,         25   exhibiting dynamic variations, Such as a wireless
  with transfer of broad bank data performed at speeds                   environment, or an environment in which there is connec
  exceeding 100 Mbps. It is possible on a single wired to
  perform transfer both asynchronous data and isochronous                tion between a wired network and a wireleSS network, which
  data.                                                                  enable efficient data transfer processing, giving consider
                                                                         ation to variation in the condition of the wireleSS link.
    The achievement of high Speeds in wireleSS networks                     A feature of the present invention is that the condition of
  (wireless LANs) is also gaining attention, and wireless LAN            a dynamically varying wireleSS link condition information is
  products conforming to IEEE Std 802.11 have already
  appeared and are going through a process of price reduction.           disclosed to an upper application, and that a determination
  Along with advancing Speeds and price reductions for Such              of whether or not data transfer is possible is made, and the
  wireleSS technology, there are active efforts being made to       35
                                                                         transfer parameters for AV (audio/video) content data being
                                                                         established in accordance with the wireleSS link condition.
  apply this wireleSS technology in the home network as well.
  In the US, such industry groups as Home RF and Bluetooth                 An aspect of the present invention is a terminal device for
  have been established, and great advances are expected in              control of data between communicating entities on a net
  the future.                                                            work via a wireleSS link comprising
    A high-Speed, low-cost wireleSS network is thought to be        40     an interface Section for performing Sending and receiving
  highly acceptable for use in the home network. For this                     of packets with a remote communicating entity,
  reason, a System that combines a high-Speed, low-cost                    a link Setting Section for Setting a link for control and for
  wireless LAN and the IEEE 1394 is expected to form the                      data transfer with the remote communicating entity,
  core of home networks in the future.                                     a wireleSS link information acquisition Section for acquir
    However, in an environment in which the IEEE 1394 bus           45        ing wireleSS link information indicating the condition
  is integrated with a wireleSS LAN, there are a number of                    of a wireleSS link between said terminal device and a
  problems.                                                                   remote communicating entity in the network t the time
     The first problem is that protocols executed on the IEEE                 of Setting the link, and for updating the wireleSS link
  1394 bus (for example, the AV/C Digital Interface Com                       information acquired at the time of Setting the link by
  mand Set General Specification, IEEE 1394-1995), were             50        the current dynamically acquired wireless link
  originally developed with the assumption of execution on a                  information,
  wired medium, and did not envision execution in a wireleSS               a wireleSS link information Storage Section for Storing the
  environment. However, in contrast to a wired network, it is                 above-noted acquired or updated wireless link
  known that there are changes related to the condition of the                information, and
  wireless link (for example, the bandwidth that can be used        55     an application Section for, based on the wireleSS link
  for transmission). To accommodate Such wireless link con                    information stored in the wireless link information
  dition changes, a method (Such as fallback) is employed,                    Storage Section, for determining whether or not data can
  wherein the wireless transfer speed (or type of modulation to               be transferred and, if data transfer is possible, optimiz
  be used) is established, for example, when the wireless LAN                 ing a transfer parameter for transfer of data with the
  is started up, So as to Start data communication at transfer      60        remote communicating entity, in accordance with the
  Speed Suited to the wireleSS link condition. For this reason,               wireleSS link information, this transfer parameter being
  when executing an upper layer protocol Such as AV/C in a                    used to receive data from or Send data to the remote
  wireleSS environment, unless the condition of the lower                       communicating entity, via the interface Section.
  layerS is known, a problem can be envisioned Such as when                 It is possible to use the Descriptor in the SDP Protocol, for
  a request is made of a lower layer for transfer of content data   65   example, as a wireleSS link information Storage means.
  (Such as AV (audiovisual) data) which in reality cannot be                It is preferable that the wireless link information stored in
  transferred.                                                           the wireleSS link information Storage Section includes wire
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 34 of 175 Page ID #:34


                                                       US 6,885,643 B1
                                 3                                                                     4
  leSS link information with regard to Said terminal device and             a wireleSS link information Storage Section for Storing the
  wireleSS link information with regard to the remote com                      above-noted acquired or updated wireless link
  municating entity.                                                           information, and
     It is preferable that the wireleSS link information acqui              a local wireleSS link information notification Section for
  Sition Section includes                                                      receiving from the remote communicating entity a
     a remote wireleSS link information requesting Section for                 request for the local wireleSS link information of Said
        requesting notification of wireleSS link information                   terminal and for Sending the local wireleSS link infor
        with regard to the remote communicating entity that the                mation to the remote party.
        remote communicating entity has, at the time of Startup             Another aspect of the present invention is a gateway
        by the application Section, and                                   device for controlling transfer of data between a first termi
     a remote wireleSS link information receiving Section for             nal device on a wired network and a Second terminal device
        receiving wireleSS link information of the remote com             on a wireleSS network, this gate device comprising,
        municating entity, notification of which is made from               a first interface Section for Sending and receiving packets
        the remote communicating entity.                                       via the wireleSS network,
     It is preferable that the terminal device further has a         15     a Second interface Section for Sending and receiving
  wireleSS link information updating Section for changing
  wireless link information stored in the wireless link infor                  packets via the wired network,
  mation Storage Section to a format interpretable by the                   a first link Setting Section for Setting a link for control and
  application Section and for passing this wireleSS link infor                 for data transfer with the Second terminal device,
  mation to the application Section.                                        a Second link Setting Section for Setting a link data transfer
     It is preferable that the wireleSS link Storage information               with the first terminal device,
  Section Store wireleSS link information as information relat              a wireleSS link information acquisition Section for acquir
  ing to a constituent element of Said terminal device.                        ing wireleSS link information indicating the condition
    It is preferable that the SubUnit defined in the AV/C                      of a wireless link between said terminal device and the
  Protocol be used as the constituent element.                                 Second terminal device on the wireleSS network at the
     It is preferable in the present invention further have a        25
                                                                               time of Setting the link, and for updating the wireleSS
  wireleSS link monitoring Section for monitoring the condi                    link information acquired at the time of Setting the link
  tion of a wireleSS link in the network, for outputting wireleSS              by the current dynamically acquired wireleSS link
  link information acquired by the monitoring to the wireleSS
  link information acquisition Section. It is possible to use HCI              information,
  as a wireleSS link condition monitoring means.                            a wireleSS link information Storage Section for Storing the
     It is preferable that the terminal device further has a local             above-noted acquired or updated wireless link
  wireless link information sending Section for Sending wire                   information, and
  leSS link information of Said terminal device to the remote               a network connection processor for, based on wireleSS
  communicating entity, in response to a request from the                      link information stored in the wireless link information
  remote communicating entity.                                       35        Storage Section, performing receiving or Sending of
    It is preferable that the terminal device further has a user               data between the first terminal device and the Second
  interface Section for, based on wireleSS link information                    terminal device via the first interface Section and Sec
  Stored in the wireleSS link Information Storage Section,                     ond interface Section.
  providing to a user a list of data candidates for transfer, and           This gateway device further has a proxy means which
  waiting for input from the user of data Selected from the list.    40   uses a device on the wired network, or a Service or Sub-unit
     It is preferable that the wireless link information includes         on Such a device as belonging to Said device, disclosing this
  at least one of the packet discard rate, the uSable bandwidth,          to the wireless network side. The wireless network is, for
  the number of usable channels, the uSable transfer rate, or             example, Bluetooth, IEEE Std 802.11 or the like. The wired
  observable information on which these are based.                        network is, for example, the IEEE 1394 bus.
    It is preferable that the transfer parameter be at least one     45     It is preferable that this gateway device further comprises
  of an AV/C command or content data to be transferred.                   a local wireleSS link information Sending Section for, in
     By doing the above, it is possible for an upper application          response to a request from the first terminal device on the
  to consider, for example, a dynamically varying network                 wired network or from the second terminal device on the
  condition, in making a Selection of a type of operation                 wireleSS network, Sending the local terminal wireleSS link
  (command) with respect to AV data (content data), and is           50
                                                                          information to the first terminal device or the Second termi
  also possible to make Selection of AV data to be accessed               nal device, respectively.
  from a plurality of AV data.                                               It is preferable that the wireleSS link information acqui
    Another aspect of the present invention is a terminal                 Sition Section of this gateway device includes
  device for transfer of data between communicating entities                 a remote link information requesting Section for request
  over a network via a wireleSS link, this device having:            55         ing notification of remote link information of the first
     an interface Section for performing Sending and receiving                 terminal device to the first terminal device on the wired
        of packets with a remote party,                                        network, and
     a link Setting Section for Setting a link for control and for          a remote link information receiving Section for receiving
        data transfer with the remote communicating entity,                    remote link information, notification of which is made
     a wireleSS link information acquisition Section for acquir      60         by the first terminal device.
        ing wireleSS link information indicating the condition              Another aspect of the present invention is a method for
       of a wireleSS link between said terminal device and a              controlling transfer of data via a wireleSS link with a remote
       remote communicating entity in the network at the time             communicating entities on a network, this method having
       of Setting the link, and for updating the wireleSS link               a step of Setting a link for control with a remote commu
       information acquired at the time of Setting the link by       65         nicating entity,
       the current dynamically acquired wireless link                        a step of acquiring wireleSS link information indicating
       information,                                                            the condition of a wireless link between said terminal
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 35 of 175 Page ID #:35


                                                        US 6,885,643 B1
                                 S                                                                          6
       device and a remote communicating entity on the                       a step of Setting a link with the first terminal device, and
       network at the time of Setting the link,                              a step of performing receiving or Sending of data between
    a step of Setting a link for data transfer with the remote                     the first terminal device and the Second terminal device,
       communicating entity,                                                       based on the wireless link information.
    a step of updating wireleSS link information acquired at          5       Other features and advantages of the present invention
       the time of Setting of the link with current dynamically            will become apparent from the following descriptions, taken
       acquired wireleSS link information acquired after the               in conjunction with the accompanying drawings.
       Setting of the link for data transfer,
    a step of determining whether or not transfer of data is                         BRIEF DESCRIPTION OF THE DRAWING
       possible, based on the updated wireless link                          The accompanying drawings, which are incorporated in
       information, and                                                    and constitute a part of the Specification, illustrate presently
    a step of optimizing a parameter for transfer of data with             preferred embodiments of the present invention, and
       the remote communicating entity, in accordance with                 together with the general description given above and the
       the wireleSS link information in the case in which data             detailed description of the preferred embodiments given
         transfer is possible and performing receiving or Sending     15   below, Serve to explain the principles of the present inven
         of data with the remote communicating entity, using the           tion.
         optimized parameter for transfer.                                   FIG. 1 is a block diagram showing an example a home
     It is preferable in this control method that the wireless link        use wireleSS AV network System using a terminal device
  information include wireleSS link information with regard to             according to a first embodiment of the present invention;
  Said terminal device and information with regard the remote                FIG. 2 is a drawing showing an example of a protocol
  communicating entity.                                                    Stack within a wireleSS terminal device for the case of
     It is preferable in this control method that the wireless link        performing AV data transfer using Bluetooth;
  information updating Step includes a step of requesting                     FIG. 3 is a drawing showing an example of a packet
  notification of remote link information of the remote com
  municating entity to the remote communicating entity at the         25   transfer processing Sequence between wireleSS terminals in
  time of the Startup by an application, and a step of receiving           the first embodiment of the present invention;
  wireleSS link information of the remote communicating                       FIG. 4 is a drawing showing an example of means for
  entity, notification of which is made by the remote commu                holding wireless link condition information using SDP, in a
  nicating entity.                                                         wireless terminal in the first embodiment of the present
     Another aspect of the present invention is a method for               invention;
  transfer of data via a wireleSS link with a remote commu                    FIG. 5 is a block diagram showing an example of the
  nicating entity on a network, this method having                         internal configuration of a wireless terminal in the first
     a step of Setting a link for control with the remote                  embodiment of the present invention;
       communicating entity,                                                  FIG. 6 is a drawing showing another example of a
     a step of acquiring wireleSS link information indicating         35   protocol Stack within a wireleSS terminal according to a
       the condition of a wireless link between said terminal              Second embodiment of the present invention, for the case of
       device and the remote communicating entity on the                   performing AV data transfer using Bluetooth;
       network at the time of Setting the link,                               FIG. 7 is a drawing showing another example of a packet
    a step of Setting a link for data transfer with the remote             transfer processing Sequence between wireleSS terminals in
                                                                      40
       communicating entity,                                               the Second embodiment of the present invention;
    a step of updating the wireleSS link information acquired                 FIG. 8 is a drawing showing an example of a method for
       at the time of Setting of the link with current dynami              holding condition information of a wireleSS link using AC/V
       cally acquired wireleSS link information acquired after             in the Second embodiment of the present invention;
       the Setting of the link, and                                   45
                                                                              FIG. 9 is a block diagram showing another example of the
    a step of receiving a notification request Sent from the               internal configuration of a wireleSS terminal in the Second
       remote communicating party for Said terminal device                 embodiment of the present invention;
       wireleSS link information of Said terminal device, and                 FIG. 10 is a drawing showing an example of a home-use
       Sending wireleSS link information of Said terminal                  AV network System using a gateway device according to a
       device to the remote communicating entity in response          50   third embodiment of the present invention;
       to this request.                                                       FIG. 11 is a drawing showing an example of a packet
    Another aspect of the present invention is a method of                 transfer processing Sequence via the gateway device accord
  controlling transfer of data between a first terminal device             ing to the third embodiment of the present invention;
  on a wired network and a Second terminal device on a                        FIG. 12 is a block diagram Showing an example of the
  wireleSS network, this method having                                55   internal configuration of a gateway device according to the
     a step of Setting a link for control with the Second terminal         third embodiment of the present invention;
       device,                                                                FIG. 13 is a drawing showing another example of a
    a step of acquiring, at the time of Setting of the link,               home-use wireleSS AV network System using a gateway
      wireleSS link information indicating the condition of a              device according to a fourth embodiment of the present
       wireless link between said terminal device and the             60   invention;
       Second terminal device on the wireleSS network,                        FIG. 14 is a drawing showing another example of a packet
    a step of Setting a link for data transfer with the Second             transfer processing Sequence Via a gateway device according
       terminal device,                                                    to the fourth embodiment of the present invention;
    a step of updating the wireleSS link information acquired                 FIG. 15 is a drawing showing an example of a method for
       at the time of Setting the link with current dynamically       65   holding wireleSS link information using AV/C in a gateway
       acquired wireleSS link information acquired after the               device according to the fourth embodiment of the present
       Setting of the link for data transfer,                              invention; and
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 36 of 175 Page ID #:36


                                                       US 6,885,643 B1
                                7                                                                       8
     FIG. 16 is a drawing showing another example of the                 Vender types and corresponding Service types for each
  internal configuration of a gateway device according to the            terminal, and an executable protocol Stack that can be stored,
  fourth embodiment of the present invention.                            and a protocol for exchange of this information (Service
             DETAILED DESCRIPTION OF THE
                                                                         information) between each of the terminals. The assumption
                                                                         is that means for Storing this Service information is that of a
               PREFERRED EMBODIMENTS                                     DescriptorS defining databases into which hierarchal Storage
    Preferred embodiments of a wireless terminal device, a               is made of each service. In the SDP, hierarchal Service
  gateway device, and a method for data transfer control                 classes are defined, services handled by the SDP being
  according to the present invention are described in detail             assigned to each class.
  below, with reference being made to relevant accompanying                 FIG. 1 shows an example of the basic configuration for
  drawings.                                                              transfer of AV data between wireless terminals (101 and 111)
  First Embodiment                                                       connected by a wireless link.
    A wireleSS network System according to the first embodi                In this case, Bluetooth will be taken as the example of the
                                                                         wireleSS link. Therefore, the wireleSS terminal in this case is
  ment of the present invention is described in detail below,            a Bluetooth terminal (the BT terminals 101 and 111).
  with reference made to FIG. 1 to FIG. 5.                          15
                                                                           As shown in FIG. 1, the BT terminal 101 has a display
    In the first embodiment, a wireleSS terminal performing              function, this display function existing as a Display
  communication using a wireleSS LAN Such as Bluetooth, for              SubUnit 102, which is one functional unit (SubUnit) in the
  example, has function for obtaining wireleSS link condition            AV/C Protocol. In the BT terminal 101, SDP information
  information from a local terminal or collected it from                 103, which is acquired, collected and stored service infor
  another terminal and Storing this information. Additionally,           mation or the like on the Bluetooth in accordance with an
  the first embodiment has function for giving notification of           SDP protocol, which constitutes an information acquiring
  or disclosing to an upper application (for example AC/V                  CS.
  protocol) wireless link condition information collected by               The BT terminal 111 has a VTR function, and a VTR
  the above-noted information collection function, function              SubUnit 112 as a functional element in the AV/C Protocol.
  for Storing this notified information, and function for using     25   There is also an SDP information 113 in accordance with the
  this wireleSS link condition information to control the execu          SDP protocol, which is a collection means for service
  tion of the upper application. By doing this, it is possible to        information and the like in Bluetooth.
  use the wireleSS link condition information to control the               This AV/C Protocol recognizes each node in terms of
  execution of an upper application.                                     Units, and recognizes constituent elements within each node
    More specifically, the above-noted “wireless link condi              (such as the Display of the BT terminal 101 and the VTR of
  tion information' includes the type of transfer System (link           the BT terminal 111) as sub-units. In the transfer protocol for
  type) usable, the condition of the transfer system (usable             AV/C control commands (for example, commands such as
  bandwidth and usable number of channels), the packet                   “play”, “stop” and “fast forward”), the sending of a com
  discard rate, the version information of the wireleSS link, the        mand and the receiving of the response thereto are treated as
  electrical power mode, the data compression ratio, the data       35 One Set.
  encoding method, or observable information forming the                   Because the BT terminal 101 and the BT terminal 111 are
  basis of these types of information on the wireleSS link.              connected by means of a wireless link (Bluetooth), at what
     For example, this wireleSS link condition information is            rate AV data existing within the VTR SubUnit of the BT
  held as Descriptor information defined in the SDP Protocol             terminal 111 can be transferred to the BT terminal 101 is
  of Bluetooth, and Descriptor information defined in the           40   established by the condition of the wireless link.
  AV/C Protocol, thereby enabling an upper AV application to             Specifically, this transfer rate is established by (1) what type
  efficiently execute AV data transfer using this wireleSS link          of link is used to transfer AV data (for example, ACL
  condition information. If this type of wireless link condition         (Asynchronous Connectionless) or SCO (Synchronous
  information is held as Descriptor information, because it is           Connection-Oriented)) on the wireless link (Bluetooth) and
  possible to acceSS not only wireleSS link condition informa       45   (2) the condition of the wireless link, such as how much
  tion in the local terminal device but also Such information            noise there is on the wireless link (this noise condition
  from another terminal, it becomes possible to easily execute           affecting the rate at which data can be transferred). For this
  an AV application with consideration given to this dynami              reason, in the case in which an AV application at upper layer
  cally changing wireleSS link information.                              executeS AV data transfer via a wireleSS link Such as
     According to the first embodiment, it is possible to easily    50   Bluetooth, it is necessary for the AV application to obtain the
  achieve data transfer Such as transfer of AV data (content             condition information of Bluetooth via Some means Such as
  data) using a medium Such as a wireless environment, in                the SDP and to execute a data transfer related protocol such
  which the link condition constantly changes. Additionally,             as the AV/C Protocol based on this condition information.
  even in a network environment Such as the IEEE 1394, in                  FIG. 2 shows an example of a protocol stacking BT
  which a connection is made between a wired network and a          55   terminal having a function that collects and Stores condition
  wireless network, it is possible to perform AV data transfer           information with regard to a wireleSS link.
  while consideration is given to the link condition in the                In FIG. 2, an L2CAP processor 22 that executes a data
  wireleSS network.                                                      link layer specification (L2CAP) using an ACL transfer
    In the description that follows, the assumptions are those           mode 211 of Baseband processor resides on a Baseband
  of a wireleSS LAN System having means for collecting              60   processor 21, which is the physical layer Specification of
  Service information of each wireless terminal (such as the             Bluetooth. An Audio 27 executing processing Such as pro
  SDP (Service Discovery Protocol) of Bluetooth), and of the             cessing for voice telephone resides as an upper protocol that
  case in which execution of the AV/C Protocol application as            uses the SCO transfer mode 212 of the Baseband processing.
  an upper application, which is a transfer control method for           Additionally, an AV/C protocol 23 is defined, along with AV
  AV data on the IEEE 1394 bus.                                     65   data protocol such as an Audio 25 and Video 24 and the like,
    The SDP in Bluetooth assumes, at a terminal in a Blue                as an upstream protocol using the above-noted L2CAP
  tooth network, a method of Storing information Such as                 processor 22.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 37 of 175 Page ID #:37


                                                       US 6,885,643 B1
                                                                                                      10
     Additionally, an SDP protocol 26 is defined in a parallel               (7) The BT terminal 101 and the BT terminal 111 use a
  position with these upper protocols. In the first embodiment,           protocol (HCI) on the Bluetooth to collect wireless link
  the example shown is that in which an AV application 28 is              condition information (in particular, ACL link information)
  executed while using these upper protocols. While protocols             in which (6) caused a change, and use the SDP protocol to
  in addition to the above, such as the RFCOMM protocol, are              store same within a Descriptor (103,113) (step S107).
  defined in Bluetooth, these are omitted, Since they are not                (8) An AV application at the BT terminal 101 reads the
  directly related to the first embodiment. In the drawing,               Descriptor information in the SDP protocol of the local
  reference numeral 30 denotes a transport protocol Such as an            terminal device, and obtains link condition information in
  adaptation layer protocol 30 (for example, RTP (Realtime                Bluetooth (step S108).
  Transport Protocol)).                                                     (9) An AV application at the BT terminal 101, in order to
     Because the BT terminals 101 and 111 have the protocol               read the Descriptor information on the SDP protocol of the
  configurations shown in FIG. 2, in the case in which the AV             BT terminal 111, sends an SDP Request command to the
  application 28 is executed and AV data Sending and receiv               BT terminal 111 (step S109).
  ing processing is performed between the BT terminal 101                  (10) The BT terminal 101 gives notification of the
  and the BT terminal 111, the AV application 28 acquires            15   Descriptor information in the SDP protocol of the local
  wireless link condition information via the SDP protocol 26             terminal to the BT terminal 101. The Descriptor information
  and executes the AV/C Protocol 23 after interpreting this               with regard to which notification is given from the BT
  wireleSS link condition information. In accordance with                 terminal 111 is appended as Descriptor information of the
  AV/C commands sent to the AV/C protocol 23, AV data is                  SDP protocol of the BT terminal 101 and stored. By doing
  transferred via the protocol to the Audio 25 and the Video              this, the AV application at the BT terminal 101 acquires link
  24, for example.                                                        condition information on Bluetooth at the BT terminal 111
     In the current Bluetooth Specifications, one specific                side (step S110).
  method of acquiring the above-noted wireleSS link condition               (11) An AV application at the BT terminal 101 accesses
  information that can be envisioned is that in which an HCI              the wireless link condition information collected by the
  protocol (Host Controller Interface) defined as a Bluetooth        25   processing steps (8) to (10), and Selects an AV/C command
  protocol is provided at either the BT terminal 101 or the BT            to send to the VTR SubUnit of the BT terminal 111. At this
  terminal 111, and a “collect wireless link condition infor              point, whether or not AV data transfer can be done, and also
  mation” command is executed by the API (Application                     the selection of the AV data to be played and the transfer rate
  Programming Interface) of this protocol.                                are specified with consideration to the wireleSS link condi
    FIG. 3 shows an example of the processing Sequence in                 tion information, and other various transfer parameters of
  which, in the wireless communication between BT terminals               processing details and the processing method can be made
  having the hardware configuration shown in FIG. 1, the BT               selectable (step Sill). Additionally, it is possible for the
  terminal 101 serves as a controller, AV data (that is, data that        above selection to be made by the intervention of a user. For
  is stored in the VTR SubUnit of the BT terminal 111) being              example, a GUI can be used to present a list of AV content
  readout via Bluetooth for viewing or the like. The specific        35   that can be transferred and Viewed, in response to the
  Sequence is as follows.                                                 wireleSS link condition information, the user being caused to
     (1) BT terminal 101 and BT terminal 111 approach one                 Select from this content the desired AV content.
  another and each recognizes that it is in a region enabling               (12) The BT terminal 101 sends an AV/C command (play
  communication with the other (processing performed by the               command) for the purpose of playing back desired AV data,
  Baseband processor 21) (step S101).                                40   for example, using a transfer parameter established at the
     (2) A connection is set up between the BT terminal 101               processing (11) to the BT terminal 111 (step S112). What is
  and the BT terminal 111 for the purpose of transfer of an               used at this point is a logical connection on the L2CAP Set
  AV/C command therebetween (processing performed by the                  at the processing (6).
  L2CAP processor 22) (step S102).                                           (13) The BT terminal 111 starts the AV data transfer in
     (3) The BT terminal 101 and the BT terminal 111 use a           45   response to the Play command (step S113). What is used at
  protocol (HCI) on the Bluetooth to collect wireless link                this point is the logical connection on the L2CAP set at the
  condition information (in particular, ACL link information)             processing (6).
  in which processing step (2) caused a change, and use the                  By performing processing as described above, the AV data
  SDP protocol to store same within a Descriptor. In this case,           transfer at the wireless terminals can be executed according
  the SDP information (103, 113) in FIG. 1 corresponds to the        50   to the wireless link condition thereof.
  Descriptor used in the SDP Protocol (step S103). Initializa                The Bluetooth link condition information (wireless link
  tion information with regard to the wireleSS link condition is          condition information) collected in processing steps (3) and
  stored within the Descriptor, this initialization information           (7) of the above processing sequence can be envisioned as
  being replaceable by the information collected in processing            being, for example, a type of transfer that can be used on the
  Step (3), as appropriate.                                          55   Bluetooth at this point (for example, ACL or SCO) and
     (4) The BT terminal 101 uses the SubUnit Info com                    conditions of that transfer method (such as bandwidth infor
  mand of the AV/C Protocol to collect SubUnit information                mation or channel information). Notice can also be made of
  existing in the BT terminal 111. What is used for this is a             the version information of the Bluetooth (for example, Ver.
  logical connection on the L2CAP set at (2) (step S104).                 1 or Ver. 2) and the operating electrical power mode of the
     (5) The BT terminal 111 makes notification of an AV/C           60   Bluetooth (for example, high-power mode or low-power
  response to the BT terminal 101 to the effect that the                  mode). Additionally, it can be envisioned that notification is
  VTR SubUnit 1112 exists as a SubUnit within the local                   given of the data link layer information, Such as the number
  terminal device (step S105).                                            of logical connection settings on the L2CAP. If possible, BT
     (6) The BT terminal 101 sets a logical connection on                 terminal hardware information (for example, wireless pro
  Bluetooth for the purpose of receiving AV data from the BT         65   cessing Section function information and version informa
  terminal 111 (processing performed by the L2CAP processor               tion of the protocol being followed) can also be captured as
  22).                                                                    part of the wireleSS link condition information. An upper AV
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 38 of 175 Page ID #:38


                                                      US 6,885,643 B1
                                11                                                                   12
  application, in response to this wireleSS link condition              data link layer management function, there exists a link
  information, can perform processing Such as establishing              monitor processor (LMP) 502. This link monitor processor
  whether or not data transfer can be done, changing the data           502 monitors and collects link condition information of
  transfer rate, or retrying the transfer.                              Bluetooth, and gives notification thereof to an SDP proces
     In the processing steps (3) and (7) of the above processing        Sor 504.
  Sequence, however, it is not necessarily possible to directly            At the L2CAP processor 503, there resides an SDP
  collect Such link condition information itself, Such as usable        processor 504 for accessing, notification, and response with
  transfer type (ACL or SCO) or bandwidth information and               respect to Service information (including wireless link con
  mode. The reason for this is that the information that can be         dition information) existing at the BT terminal 101, an AV/C
  collected from the ACI that is defined in the HCI is infor            processor 505 for execution of a control protocol for AV data
  mation that is only recognized within that protocol, and there        transfer with the BT terminal 111, an AV data processor 506
  are cases in which information itself, Such as a specific             for execution of AV data transfer with the BT terminal 111,
                                                                        and an SDP information storage section 509 for storage of
  bandwidth is not collected (for example, when the packet              wireleSS link condition information. Although in this case
  discard rate or number of channels being used is collected).          the AV data handled by the AV data processor 506 is
  For this reason, there are cases in which the SDP protocol 26    15
                                                                        basically data that is received by transfer via the L2CAP
  or an AV application 28 at the BT terminal 101 must rewrite           processor 503, it will be understood that the first embodi
  (convert) the obtained wireless link condition information            ment is not restricted in this manner, and that there is the
  into information that has meaning to the AV application 28,           case in which audio data from the SCO mode 5012 that
  Such as the bandwidth information or Bluetooth mode                   handles audio data used in a normal telephone is handled.
  information, in order to perform processing.                            At this point, notification of information collected at the
     FIG. 4 shows an example of Descriptor information held             Link monitor 502 is made to the SDP processor 504, and link
  by the SDP protocol executed in the first embodiment.                 condition information of Bluetooth stored in the SDP infor
    As shown in FIG. 4, under a Public Browse Root (S11)                mation storage section 509 is read out by the AV application
  that is the origin when Searching for Descriptor information          processor 508.
  in the SDP Protocol, there is are service groups such as         25     When this is done, the wireless link condition information
  Entertainment (S21), News (S22), and Reference (S23) and              collected at the Link monitor processor 502 is not limited to
  the like. For example, under the Entertainment group (S21),           parameters codable as SDP information. Additionally, the
  there is coded types of Stored new Sources.                           parameters representing wireleSS link condition information
     In the first embodiment, under the Reference group (S23),          coded in the SDL processor 504 are not necessarily param
  a BT-Link group (S26) is defined, in which information with           eter that can be read out by an upper AV application
  regard to the wireless link (Bluetooth) stored. Under the             processor 508. Therefore, in the SDP processor 504 a
  BT-Link group there is an information group with regard to            function of performing processing to convert information
  the ACL (S27) and an information group with regard to the             collected at the link monitor processor 502 to a parameter
  SCO (S28). Under the information group with regard to the             that is readable by the SDP processor 504 is provided within
  ACL link (S27), there is coded information such as the           35   the SDP processor 504 (this being executed in by the SDP
  usable bandwidth on the ACL link (S31), information of the            parameter conversion section 504b in FIG. 5), and a function
  usable channel numbers (S32), and information with regard             of performing processing to convert information coded
  to the corresponding QOS (Quality of Service) (S33). Under            within the SDP processor 504 to a parameter that is readable
  the information group with regard to the SCO link (S28),              by an AV application processor 508 is provided within the
  there is information with regard to, for example, the number     40   AV application processor 508 (the application parameter
  of usable SCO channels (S34). Additionally, although not              conversion section 508b in FIG. 5).
  shown in FIG. 4, in addition to information by the type of              Additionally, the AV application processor 508, based on
  transfer, such as ACL or SCO, this Descriptor information             this wireleSS link condition information, establishes the
  can have coded in it as Bluetooth condition information               processing that the AV/C processor 505 and the AV data
  other condition information Such as Bluetooth version infor      45   processor 506 should perform and gives notification of the
  mation or electrical power mode and hardware information.             SC.
     By using a Descriptor Such as described above, it is                  Specifically, the AV application processor 508, in
  possible using the SDP protocol 26 to collect BT-Link                 response to this wireleSS link condition information, per
  information of a local BT terminal, or to read out BT-Link            forms Such AV application processing as determining
  information of another BT terminal. Specifically, in the         50   whether or not data transfer is possible, changing the data
  processing steps (3) and (7) of the processing sequence of            transfer rate, and re-transmitting data, executing this pro
  FIG. 3, information under the information group (S27) with            cessing while controlling the SDP processor 504, the AV/C
  regard to the ACL link of the local BT terminal is collected,         processor 505, and the AV data processor 506. The BT
  and at the processing steps (9) and (10), information of the          terminal 101 has a display section 507 for displaying video
  information group (S27) with regard to the ACL link of the       55   data (or AV data) processed by the AV data processor 506.
  BT terminal 111 is read out.                                          For example, the display section 507 can display a list of AV
     FIG. 5 shows an example of a block diagram of the                  data (content) that can be transferred, and the user can be
  internal configuration of a BT terminal 101 used in the first         made to select AV data to be transferred from this list.
  embodiment of the present invention.                                    The BT terminal 111 that transferS AV data, in contrast to
     The BT terminal 101 in the first embodiment is capable of     60   the BT terminal 101 that acts as a controller, can be provided
  wireleSS communication using Bluetooth, and has for this              with all functions, or can have the AV application processor
  purpose a Bluetooth interface processor 501 that executes             508 and display section 507 omitted.
  physical layer processing.                                              According to the first embodiment of the present
     The Bluetooth interface processor 501 has two types of             invention, in a wireleSS network in which the condition of a
  defined transfer modes, an ACL mode 5011 and an SCO              65   link varies dynamically, it is possible for an upper applica
  mode 5012. As a data link layer function using the ACL                tion to perform AV data transfer while consideration is given
  mode 5011, there exists a L2CAP processor 503, and as a               to the wireleSS link condition.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 39 of 175 Page ID #:39


                                                       US 6,885,643 B1
                                13                                                                    14
  Second Embodiment                                                       condition information in which processing step (2) caused a
    A Second embodiment of a wireleSS network System                      change, and Store the same within a Descriptor used in the
  according to the present invention is described below, with             AV/C Protocol (step S703). In this case, the SDP informa
  reference made to FIG. 6 to FIG. 9.                                     tion (103,113) in FIG. 1 is replaced by the Descriptor used
    The second embodiment is another form of the first                    in the AV/C Protocol.
  embodiment shown in FIG. 1, in which AV data transfer is                  (4) The BT terminal 101 uses the SubUnit Info com
  performed between a BT terminal 101 and a BT terminal                   mand of the AV/C Protocol to collect SubUnit information
  111. In the second embodiment, similar to the case of the               existing in the BT terminal 111. What is used for this is a
  first embodiment, because the BT terminal 101 and the BT                logical connection on the L2CAP Set at processing (2) (Step
  terminal 111 are connected by Bluetooth, a what transfer rate           S704).
  AV data at the BT terminal 111 can be transferred is                       (5) The BT terminal 111 makes notification of an AV/C
  established by the link type used in Bluetooth, and the                 response to the BT terminal 101 to the effect that the
  degree of noise on Bluetooth.                                           VTR SubUnit 112 exists as a SubUnit within the local
     In the Second embodiment, a method of giving notice of               terminal device (step S705).
  the Bluetooth link condition information to an AV applica          15     (6) The BT terminal 101 sets a logical connection on
  tion is not that of using an SDP protocolas is done in the first        Bluetooth for the purpose of receiving AV data from the BT
  embodiment, but rather that of giving notification by using             terminal 111 (processing performed by the L2CAP processor
  an AV/C Protocol used by an AV application.                             21) (step S706).
     FIG. 6 shows an example of a protocol stacking BT                      (7) The BT terminal 101 and the BT terminal 111 use a
  terminal in the above case.                                             protocol (HCI) on the Bluetooth to collect wireless link
     In FIG. 6, there is no SDP protocol processor 26 which in            condition information in which processing (6) caused a
  the first embodiment performs processing for passing wire               change, and Stores the same within a DeScriptor used in the
  less link condition information. In its place, there is an LMP          AV/C Protocol (step S707). In this case, the SDP informa
  (Link Management Protocol) processor 29 that using the                  tion 103 and 113 shown in FIG. 1 is replaced by the
  ACL mode 211 of a Baseband processor 21, similar to the            25   Descriptor information in the AV/C Protocol.
  L2CAP processor 22. This LMP protocol processor 29                        (8) An AV application at the BT terminal 101 reads the
  collects wireless link condition information. The collected             Descriptor information in the AV/C Protocol of the local
  wireleSS link condition information is converted to a format            terminal device, and obtains link condition information in
  that can be interpreted by an AV/C Protocol processor 23                Bluetooth (step S708).
  defined as a protocol at the L2CAP 22, notification thereof               (9) The BT terminal 101, in order to obtain information
  being made to the AV/C Protocol processor 23. In the second             with regard to the VTR SubUnit 112 within the BT termi
  embodiment, therefore, when performing sending and                      nal 111, sends a Read Descriptor command (AV/C Protocol
  receiving of AV data between BT terminals, an AV applica                command) to the BT terminal 11 for the purpose of reading
  tion 28 can collect wireless link condition information from            the Descriptor in the AV/C Protocol (step S709). What is
  the AV/C Protocol processor 23.                                    35   used at this point is the logical connection Set at the
     In the example described below, the notification of the              processing (2).
  wireless link condition information using the AV/C Protocol               (10) The BT terminal 111 gives notification of the
  processor 23 is described for the case in which the method              Descriptor information in the AV/C Protocol of the VTR
  of using the Descriptor at the AV/C Protocol is that in which           SubUnit 112 of the local terminal device to the BT terminal
  the wireleSS link condition information is appended to part        40   101 (step S701). When this is done, notification is also made
  of the Descriptor information. Other methods of giving                  of wireless link condition information (which can include,
  notification of the wireleSS link condition information to an           for example, content information Such as the encoding
  upper application using the AV/C Protocol that can be                   method). The wireless link condition information for which
  envisioned include the method of writing the wireless link              notification is made is appended to the coding of the
  condition information to response information to a com             45   Descriptor information of AV/C to be stored in the AV/C
  mand to collect SubUnit information defined as an AV/C                  information storage section 910 shown in FIG. 9. What is
  Protocol command (SubUnit Information command), and                     used in this notification is the logical connection on the
  the method of defining a separate AV/C Protocol command                 L2CAP set at the processing (2).
  for reading out and giving notification of a wireleSS link                (11) The BT terminal 101 reads the link condition infor
  condition.                                                         50   mation of the received Descriptor, and selects an AV/C
    FIG. 7 shows an example of the processing Sequence in                 command in accordance with these link conditions for the
  the second embodiment, wherein with the hardware con                    purpose of acquiring content (step S711). Also a Selection is
  figuration shown in FIG. 1, a BT terminal 101 reads out AV              made of a transfer method (ACL or SCO) that is required by
  data (video data stored within the VTR SubUnit 112 of the               the AV data and capable of use by the Bluetooth. For
  BT terminal 111) for viewing.                                      55   example, it is possible to make Selection of various proceSS
    The actual Steps of the processing Sequence are as fol                ing details and methods, Such as Selection of AV data to be
  lows.                                                                   played and Specification of rates, giving consideration to the
    (1) BT terminal 101 and BT terminal 111 approach one                  wireless link condition. Additionally, it is possible for the
  another and each recognizes that it is in a region enabling             above selection to be made by the intervention of a user. For
  communication with the other (processing performed by the          60   example, a GUI can be used to present a list of AV data that
  Baseband processor 21) (step S701).                                     can be transferred and viewed, in response to the wireleSS
    (2) A connection is set up between the BT terminal 101                link condition information, the user being caused to Select
  and the BT terminal 111 for the purpose of transfer of an               from this listed content the desired AV content.
  AV/C message therebetween (processing performed by the                    (12) The BT terminal 101 transfers the above-noted
  L2CAP processor 22) (step S702).                                   65   Selected AV/C command to the BT terminal 111 So as to
    (3) The BT terminal 101 and the BT terminal 111 use a                 Specify AV data, after which it sends an AV data playback
  protocol (HCI) on the Bluetooth to collect wireless link                command (play command) to the BT terminal 111. What is
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 40 of 175 Page ID #:40


                                                       US 6,885,643 B1
                               15                                                                    16
  used at this point is a logical connection on the L2CAP Set            the Bluetooth ACL mode (A41), information with regard, for
  at processing (2).                                                     example, to the number of channels that can be used in SCO
     (13) The BT terminal 111 start the AV data transfer in              (A42), the title of an MPEG2 encoded movie and the usable
  response to the “play” command. What is used at this point             transfer speed (A43), and the title of an MPEG4 encoded
  is the logical connection on the L2CAP Set at the processing           movie and the usable transfer speed (A44). Although not
  (6).                                                                   shown in FIG. 8, in addition to information by the type of
     By performing processing as described above, AV data                transfer, such as ACL or SCO, this Descriptor information
                                                                         can have coded in it as Bluetooth condition information
  transfer between wireleSS terminals can be performed                   other condition information Such as Bluetooth version infor
  efficiently, in accordance with the associated wireleSS link           mation or electrical power mode and BT terminal 111
  condition.
                                                                         hardware information.
     AS described above, in addition to the method of reading               FIG. 9 shows an example of a block diagram of the
  the Descriptor to collect wireless link condition information          internal configuration of a BT terminal 101 used in the
  on the AV/C protocol, there is the method of notation in the           Second embodiment.
  response information to the collection command (SubUnit                  The BT terminal 101 of the second embodiment has a
  Info command) of the SubUnit information at processing            15   Bluetooth interface processor 901, for executing Bluetooth
  (5). It can be envisioned that at processing (9), rather than          physical layer processing, an L2CAP processor 903 using an
  Sending a Read Descriptor command, a command for the                   ACL mode 9011 defined in the Bluetooth interface processor
  purpose of collecting wireleSS link condition information              901, and a link monitor processor (LMP) 902. The link
  (for example, a Read DataLinkInfo) is defined and then                 monitor processor 902 collects Bluetooth link condition
  used.                                                                  information and makes notification of this wireleSS link
    The wireless link condition information about which                  condition information to an AV/C processor 905. At this
  notification is made at the processing (10) in the above               point, the wireleSS link condition information collected at
  noted processing Sequence, Similar to the case of the first            the Link monitor processor 902 is not necessarily informa
  embodiment, can be envisioned as including Such informa                tion that is readable by the AV/C Protocol. For this reason,
  tion as the type of transfer and condition of transfer possible   25   an information conversion processor 909 exists between the
  on Bluetooth, Bluetooth version information, or electrical             link monitor processor 902 and the AV/C processor 905 for
  power mode information. At the processing (3) and (7) in the           the purpose of converting wireleSS link condition informa
  above-noted processing Sequence, it is assumed that there is           tion collected at the link monitor processor 902 to a format
  a case in which it is necessary to perform Some type of                that enables inclusion in the Descriptor information of AV/C
                                                                         protocol.
  Information conversion So as to adapt the collected wireleSS              An AC/V processor 905 that executes the AV/C Protocol
  link condition information to the representation in the                and an AV data processor 906 that performs transfer of the
  Descriptor of the AV/C Protocol.                                       actual AV data using the ACL mode 9011 or the SCO mode
    At processing (10) of the above-noted processing                     9012 remain at the L2CAP processor 903. The Bluetooth
  Sequence, although a Selection is made of content to be                link condition information collected by the link monitor
  received, in accordance with wireleSS link condition infor        35   processor 902 and about which notification is made to the
  mation (the content information being included in the                  AV/C processor 905 is held and stored in an AC/V infor
  received Descriptor information), a different method for               mation storage section 910, and is read out by the AV
  adapting to the wireleSS link condition information from that          application processor 908. The AV application processor
  of Selecting content. For example, in the case in which the            908, based on the read-out wireless link condition
  VTR SubUnit 112 of the BT terminal 111 has a real-time            40   information, makes a determination and notification of the
  encoder function, it can be envisioned that the encoding rate          processing to be performed by the AV/C processor 905 and
  of the encoder is controlled in accordance with the wireleSS           AV data processor 906. A display section 907 exists for the
  link condition information. In the case in which the VTR               display of Video data processed by the AV data processor
  SubUnit 112 has a plurality of encoding functions (for                 906.
  example, an MPEG2 encoding function and an MPEG4                  45     According to the Second embodiment of the present
  encoding function), a method can also be envisioned in                 invention, in a wireleSS network in which the link condition
  which a type of encoding function to be executed is Selected           varies dynamically, it is possible using the Descriptor of the
  in accordance with this wireleSS link condition information,           AV/C Protocol to perform optimum AV data transfer, giving
  and an encoding method capable of providing a rate that can            consideration to the wireleSS link condition information.
  be used on the wireless link is used to encode and sent AV        50   Third Embodiment
  data within the VTR SubUnit 112.                                         Next, a wireleSS network System according to a third
     FIG. 8 shows an example of Descriptor information                   embodiment of the present invention is described in detail
  within an AC/V Protocol within a BT terminal 111 of the                below, with references made to FIG. 10 to FIG. 12. The third
  Second embodiment.                                                     embodiment provides a function of performing optimized
     FIG. 8 shows the case in which a Descriptor is defined in      55   data transfer in a network configuration formed by the
  each SubUnit identifiable by the AV/C Protocol, the Descrip            integration of a wireleSS network and a wired network, in
  tors for each SubUnit being represented hierarchally. In the           which the WireleSS link condition information is considered.
  example shown in FIG. 8, first a DataLink Descriptor                     FIG. 10 shows an example of the configuration of a
  (A21) corresponding to a communication interface of the BT             network formed by integrating a wireless LAN (Bluetooth)
  terminal 111 and a Contents Descriptor (A22) correspond           60   and IEEE 1394, for the case of performing AV data transfer.
  ing to a Stored movie or game are indicated as an Object                 In FIG. 10, a 1394 terminal 1001 on the IEEE 1394 bus
  group existing within a Root Descriptor (A11) of the VTR               and a BT terminal 1021 on the Bluetooth perform AV data
  SubUnit 112. As the Objects, the DataLink Descriptor                   transfer via a wireless gateway (GW) apparatus 1011 that
  (A21) has the Bluetooth Object (A31) and the Contents                  connects the IEEE 1394 with Bluetooth.
  Descriptor (A22) has the Movie Object (A32). Each Object          65     In the third embodiment, the BT terminal 1021 has a
  group (A31 and A32) has the specific parameters indicated              display function and a Display SubUnit 1023 in the AV/C
  such as the bandwidth at which transfer can be performed in            Protocol, and holds the SDP information 1022 for Bluetooth.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 41 of 175 Page ID #:41


                                                      US 6,885,643 B1
                               17                                                                   18
    The 1394 terminal 1001 has a VTR function, and holds                   (7) The wireless gateway 1011 makes notification of the
  the VTR SubUnit 1003 in the AV/C Protocol.                            VTR SubUnit 1003 as a SubUnit existing at the local
    Additionally, the wireleSS gateway apparatuS 1011 that              terminal (actually VTR SubUnit is a SubUnit existing in
  connects the IEEE 1394 and the Bluetooth provides a proxy             the 1394 terminal) to the BT terminal 1021 as a VTR
  function for the purpose of connecting the IEEE 1394 bus              SubUnit 1013 within the local terminal device (step S307).
  and the Bluetooth on the AV/C Protocol layer.                         What is used at this time is the logical connection on the
     Specifically, the wireleSS gateway apparatuS 1011 make             L2CAP set at processing (2).
  the BT terminal 1021 recognize the VTR SubUnit 1003,                     (8) The BT terminal 1021 sets up a logical connection on
  which actually exists within the 1394 terminal 1001, as if it         the L2CAP for the purpose of receiving AV data from the
  existed within the local terminal device (in the gateway              wireless gateway apparatus 1011 (step S308), processing
  apparatus 1011). That is, the BT terminal 1021 recognizes             being performed by the L2CAP processor 22.
  the existence of the VTR SubUnit 1003 within the wireless                (9) The wireless gateway apparatus 1011 establishes a
  gateway apparatus 1011. By executing this proxy processing            connection on the IEEE 1394 bus for the purpose of receiv
  the BT terminal 1021, without being aware of the specific             ing AV data from the 1394 terminal 1001 (step S309)
  network configuration (the fact that the Bluetooth is actually   15
                                                                        (executes the IEC 61883 Protocol).
  connected to the IEEE 1394), just executes the AV/C Pro                  (10) The BT terminal 1021 and the wireless gateway
  tocol defined on the Bluetooth, thereby enabling execution            apparatus 1011 each use the HCI Protocol to collect wireless
  of the AV/C Protocol between it and the 1394 terminal 1001            link condition information (Bluetooth condition
  on the IEEE 1394. The wireless gateway apparatus 1011 also            information) in which a change resulted from the above
  holds SDP information 1012 on the Bluetooth.                          noted processing (8), and store same into the SDP informa
     In the third embodiment as well, similar to the case of the        tion 1012 and 1020 (Descriptors used in the SDP Protocol),
  first embodiment, because the BT terminal 1021 and the                respectively (step S310).
  wireless gateway 1011 are connected by a wireless LAN                    (11) An AV application at the BT terminal 1021 read the
  (Bluetooth), at what transfer speed it is possible to perform         SDP Protocol Descriptor information of the local terminal
  AV data transfer between the BT terminal 1021 and the 1394            device and obtains the Bluetooth link condition information
  terminal is dependent upon the link condition of the wireleSS    25   (step S311).
  LAN (Bluetooth). In the third embodiment, a protocol stack               (12) The AV application at the BT terminal 1021 sends an
  (refer to FIG. 2) similar to that of the first embodiment is          SDP Request command to the wireless gateway 1011 for
  used to execute an AV application on Bluetooth, the SDP               the purpose of reading the Descriptor information in the SDP
  information 1012 on the wireless gateway apparatus 1011               Protocol of the wireless gateway apparatus 1011 (step
  and the SDP information 1022 on the BT terminal 1021                  S312).
  being directly read from the AV application. Therefore, use              (13) The wireless gateway apparatus 1011 gives notifica
  of an API in the HCI protocol is assumed to be used as                tion to the BT terminal 1021 of the Descriptor information
  means for collecting Bluetooth link condition information in          in the SDP Protocol at the local terminal device (step S313).
  the third embodiment as well.                                         The Descriptor information in the SDP Protocol at the local
    FIG. 11 shows an example of the processing Sequence in         35   device of which notification is given is added to the coding
  the third embodiment, for the case in which the BT terminal           of the Descriptor information of the SDP Protocol at the BT
  1021, which serves as a controller, reads out AV data (data           terminal 1021 and stored in the SDP information storage
  Stored in the VTR SubUnit 1003 of the 1394 terminal                   Section (the same as the SDP information storage Section
  1001) for viewing or the like. The actual processing steps are        509 of FIG. 5).
  as follows.                                                      40     (14) The BT terminal 1021 accesses the link condition
    (1) The BT terminal 1021 and wireless gateway apparatus             information collected at processing (12) and Selects an AV/C
  1011 approach one another and each recognizes that it is in           command to be sent to the VTR SubUnit 1013 of the
  a region enabling communication with the other (processing            wireless gateway 1011 (step S314). It is possible, for
  performed by the Baseband processor 21) (step S301).                  example, to make Selectable various processing details and
     (2) A logical connection is set up for the purpose of AV/C    45   processing methods, Such as the Selection of AV data to be
  message transfer between the BT terminal 1021 and the                 played back and the rate, giving consideration to the con
  wireless gateway apparatus 1011 (processing being per                 dition of the wireless link. The above-noted selection can be
  formed by the L2CAP processor 22) (step S302).                        made with the intervention of a user. For example, a GUI can
     (3) The BT terminal 1021 and the wireless gateway 1011             be used to present a list of AV content that can be viewed,
  collect wireless link condition information (Bluetooth con       50   and the user can be made to Select the desired AV content
  dition information) in which processing (2) cause as change,          from the list.
  and store same within the SDP information storage sections               (15) The BT terminal 1021 transfers to the wireless
  1012 and 1022 (Descriptors used by the SDP protocol),                 gateway 1011 an AV/C command (play command) for the
  respectively (step S303).                                             purpose of playing back desired AV data (step S315). What
     (4) Before and after the processing (1) through (3), the      55   is used at this time is a logical connection on the L2CAP Set
  wireless gateway 1011 uses a SubUnit Info command of                  at processing (2).
  the AV/C Protocol to collect SubUnit information that exists             (16) The wireless gateway apparatus 1011 transfers the
  in the 1394 terminal 1001 (step S304).                                received command (Play command) to the VTR SubUnit
     (5) The 1394 terminal 1001 makes notification to the               1003 that is the destination of this command within the 1394
  wireless gateway 1011 of the fact that a VTR SubUnit 1003        60   terminal 1001 on the IEEE 1394 bus corresponding to the
  exists as a SubUnit in the local terminal device, in the form         VTR SubUnit 1013 (step S316).
  of an AV/C response (step S305).                                         (17) The VTR SubUnit 1003 within the 1394 terminal
     (6) The BT terminal 1021 uses SubUnit Info command                 1001 starts the transfer of AV data (step S317). What is used
  of the AV/C Protocol to collect SubUnit information existing          at this time is a connection on the IEEE 1394 bus set at
  in the connected wireless gateway apparatus 1011 (Step           65   processing (9).
  S306). What is used at this point is a logical connection on             By performing processing in this manner, it is possible to
  the L2CAP set by processing (2).                                      efficiently execute the transfer of AV data across an IEEE
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 42 of 175 Page ID #:42


                                                      US 6,885,643 B1
                           19                                                                         20
  1394 bus and a wireless LAN (Bluetooth), in accordance                be understood by the gateway function processor 1208 can
  with the condition of the wireleSS link, and in doing this, it        be provided within the gateway function processor 1208
  is possible to use the same type of the Bluetooth link                (this being executed by the gateway conversion section
  condition information and method of notification to the SDP           1208b shown in FIG. 12).
  Protocol of the collected link condition information as                  In the IEEE 1394 interface processor 1202, there exists a
  described with regard to the first embodiment.                        transaction processor 1205 for executing transaction pro
    Although it is not shown in the drawing, the Descriptor             cessing for performing data transfer in the asynchronous
  information in the SDP Protocol held in the wireless gate             mode on the IEEE 1394 bus.
  way 1011 of the third embodiment is the same as the                      At the AV data processor 1207 that executes AV data
  Descriptor information (refer to FIG. 4) in the case of the           transfer between Bluetooth and the IEEE 1394 bus, protocol
  first embodiment. However, because the wireleSS gateway               processing is performed, protocol processing with respect to
  apparatus 1011 does not only have a Bluetooth interface, but          data Such as audio data form the SCO mode 12012 at the
  also has an IEEE 1394 interface, in the AV/C Protocol layer,          baseband processing 1201 of Bluetooth and AV data that is
  link information of this IEEE 1394 bus is also stored and             sent and received via the L2CAP processor 1204 from the
  accessed.                                                        15   ACL mode 12011. It is possible to use an isochronous
     FIG. 12 is shows an example of the block diagram of the            channel or asynchronous packets on the IEEE 1394 bus to
  internal configuration of a wireleSS gateway 1011 used in the         execute protocol processing of AV data, and to transfer AV
  third embodiment. In the third embodiment, the BT terminal            data that bridges across Bluetooth and the IEEE 1394 bus.
  1021 on the wireless network can be implemented by the                   Additionally, to enable execution of an AV/C Protocol that
  Same type of wireless terminal device as in the first embodi          bridges across Bluetooth and the IEEE 1394 bus via the
  ment shown in FIG. 1 or the second embodiment shown in                wireleSS gateway apparatuS 1011, there is a gateway func
  FIG. 9. Because there is no need to consider a network                tion processor 1208. At this gateway function processor
  beyond the wireleSS gateway apparatus, the 1394 terminal              1208, in addition to execution of the AV/C Protocol proxy
  1001 on the wired network can be the same type of terminal            processing, processing Such as determining whether or not
  device as used in the conventional art.                          25   data transfer is possible, establishing the transfer parameters,
     The wireless gateway apparatus 1011 of the third embodi            and controlling transfer is also performed, in accordance
  ment can perform both wireleSS communication by Blue                  with the wireless link condition information.
  tooth and wired communication by the IEEE 1394, and                     According to the third embodiment of the present
  performs connection processing between these differing                invention, by using the above-noted wireleSS gateway
  communication interfaces. It is also possible to perform              apparatus, it is possible to perform AV data transfer and data
  proxy processing that enables execution of an AV/C Protocol           transfer control that bridges acroSS a wireleSS LAN Such as
  that bridges across the IEEE 1394 bus and Bluetooth.                  Bluetooth and the IEEE 1394. It is sufficient that a BT
     In order to perform this processing, within the wireleSS           terminal on the wireless network (a wireless terminal)
  gateway 1011 in the third embodiment, there is a Bluetooth            execute data transfer control with respect to the wireleSS
  interface processor 1201 that executes the Bluetooth physi       35   gateway 1011, and it is not necessary to be aware of the
  cal layer, and an IEEE 1394 interface processor 1202 that             IEEE 1394 protocol beyond the gateway. Without having to
  executes the physical layer and the link layer of the IEEE            make a functional expansion of a conventional terminal
  1394.                                                                 device as used in a wired network, it is possible to achieve
     In the Bluetooth interface processor 1201 there are two            efficient AV data transfer via a gateway apparatus with
  types of data transfer modes, an ACL mode 12011 and an           40   respect to a wireleSS terminal on a wireleSS network.
  SCO mod 12012. An L2CAP processor 1204 exists as a data               Fourth Embodiment
  link layer function using the ACL mode 12011 and a link                 A wireleSS network System according to the fourth
  monitor processor 1203 exists as a data link layer manage             embodiment of the present invention is described in detail
  ment function. The link monitor processor 1203 collects               below, with references being made to FIG. 13 to FIG. 16.
  Bluetooth link condition information, and makes notification     45     In the fourth embodiment, the difference with respect to
  thereof to the SDP processor 1206. The Bluetooth link                 the above embodiments is that it is assumed in this embodi
  condition information collected at the link monitor processor         ment that a user accesses a 1394 terminal 1301 on the IEEE
  1203 and of which notification is made to the SDP processor           1394 bus to view AV data within a wireless terminal 1321
  1206 is held and stored in the SDP information storage                existing on the wireless LAN. Similar to the case of the third
  section 1209, and is read out by the gateway function            50   embodiment, a wireleSS gateway apparatus 1311 makes a
  processor (AV/C processor) 1208.                                      connection between the wireless LAN and the IEEE 1394
    When this is done, the wireless link condition information          bus. In the fourth embodiment, an assumption made is that
  collect at the link monitor processor 1203 is not necessarily         of the use of a LAN having a fall-back function (a function
  a parameter that can be coded as SDP information.                     which changes the transfer rate in response to the wireleSS
  Additionally, parameters that represent the wireleSS link        55   condition when the wireless LAN is started up) such as in
  condition information coded in the SDP processor 1206 are             IEEE 802.11 as the wireless LAN.
  not necessarily parameters that can be read by the upper                 FIG. 13 shows an example of the network configuration
  gateway processor (AV/C processor) 1208. Therefore, in this           for the case in which AV data transfer is performed with a
  case, for example, a function that performs processing                configuration formed by the integration of a wireleSS LAN
  (calculation processing) for conversion of information col       60   (Bluetooth) with an IEEE 1394.
  lected at the link monitor processor 1203 to parameters that            In the fourth embodiment, there is a Display SubUnit
  can be understood by the SDP processor 1206 can be                    1303 within the 1394 terminal 1301, and a VTR SubUnit
  provided within the SDP processor 1206 (this being                    1323 within the wireless terminal 1321. The wireless gate
  executed by the SDP conversion section 1206b shown in                 way apparatuS 1311 provides a proxy function for executing
  FIG. 12), and a function that performs conversion process        65   an AV/C Protocol that bridges across the IEEE 1394 and the
  ing (calculation processing) for conversion of information            wireless LAN (Same function as that of wireless gateway in
  coded within that SDP processor 1206 to parameters that can           the third embodiment), and makes the 1394 terminal 1301
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 43 of 175 Page ID #:43


                                                       US 6,885,643 B1
                               21                                                                     22
  recognize the VTR SubUnit 1313 corresponding to the                    command to be sent to the VTR SubUnit 1303 of the
  VTR SubUnit 1323 actually existing in the wireless termi               wireless gateway apparatus 1311 (step S411). Furthermore,
  nal 1321 as the SubUnit existing in the local terminal device.         immediately before the operation of selecting this AV/C
  Additionally, condition information for the wireleSS link,             command it is possible to perform the processing of (7) and
  including the fall-back function information of the wireless           (8) again with the wireless gateway apparatus, and further
  LAN is stored in the link information 1312 and 1322 within             for the wireleSS gateway apparatus 1311 to request notifi
  the wireless gateway 1311 and wireless gateway 1321,                   cation of Descriptor information from the BT terminal 1321,
  respectively.                                                          So as to obtain the wireleSS link condition and content
    In the fourth embodiment, as shown in FIG. 14, the same              information when transmitting data. In the Selection of this
  type of protocol Stack as in the case of the Second embodi             AV/C command, it is possible to perform selection of the AV
  ment (refer to FIG. 6) is used execute an AV application on            data to be played and Specification of the rate. Additionally,
  the wireless LAN. However, the Bluetooth physical layer                for example, it is possible to make Settings of various
  part and the L2CAP processor each correspond to the                    processing details and methods, Such as the Selection of AV
  physical layer part and the MAC layer part of the IEEE                 data to be played and the transfer rate selectable. It further
  802.11 wireless LAN, respectively. On the IEEE 802.11             15
                                                                         possible to make the above-noted Selections by intervention
  wireless LAN as well, a protocol that collects wireless link           of a user. For example, a GUI can be used present a list of
  condition information similar to LMP is separately defined.            AV content that can be transferred and viewed, in accor
     FIG. 15 shows an example of the processing Sequence for             dance with the wireleSS link condition information, and the
  the case in which, in the fourth embodiment, AV data (data             user being caused to Select from this listed content the
  Stored within the VTR SubUnit 1323 of the wireless ter                 desired AV content.
  minal 1321) is read out from 1394 terminal 1301 and                      (12) The 1394 terminal 1301 sends an AV/C command
  Viewed. The actual processing StepS are as follows.                    (play command), for the purpose of playing back the desired
    (1) The wireless LAN is started, and a modulation system             AV data, to the wireless gateway apparatus 1311 (step S412).
  is established So as to achieve a transfer rate commensurate             (13) The wireless gateway apparatus 1311 sends the
  with the condition between the wireless gateway 1311 and               received command (play command) to the VTR SubUnit
  the wireless terminal 1321 (step S401).                           25   1323 that is the destination of this command within the
     (2) The wireless gateway apparatus 1311, as a result of             wireless terminal 1321 on the wireless LAN corresponding
  fall-back, makes notification of the Selected transfer rate and        to the VTR SubUnit 1313 (step S413).
  the like to the AV/C Protocol (step S402).                                (14) The VTR SubUnit 1323 within the wireless termi
     (3) The wireless gateway apparatus 1311, using a                    nal 1321 starts AV data transfer with respect to the 1394
  SubUnit Info command of the AV/C Protocol, collects                    terminal 1301 (step S414).
  SubUnit information existing in the wireless terminal 1321                By performing the above processing, it is possible to
  (step S403).                                                           perform highly efficient AV data transfer that bridges across
     (4) The wireless terminal 1321 makes notification to the            the IEEE 1394 and a wireless LAN (IEEE 802.11), respon
  wireleSS gateway apparatus 1311 of the AV/C response, to               sive to the condition of the wireless link therebetween.
  the effect that the a VTR SubUnit 1323 exists within the          35      FIG. 15 is a drawing showing an example of the Descrip
  local terminal device, in the form of AV/C response (step              tor information within the wireleSS gateway apparatus 1311
  S404).                                                                 of the fourth embodiment.
     (5) The 1394 terminal 1301, for example, uses the                     The Descriptor information of the fourth embodiment as
  SubUnit Info command of the AV/C Protocol to collect                   well, Similar to the case of the Second embodiment, indicates
  SubUnit information existing at the wireleSS gateway appa         40   the case in which the Descriptor is defined for each SubUnit
  ratus 1311 (step S405).                                                identifiable in the AV/C Protocol.
     (6) The wireless gateway apparatus 1311 makes notifica                In the example shown in FIG. 15, the object group
  tion to the 1394 terminal 1301 of the VTR SubUnit 1323                 existing within the Root Descriptor (A11) of the VTR
  actually existing within the wireleSS terminal 1321 as a               SubUnit 1313 shows the DataLink Descriptor (A21) cor
  SubUnit existing within the local terminal (as the VTR            45   responding to the communication interface of the wireleSS
  SubUnit 1311 existing within the local terminal) (step                 gateway apparatus 1311 and the Contents Descriptor (A22)
  S406).                                                                 corresponding to a Stored Video or game or the like. The
    (7) The 1394 terminal 1301, in order to obtain information           individual objects that exist are an object (A31) correspond
  with regard to the VTR SubUnit 1313 within the wireless                ing to the IEEE 802.11 in the DataLink Descriptor (A21)
  gateway apparatus 1311, Sends a Read Descriptor com               50   and a movie object (A32) in the Contents Descriptor
  mand for reading the associated Descriptor (step S407).                (A22). Each of the object groups (A31, A32, and A33) has
    (8) The wireless gateway apparatus 1311 makes notifica               Specific parameterS Such as the transfer rate after fall-back
  tion to the 1394 terminal 1301 of the Descriptor information           on the IEEE 802.11 (A45), the usable bandwidth in the
  of the VTR SubUnit within the local terminal (step S408).              asynchronous mode on the IEEE 1394 (A46), the number of
  At this time, the fall-back information as well as the content    55   channels set for the isochronous mode (A47), the title of an
  information is notified to the wireleSS gateway apparatus              MPEG2 encoded movie and the usable transfer rate (A43),
  1301.                                                                  and the title of an MPEG4 encoded movie and the usable
     (9) The 1394 terminal 1301 establishes a connection on              transfer rate (A44). Although it is not shown in FIG. 15, this
  the IEEE 1394 bus in order to received AV data from the                Descriptor information can have coded in it condition infor
  wireless gateway apparatus 1311 (and for this purpose             60   mation Such as the type and version of the installed protocol,
  executes the IEC 61883 Protocol) (step S409).                          the Sending electrical power mode, and hardware informa
     (10) The wireless gateway apparatus 1311 establishes a              tion of the wireless terminal 1321.
  communication resource on the wireleSS LAN for the pur                   FIG. 16 is an example of a block diagram of the internal
  pose of receiving AV data from the wireless terminal 1321              configuration of the wireleSS gateway apparatuS 1311 used in
  (operation in the PCF mode) (step S410).                          65   the fourth embodiment.
    (11) The 1394 terminal 1301, accessing Descriptor infor                The wireless gateway apparatus 1311 of the fourth
  mation that received at processing (8), Selects an AV/C                embodiment can perform both wireleSS communication
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 44 of 175 Page ID #:44


                                                       US 6,885,643 B1
                               23                                                                     24
  using the IEEE 802.11 and wired communication using                       The present invention as it relates to a method or appa
  IEEE 1394, and executes connection processing between                  ratus can further be implemented as a computer-readable
  these differing interfaces. Proxy processing to enable execu           recording medium, into which is Stored a program for the
  tion of the AV/C Protocol that bridges across the IEEE 1394            purpose of execution by a computer the procedures corre
  bus and the IEEE 802.11 is also performed in the wireless              sponding to the present invention (or for the purpose of
  gateway apparatus 1311.                                                having a computer function as a means corresponding to the
     In order to perform this processing, the wireleSS gateway           present invention, or further for the purpose of implement
  apparatus 1311 of the fourth embodiment comprises an                   ing on a computer a function corresponding to the present
  IEEE 802.11 interface processor 1601, which executes IEEE              invention).
  802.11 wireleSS LAN physical layer processing, and an                     All or part of the above-noted functions can be imple
  IEEE 1394 interface processor 1602, which executes IEEE                mented as hardware, in the form of a personal computer or
  1394 bus physical layer processing and link layer process              a PDA (personal digital assistant), an AV equipment, or a
  Ing.                                                                   communication device Such as an access point and a home
     Within the IEEE 802.11 interface processor 1601 there               router, or as Software executed on this type of hardware.
  exists a fall-back processor 16011, which executes fall-back      15      The above-described embodiments can be implemented
  processing at the time of wireleSS LAN Startup, and this               as a computer-readable recording medium, into which is
  fall-back processor 16011 is connected to an information               Stored a program for the purpose of execution by a computer
  collection processor 1606 that collects transfer rate infor            of a prescribed means (or for the purpose of having a
  mation resulting from the fall-back processing and Send the            computer function as the prescribed means, or further for the
                                                                         purpose of implementing on a computer a prescribed
  collected information to an AV/C information Storage Sec               means). This recording medium can be loaded into a CPU of
  tion 1609 which stores the wireless link condition informa
  tion.                                                                  a computer and executed, thereby achieving the functions of
                                                                         the above-described embodiments.
    The IEEE 1394 interface processor 1602 is connected to                  In Summary, according to the present invention, it is
  a transaction processor 1605, which executes transaction               possible even in an environment formed by a connection
  processing for performing data transfer in the asynchronous       25
                                                                         between a wired network and a wireleSS network, Such as
  mode on the IEEE 1394 bus.
    There is an AV data processor 1607, which executes AV                between a wireleSS network environment exhibiting network
  data transfer between the MAC processor 1604 executing                 condition variations and an IEEE 1394 bus, to perform
  MAC protocol processing of the IEEE 802.11 or IEEE                     highly efficient data transfer, in accordance with the link
                                                                         condition in the wireleSS network.
  802.11 wireless LAN and the IEEE 1394 bus, this perform                  It is to be noted that, besides the embodiments described
  ing processing of Sending and receiving of AV data from the
  IEEE 802.11 or the IEEE 1394.                                          above, many modifications and variations of the above
     Additionally, there is a gateway function processor 1608            embodiments may be made without departing from the
  for the purpose of enabling execution of the AV/C Protocol             novel and advantageous features of the present invention.
  bridging across the IEEE 802.11 wireless LAN and the IEEE         35   Accordingly, all Such modifications and variations are
  1394, via the wireless gateway apparatus 1311. At this                 intended to be included within the Scope of the appended
                                                                         claims.
  gateway function processor 1608, in addition to execution of             What is claimed is:
  AV/C Protocol proxy processing and the like, in accordance                1. A terminal device for control of data between commu
  with wireleSS link condition information, control is executed          nicating entities on a network via a wireleSS link, compris
  of whether or not transfer is possible, the transfer              40
                                                                         ing:
  parameters, and AV data transfer.                                         an interface Section for performing Sending and receiving
    According to the fourth embodiment, by using the above                     of packets with a remote communicating entity;
  described wireleSS gateway apparatus, it is possible to per
  form AV data transfer and transfer control thereof that                   a link Setting Section for Setting a link for control and for
  bridges across a wireless LAN such as the IEEE 802.11 and         45         data transfer with the remote communicating entity;
  the IEEE 1394 bus.                                                        a wireleSS link information acquisition Section for acquir
    In the foregoing embodiments, it is possible to have a                     ing wireleSS link information indicating the condition
  terminal and gateway apparatus that acquire the topology                    of a wireless link between said terminal device the
  information and data link information and the like for AV                   remote communicating entity in the network at the time
  data transfer, that is, wireleSS link condition information, by   50        of Setting the link, and for updating the wireleSS link
  the local device only, and alternatively possible either to                 information acquired at the time of Setting the link by
  have this acquisition performed by other (remote) devices                   the current dynamically acquired wireless link
  only, or by both the local device and other devices. The AV                 information, the wireleSS link information including at
  application used as an example of an upper application can                  least transmittable bandwidth information;
  execute bi-directional data transfer.                             55     a wireleSS link information Storage Section for Storing the
    In the foregoing embodiments, although the descriptions                   acquired or updated wireleSS link information as
  were for the case in which an upper application at a data                   Descriptor information referable by the remote com
  receiving Side performed Selection of AV processing based                   municating entity; and
  on notified Information, it is alternatively possible for the            an application Section for, based on the wireleSS link
  upper application at a data Sending Side to perform Selection     60        information stored in the wireless link information
  of processing based on notified information.                                Storage Section, determining whether or not data can be
    The present invention can be applied to a home network                    transferred and, if data transfer is possible, changing a
  and further to various networks in an office or other envi                  transmission rate for transfer of data with the remote
  rOnment.                                                                    communicating entity, in accordance with the wireleSS
    The present invention related to an apparatus can also be       65        link information.
  implemented as a method, and a method according to the                   2. The terminal device according to claim 1, wherein the
  present invention can be implemented as an apparatus.                  wireless link information stored in the wireless link infor
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 45 of 175 Page ID #:45


                                                       US 6,885,643 B1
                                 25                                                                    26
  mation Storage Section includes wireleSS link information                   a wireleSS link between a local terminal device and the
  with regard to Said terminal device and wireleSS link infor                 remote communicating entity in the network at the time
  mation with regard to the remote communicating entity.                      of Setting the link, and for updating the wireleSS link
    3. The terminal device according to claim 2, wherein the                  information acquired at the time of Setting the link by
  wireleSS link information acquisition Section includes:                     the current dynamically acquired wireless link
     a remote wireleSS link information requesting Section for                information, the wireleSS link information including at
        requesting notification of wireleSS link information                  least transmittable bandwidth information;
        with regard to the remote communicating entity that the            a wireleSS link information Storage Section for Storing the
        remote communicating entity has, at the time of Startup               acquired or updated wireleSS link information as
        by the application Section; and                             1O        Descriptor information referable by the remote com
     a remote wireleSS link information receiving Section for                 municating entity; and
        receiving wireleSS link information of the remote com              a local terminal wireleSS link information notification
        munication entity, notification of which is made from                 Section for receiving from the remote entity a request
        the remote communication entity.                                      for local wireless link information of the local terminal
     4. The terminal device according to claim 1, further           15        and for Sending the local wireleSS link information to
  comprising:                                                                the remote communicating entity.
     a wireleSS link information updating Section for changing             13. A gateway device for controlling transfer of data
       wireless link information stored in the wireless link             between a first terminal device on a wired network and a
        information Storage Section to a format interpretable by         Second terminal device on a wireleSS network, the gateway
        the application Section and for passing the wireleSS link        device comprising:
        information to the application Section.                            a first interface Section for Sending and receiving packets
     5. The terminal device according to claim 1, wherein the                 via the wireleSS network,
  wireleSS link information Storage Section Stores wireleSS link           a Second interface Section for Sending and receiving
  information as information related to a constituent element
                                                                    25
                                                                              packets via the wired network,
  of Said terminal device.                                                 a first link Setting Section for Setting a link for control and
    6. The terminal device according to claim 5, wherein                      for data transfer with the Second terminal device;
    a SubUnit defined in the AV/C Protocol, upper layer                    a Second link Setting Section for Setting a link with the first
       protocol of the IEEE 1394, is used as the constituent                  terminal device;
       element.                                                            a wireleSS link information acquisition Section for acquir
    7. The terminal device according to claim 1, further                      ing wireleSS link information indicating a condition of
  comprising:                                                                 a wireless link between the gateway device and the
    a wireleSS link monitoring Section for monitoring the                     Second terminal device on the wireleSS network at the
       condition of a wireleSS link in the network, for output                time of Setting the link, and for updating the wireleSS
       ting wireleSS link information acquired by the moni          35        link information acquired at the time of Setting the link
       toring to the wireleSS link information acquisition Sec                by the current dynamically acquired wireleSS link
       tion.                                                                  information, the wireleSS link information including at
    8. The terminal device according to claim 1, further                      least transmittable bandwidth information;
  comprising:                                                              a wireleSS link information Storage Section for Storing the
    a local wireleSS link information Sending Section for           40        acquired or updated wireleSS link information as
       Sending wireleSS link information of Said terminal                     Descriptor information referable by the first and second
       device to the remote communicating entity, in response                 terminal devices, and
       to a request from the remote communicating entity.                  a network connection processor for, based on the wireleSS
    9. The terminal device according to claim 1, further                      link information stored in the wireless link information
  comprising:                                                       45        Storage Section, performing receiving or Sending of
    a user interface Section for, based on wireleSS link infor                data between the first terminal device and the Second
       mation Stored in the wireleSS link information Storage                 terminal device via the first interface Section and the
       Section, providing to a user a list of data candidates for             Second interface Section.
       transfer, and waiting for input from the user of data               14. The gateway device according to claim 13, further
       Selected from the list.                                      50   comprising: a local terminal wireleSS link information Send
     10. The terminal device according to claim 1, wherein the           ing Section for, in response to a request from the first
  wireleSS link information includes at least one of a packet            terminal device on the wired network or from the second
  discard rate, a usable bandwidth, a number of usable                   terminal device on the wireleSS network, for Sending local
  channels, a usable transfer rate, or observable information            wireless link information to the first terminal device or the
  on which these are based.                                         55   Second terminal device, respectively.
     11. The terminal device according to claim 1, wherein the              15. The gateway device according to claim 13, wherein
  transfer parameter is at least one of an AV/C command or               the wireleSS link information acquisition Section includes:
  content data to be transferred.                                           a remote link information requesting Section for request
     12. A terminal device for transfer of data between com                   ing notification of the remote link information of the
  municating entities over a network via a wireleSS link,           60        Second terminal device to the first terminal device on
  comprising:                                                                 the wired network, and
    an interface Section for performing Sending and receiving              a remote link information receiving Section for receiving
       of packets with a remote communicating entity, and                     remote link information, notification of which is made
    a link Setting Section for Setting a link for control and for             by the first terminal device.
       data transfer with the remote communicating entity;          65      16. A method for controlling transfer of data via a wireless
    a wireleSS link information acquisition Section for acquir           link with a remote communicating entity over a network,
       ing wireleSS link information indicating a condition of           comprising:
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 46 of 175 Page ID #:46


                                                       US 6,885,643 B1
                               27                                                                      28
    Setting a link for control with the remote communicating               Setting a link for control with the Second terminal device;
       entity;                                                             acquiring, at the time of Setting of the link, wireleSS link
    acquiring wireleSS link information indicating a condition                information indicating a condition of a wireleSS link
       of a wireleSS link between a local terminal device and                 between the first terminal device and the second ter
       the remote communicating entity at the time of Setting                 minal device on the wireleSS network, the wireleSS link
       the link, the wireleSS link information including at least             information including at least transmittable bandwidth
       transmittable bandwidth information;                                   information;
    Setting a link for data transfer with the remote commu                 Setting a link for data transfer with the Second terminal
       nicating entity;                                             1O
                                                                              device;
    updating wireleSS link information acquired at the time of             updating the wireleSS link information acquired at the
                                                                              time of Setting the link with current dynamically
       Setting of the link with current dynamically acquired                  acquired wireleSS link information acquired after the
       wireleSS link information acquired after the Setting of                Setting of the link,
       the link for data transfer;                                         Setting a link with the first terminal device;
                                                                    15
    Storing the acquired or updated wireleSS link information              Storing the acquired or updated wireleSS link information
       as Descriptor information referable by the remote com                  as Descriptor information referable by the first and
      municating entity;                                                      Second terminal devices, and
    determining whether or not transfer of data is possible,               performing receiving or Sending of data between the first
      based on the updated wireleSS link information; and                     terminal device and the Second terminal device, based
    changing a transmission rate for transfer of data with the               on the wireleSS link information.
      remote communicating entity, in accordance with wire                 21. A terminal device for control of data between com
       leSS link information in the case in which data transfer          municating entities on a network via a wireleSS link, com
      is possible, and performing receiving or Sending of                prising:
      content data with the remote communicating entity,            25      an interface Section for performing Sending and receiving
      using the changed transmission rate.                                     of packets with a remote communicating entity;
    17. The method according to claim 16, wherein the                       a link Setting Section for Setting a link for control and for
  wireleSS link information includes wireleSS link information                 data transfer with the remote communicating entity;
  with regard to the local terminal device and information with             a wireleSS link information acquisition Section for acquir
  regard the remote communicating entity.                                      ing wireleSS link information indicating the condition
     18. The method according to claim 17, wherein the                        of a wireless link between said terminal device and the
  wireleSS link information updating includes:                                remote communicating entity in the network at the time
     requesting notification of the remote wireleSS link infor                of Setting the link, and for updating the wireleSS link
       mation of the remote communicating entity at the time        35
                                                                              information acquired at the time of Setting the link by
       of the Startup of an application; and                                  the current dynamically acquired wireleSS link infor
     receiving wireleSS link information of the remote com                    mation;
       municating entity, notification of which is made by the             a wireleSS link information Storage Section for Storing the
       remote communicating entity.                                           acquired or updated wireleSS link information; and
    19. A method for transfer of content data via a wireless        40     an application Section for, based on the wireleSS link
  link with a remote communicating party on a network,                        information stored in the wireless link information
  comprising:                                                                 Storage Section, determining whether or not data can be
     Setting a link for control with the remote communicating                 transferred and, if data transfer is possible, optimizing
        entity;                                                               a transfer parameter for transfer of data with the remote
     acquiring wireleSS link information indicating a condition     45        communicating entity, in accordance with the wireleSS
       of a wireleSS link between a local terminal device and                 link information, this transfer parameter being used to
                                                                              receive data from or Send data to the remote commu
       the remote communicating entity on the network at the                  nicating entity, via the interface Section, wherein
       time of Setting the link, the wireleSS link information             the wireless link information stored in the wireless link
       including at least transmittable bandwidth information;                information Storage Section includes wireleSS link
                                                                    50
    Setting a link for data transfer with the remote commu                    information with regard to the terminal device and
       nicating entity;                                                       wireleSS link information with regard to the remote
    updating the wireleSS link information acquired at the                    communicating entity, and
       time of Setting of the link with current dynamically                the wireleSS link information acquisition Section includes:
       acquired wireleSS link information acquired after the        55     a remote wireleSS link information requesting Section for
       Setting of the link,                                                   requesting notification of wireleSS link information
    Storing the acquired or updated wireleSS link information                 with regard to the remote communicating entity that the
       as Descriptor information referable by the remote com                  remote communicating entity has, at the time of Startup
       municating entity; and                                                 of the application; and
    receiving a notification request Sent from the remote           60     a remote wireleSS link information receiving Section for
       communicating entity for the local wireleSS link infor                 receiving wireleSS link information of the remote com
       mation of the local terminal device, and Sending to the                municating entity, notification of which is made from
       remote communicating entity wireleSS link information                  the remote communicating entity.
       of the local terminal device in response to the request.            22. A gateway device for controlling transfer of data
    20. A method for transfer of content data between a first       65   between a first terminal device on a wired network and a
  terminal device on a wired network and a Second terminal               Second terminal device on a wireleSS network, the gateway
  device on a wireleSS network, this method comprising:                  device comprising:
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 47 of 175 Page ID #:47


                                                        US 6,885,643 B1
                                29                                                                   30
    a first interface Section for Sending and receiving packets            Setting a link for control with the remote communicating
       via the wireleSS network,                                              entity;
    a Second interface Section for Sending and receiving                   acquiring wireleSS link information indicating a condition
       packets via the wired network,                                        of a wireleSS link between a local terminal device and
    a first link Setting Section for Setting a link for control and          the remote communicating entity at the time of Setting
       for data transfer with the Second terminal device;                    the link;
    a Second link Setting Section for Setting a link with the first        Setting a link for data transfer with the remote commu
       terminal device;                                                       nicating entity;
    a wireleSS link information acquisition Section for acquir        1O
                                                                           updating wireleSS link information acquired at the time of
       ing wireleSS link information indicating a condition of
       a wireleSS link between the gateway device and the                     Setting of the link with current dynamically acquired
       Second terminal device on the wireleSS network at the                  wireleSS link information acquired after the Setting of
       time of Setting the link, and for updating the wireleSS               the link for data transfer;
       link information acquired at the time of Setting the link      15   determining whether or not transfer of data is possible,
       by the current dynamically acquired wireleSS link infor               based on the updated wireleSS link information; and
       mation;                                                             optimizing a parameter for transfer of data with the
    a wireleSS link information Storage Section for Storing the              remote communicating entity, in accordance with wire
       acquired or updated wireleSS link information; and                    leSS link information in the case in which data transfer
    a network connection processor for, based on the wireleSS                is possible, and performing receiving or Sending of
       link information stored in the wireless link information              content data with the remote communicating entity,
       Storage Section, performing receiving or Sending of                   using the optimized parameter for transfer, wherein
       data between the first terminal device and the Second
       terminal device via the first interface Section and the             the wireless link information includes wireless link infor
       Second interface Section, wherein                              25     mation with regard to the local terminal device and
    the wireleSS link information acquisition Section includes:              information with regard to the remote communicating
    a remote link information requesting Section for request                 entity, and the wireleSS link information updating
                                                                             includes:
       ing notification of the remote link information of the
       Second terminal device to the first terminal device on              requesting notification of the remote wireleSS link infor
       the wired network, and                                                mation of the remote communicating entity at the time
    a remote link information receiving section for receiving                of the Startup of an application; and
       remote link information, notification of which is made              receiving wireleSS link information of the remote com
       by the first terminal device.                                         municating entity, notification of which is made by the
     23. A method for controlling transfer of data via a wireless     35     remote communicating entity.
  link with a remote communicating entity over a network,
  comprising:
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 48 of 175 Page ID #:48




                            EXHIBIT 2
            Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 49 of 175 Page ID #:49
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link



                                      TP-Link WiFi Routers
                                      (using 802.11 Wi-Fi)




                                                                                                      1
                 Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 50 of 175 Page ID #:50
     Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link




1.     A terminal device for control of data between communicating entities on a network via a wireless
       link, comprising:
an interface section for performing sending and receiving of packets with a remote communicating entity;
a link setting section for setting a link for control and for data transfer with the remote communicating
       entity;
a wireless link information acquisition section for acquiring wireless link information indicating the
       condition of a wireless link between said terminal device the remote communicating entity in the
       network at the time of setting the link, and for updating the wireless link information acquired at the
       time of setting the link by the current dynamically acquired wireless link information, the wireless link
       information including at least transmittable bandwidth information;
a wireless link information storage section for storing the acquired or updated wireless link information as
       Descriptor information referable by the remote communicating entity; and
an application section for, based on the wireless link information stored in the wireless link information
       storage section, determining whether or not data can be transferred and, if data transfer is possible,
       changing a transmission rate for transfer of data with the remote communicating entity, in
       accordance with the wireless link information.
                                                                                                                   2
                    Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 51 of 175 Page ID #:51
     Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

          Claim 1
                            Source: https://www.tp-link.com/us/home-networking/wifi-router/archer-c7/


  A terminal device
  for control of data
  between
  communicating
  entities on a
  network via a
  wireless link,
  comprising:




Version: Dec. 17, 2019                                                                                     3
                 Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 52 of 175 Page ID #:52
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

      Claim 1

                         Source: https://www.tp-link.com/us/home-networking/wifi-router/archer-c7/
A terminal device
for control of data
between
communicating
entities on a
network via a
wireless link,
comprising:




                                                                                                        4
                 Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 53 of 175 Page ID #:53
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

      Claim 1
                          Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
                          (MAC) and Physical Layer (PHY) Specifications
A terminal device
for control of data
between
communicating
entities on a
network via a
wireless link,
comprising:




                                                                                                        5
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 54 of 175 Page ID #:54
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

      Claim 1
                         Source: Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
an interface             (MAC) and Physical Layer (PHY) Specifications
section for
                          {e.g. devices}                                                         {TP-Link Wi-Fi Router}
performing
sending and
receiving of
packets with a
remote
communicating
entity;




                         Note: “AP STA” is access point/router and “STA” is attaching device, WiFi Client, smartphone, etc.

                                                                                                                              6
                 Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 55 of 175 Page ID #:55
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

      Claim 1
                          Source: https://www.cleartosend.net/cts-047-troubleshooting-wifi-wireshark/
a link setting
section for setting
a link for control
and for data
transfer with the
remote
communicating
entity;




                                                                                                        7
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 56 of 175 Page ID #:56
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

        Claim 1
                            Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
a wireless link             (MAC) and Physical Layer (PHY) Specifications (also in IEEE Std XXX-XX-XXXX “ax’)
information acquisition
section for acquiring
wireless link
information indicating
the condition of a
wireless link between
said terminal device
the remote
communicating entity
in the network




                                                                                                                8
                 Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 57 of 175 Page ID #:57
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

     Claim 1
                        Source: https://www.cleartosend.net/cts-047-troubleshooting-wifi-wireshark/
at the time of
setting the link,




                                                                                                        9
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 58 of 175 Page ID #:58
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

       Claim 1
                          Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
and for updating the      (MAC) and Physical Layer (PHY) Specifications (also in IEEE Std XXX-XX-XXXX “ax’)
wireless link
information acquired
at the time of setting
the link by the
current dynamically
acquired wireless
link information,




                                                                                                              10
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 59 of 175 Page ID #:59
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

       Claim 1
                         Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
the wireless link        (MAC) and Physical Layer (PHY) Specifications
information including
at least transmittable
bandwidth
information;




                                                                                                        11
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 60 of 175 Page ID #:60
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

     Claim 1
                      Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
a wireless link       (MAC) and Physical Layer (PHY) Specifications
information
storage section
for storing the
acquired or
updated wireless
link information
as Descriptor
information
referable by the
remote
communicating
entity; and



                                                                                                        12
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 61 of 175 Page ID #:61
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

     Claim 1
                        Source: https://www.microcontrollertips.com/teardown-inside-tp-link-archer-c7-wireless-router/
an application
section for,
based on the
wireless link
information
stored in the
wireless link
information
storage section,
determining
whether or not
data can be
transferred



                                                                                                                         13
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 62 of 175 Page ID #:62
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

     Claim 1
                      Source: http://www.revolutionwifi.net/revolutionwifi/2014/09/wi-fi-snr-to-mcs-data-rate-mapping.html
an application        (Cached): https://drive.google.com/open?id=1TBUzWUG758_HJLcH1sjLeNjDgjtX50hP
section for,
                      MCS is “Modulation and Coding Scheme”
based on the
wireless link
information
stored in the
wireless link
information
storage section,
determining
whether or not
data can be
transferred



                                                                                                                             14
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 63 of 175 Page ID #:63
   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by TP-Link

     Claim 1
                     Source: http://www.revolutionwifi.net/revolutionwifi/2014/09/wi-fi-snr-to-mcs-data-rate-mapping.html
if data transfer     (Cached): https://drive.google.com/open?id=1TBUzWUG758_HJLcH1sjLeNjDgjtX50hP
is possible,
changing a
transmission
rate for transfer
of data with the
remote
communicating
entity, in
accordance with
the wireless link                                                                    Source: IEEE Std 802.11™-2012:
                                                                                     Part 11: Wireless LAN Medium
information.                                                                         Access Control
                                                                                     (MAC) and Physical Layer (PHY)
                                                                                     Specifications




                                                                                                                            15
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 64 of 175 Page ID #:64




                            EXHIBIT 3
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 65 of 175 Page ID #:65
                                                                                                     USOO6928166B2

  (12) United States Patent                                                           (10) Patent No.:     US 6,928,166 B2
         Yoshizawa                                                                    (45) Date of Patent:      Aug. 9, 2005

  (54) RADIO COMMUNICATION DEVICE AND                                                       FOREIGN PATENT DOCUMENTS
          USER AUTHENTICATION METHOD FOR
          USE THEREWITH                                                          EP         WO 97/26769       7/1997
                                                                                 EP         WO 01/74011 A1 10/2001
                                                                                 GB             2350971. A * 12/2000      ............. GO6F/1/OO
  (75) Inventor: Junichi Yoshizawa, Ome (JP)                                     JP           O9-233223       9/1997
                                                                                 JP             2872996       1/1999
  (73) Assignee: Kabushiki Kaisha Toshiba, Kawasaki                                               OTHER PUBLICATIONS
                 (JP)
                                                                                 Johannes Elg, “Specification of the Bluetooth System,” ver.
  (*) Notice: Subject to any disclaimer, the term of this                        1.0 B, pp. 186-199, Nov. 29, 1999.
                       patent is extended or adjusted under 35                   English abstract of JP 11-275661 published Oct. 8, 1999.
                       U.S.C. 154(b) by 887 days.
                                                                                 * cited by examiner
  (21) Appl. No.: 09/795,355                                                     Primary Examiner Matthew Smithers
  (22) Filed:     Mar. 1, 2001                                                   (74) Attorney, Agent, or Firm-Finnegan, Henderson,
                                                                                 Farabow, Garrett & Dunner, L.L.P.
  (65)                Prior Publication Data                                     (57)                 ABSTRACT
          US 2001/0036273 A1 Nov. 1, 2001
                                                                                 To allow flexible Security level Switching according com
  (30)          Foreign Application Priority Data                                munication Situations, a password holding Section holds a
   Apr. 28, 2000      (JP) ....................................... 2000-131861   plurality of device authentication passwords, for example, a
                                                                                 temporary password and a private password. The temporary
  (51) Int. Cl. ............................. H04K 1/00; H04L 9/16               password is valid only under a certain situation and the
  (52) U.S. Cl. ........................ 380/247; 380/255; 713/168               private password has a high level of confidentiality to
  (58) Field of Search ................................. 380/247, 270,           increase the device Security. A password management Sec
                                 380/255; 713/168, 169,171, 201                  tion allows the user to add a new password to the password
                                                                                 holding Section and delete an existing password therefrom.
  (56)                    References Cited                                       A password Selecting Section Selects the most Suitable pass
                   U.S. PATENT DOCUMENTS
                                                                                 word for current connection from among passwords in the
                                                                                 password holding Section according to a user event, infor
         5,442,805 A    8/1995 Sagers et al.                                     mation acquired by an external factor acquisition Section,
         6,748,195 B1 * 6/2004 Phillips ..................... 455/412            and information from a time control Section. The Selected
         6,766,160 B1 * 7/2004 Lemilainen et al. ........ 455/411                password is output to a password checking Section.
   2002/0132605 A1          9/2002 Smeets et al. .............. 455/411
   2004/O128509 A1          7/2004 Gehrmann .................. 713/171                         19 Claims, 5 Drawing Sheets

                                           17                      16
                                      PASSWORD                PASSWORD
                                      MANAGEMENT              HOLDING
                                      SECTION                 SECTION

                                  EXTERNAL
                                  FACTOR
                                  ACOUSION                                             PASSWORD
                                  SECTION                                              CHECKING
                                                               PASSWORD                SECTION
                                                               SELECTING
                                                               SECTION

                                                             AUTHENTICATION
                                   EVENT               .     PASSWORD              DATA
                                                             INPUT                 TRANSMTNG
                             --------- e                     SECTION               AND RECEVING
                                                                                   SECTION
                                  2


                                                                                  CONNECTION-BREAK
                                                                                      EENSECTION3
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 66 of 175 Page ID #:66


  U.S. Patent                       Aug. 9, 2005         Sheet 1 of 5            US 6,928,166 B2




                          7                  16

                  PASSWORD                PASSWORD
              --> MANAGEMENT             HOLDING
          }      SECTION                  SECTION
                     4
               EXTERNAL                              8                  9
               FACTOR
          1   |ASSION                                              PASSWORD
                                 15       PASSWORD                 SENG
              TIME CONTROL                SELECTING
              SECTION                     SECTION
          -- - - - - - - - - -      --
      :                       ---                           20              11       12
                USER                     AUTHENTICATION
                EVENT                    PASSWORD                DATA
                                         INPUT                   TRANSMITTING    ANTENNA
                                         SECTION                 AND RECEIVING
                                                                 SECTION



                                                               ONNECTIQBRES
                                                              DETECTING SECTION

                                                    F. G.


                                 DEVICE A                    )        DEVICE B
                                                    CONNECTION
                                                    REQUEST

                                                    F. G. 2
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 67 of 175 Page ID #:67


  U.S. Patent          Aug. 9, 2005    Sheet 2 of 5              US 6,928,166 B2


                           DEVICE A                             DEVICE B
              SPECIFY DEVICE
             E.
             IS SETUP
                      :                  CONNECTION
                                         REQUEST




                                        AUTHENTICATION
                                         REQUEST

              : ENTRY OF                                   B5
               PASSWORD                   PASSWORD
                                        END OF             B6
                                        AUTHENTICATION



                                       MACHINE A


                                   ->
                           MACHINE B   MACHINE C         MACHINE D




                                          M



                                       Z-PASSWORD
                                           FILE 26
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 68 of 175 Page ID #:68


  U.S. Patent          Aug. 9, 2005     Sheet 3 of 5         US 6,928,166 B2




                           DEVICE BSETS UP
                           TEMPORARY PASSWORD          C


                       DEVICE B SES P
                       TEMPORARY PASSWORD              C2
                       AS AUTHENTCATION PASSWORD


                                CONNECTION
                             REQUEST CAUSED BY
                                  DEVICE A

                                       YES

                       CONNECTION WITH DEVICE ABC
                       ANDAUTHENTICATION THEREOF



                                 CONNECON
                                 BREA AB
                                          -
                                       YES
                         DEVICE B SE.S UP
                         PRIVATE PASSWORD AS            C6
                         AUTHENTCATION PASSWORD


                                      FG, 4.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 69 of 175 Page ID #:69


  U.S. Patent             Aug. 9, 2005   Sheet 4 of 5         US 6,928,166 B2




                  | OFFICE re-3
                  l- - - - - - - -
                                                          | OFFICE
                                                          t- - - - - - - - -




                                                                   33
                      ---------
                33 NINFORMATION          ------
                      Eigy               -->
                                         MOVING
                                                Eyton
         (TEMPORARY PASSWORD IN USE)     TTTTTT         (PRIVATE
                                                        PASSWORD IN USE)
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 70 of 175 Page ID #:70


  U.S. Patent          Aug. 9, 2005        Sheet 5 of 5           US 6,928,166 B2



              CONNECTION REQUESTN- Al

                                      A2
                      FIRST                     NO
                  CONNECTION
                         YES
                 AUTHENTICATION            A3
                 BY PIN CODE

                  LINK SET UP              A4


                LINK KEY CREATION          A5
                                                                      A7

                ENTRY OF LINK KEY          A6             AUTHENTICATION
                NTO TABLE                                 BY LINK KEY


                               F. G. 7 (PRIOR ART)


              UNIQUE ADDRESS (Hex)                   LINK KEY




                              FG. 8 (PRIOR ART)
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 71 of 175 Page ID #:71


                                                        US 6,928,166 B2
                                 1                                                                     2
       RADIO COMMUNICATION DEVICE AND                                     the PIN code of the device B. Upon receiving the PIN code
       USER AUTHENTICATION METHOD FOR                                     from the device A, the device B checks it for validity (step
                USE THEREWITH                                             A3). If the PIN code is authenticated, then the device B
                                                                          establishes a link (Step A4) and creates a link key for the
             CROSS-REFERENCE TO RELATED
                                                                          device A (step A5). The resulting link key is entered into the
                    APPLICATIONS
                                                                          list together with the unique address of the device A (Step
                                                                          A6).
     This application is based upon and claims the benefit of               If, on the other hand, the device A was Sometimes
  priority from the prior Japanese Patent Application No.                 connected to the device B in the past, Since the link key has
  2000-131861, filed Apr. 28, 2000, the entire contents of                already been entered into the table in the device B, authen
  which are incorporated herein by reference.                             tication is made through that link key (Step A7).
            BACKGROUND OF THE INVENTION                                      The Bluetooth provides authentication using the PIN code
                                                                          unique to each device and the link key based on the PIN
     The present invention relates to a radio communication               code. The PIN code, while being unique, can be altered by
  device and a user authentication method using user authen          15
                                                                          the device user into any other String of characters.
  tication passwords.                                                        The security system disclosed in Japanese Patent No.
     In recent years, attention has been paid to radio commu              2872996, the one-time password system in the Internet and
  nication Systems adapted for personal areas, Such IrDA,                 the user authentication System in the Bluetooth can be said
  Bluetooth, HomeRF, etc. Particularly, Bluetooth and Hom                 to be password management and authentication Systems
  eRF have merits of no directivity and high transparence over            intended to provide only increased Security.
  infrared communication Systems, Such as IrDA, and are                      The use of the user authentication System in ad hoc
  greatly expected to develop and find wide application in the
  future. The Bluetooth is short-haul radio communication                 network environment causes problems as described below.
  Standards and establishes radio communications within 10 m                 AS an application of the user authentication System used
  or 100 m using the ISM (Industrial Science Medical) band           25   in the Bluetooth, consider a table conferencing System made
  of 2.4 GHz band. The Bluetooth adopts frequency-hopping                 up of a plurality of information devices. Each individual
  Spectrum-Spreading techniques and allows for connection of              device is required to establish a fiduciary relationship based
  up to eight devices through the use of time-division multi              on the above user authentication System with the others.
  plexing techniques.                                                        However, in order for each individual user having his own
    In addition to allowance for Simultaneous connection of               private PIN code to ensure the security of his own device, it
  multiple devices, the radio communication Systems, Such as              is desirable to adopt a method involving creating a tempo
  Bluetooth, HomeRF, etc., make a great feature of a relatively           rary PIN code and changing it to the original private PIN
  long transmission distance of, Say, 10 to 100 m in compari              code at the termination of the table conferencing rather than
  Son with the infrared communication Systems, Such as IrDA.              establishing the fiduciary relationship by informing the other
                                                                     35   users of the private PIN code.
  This provides an advantage of ease of handling, but on the
  other hand Sufficient attention must be paid to assure System              To adopt the user authentication System as described
  Security and confidentiality.                                           above, therefore, it is required to take the following Steps:
     Conventional Security Systems for radio communication                   S1: Each individual user sets up a temporary PIN code on
  Systems include the radio terminal Security System as              40
                                                                          his own device and informs the other users of that PIN code.
  described in Japanese Patent No. 2872996 and the one-time                  S2: Holds table conferencing.
  password System as used in the Internet.                                   S3: At the termination of the conferencing, each indi
     These Security Systems include electronic keys and radio             vidual user makes a change from the temporary PIN code to
  terminals and prohibit Successive use of the same key to                his original private PIN code.
  increase Security, thereby providing increased Safety against      45
  loss and theft of the key.                                                 With the above approach, however, not only does it take
     Next, the user authentication system used in the Bluetooth           long to set up the PIN code, but also the security level is
  will be described.                                                      considerably lowered in the event that the user forgot to
                                                                          make a change from the PIN code to the original PIN code;
    The user authentication system used in the Bluetooth is               for, in such case, the temporary PIN code will come to be
  Subject to two: a unique password Set up on each device            50   used Successively.
  (called a PIN (Personal Identification Number) code) and an
  encryption key (called link key) created by the password and                    BRIEF SUMMARY OF THE INVENTION
  an ID code unique to the device (information, Such as a
  48-bit address, assigned by IEEE). This system will be                    It is therefore an object of the present invention to provide
  described in brief below with reference to a flowchart shown       55   a radio communication device and a user authentication
  in FIG. 7.                                                              method for use therewith which permit the security level to
     Consider now the case where a device A makes access to               be changed with flexibility according to communication
  a device B. The device A makes a request for connection to              Situations without imposing any operating burden on users.
  the device B (step A1), whereupon the device B checks the                  According to one aspect of the present invention, there is
  presence or absence of the link key to see if the connection       60   provided an authentication processing apparatus of a radio
  to the device A is set up for the first time (step A2). That is,        communication which authenticates a device, the apparatus
  the device B is stored with a list of link keys besides PIN             comprising: means for Selecting a Security level from a
  codes. This list is a table of unique addresses of devices              plurality of Security levels in accordance with a condition of
  connected So far to the device B and corresponding link                 the radio communication;
  keys. An example of this table is illustrated in FIG. 8.           65     means for receiving a request for an authentication and
    In the situation in which the device A and the device B are           authentication information from the device; means for
  connected for the first time, the device A is required to input         checking whether the received information from the device
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 72 of 175 Page ID #:72


                                                       US 6,928,166 B2
                                 3                                                                     4
  is valid or not depending on the Selected Security level; and             FIG. 4 is a flowchart for Switching between a temporary
  means for Sending a response of the check result which                  password and a private password in the embodiment;
  authenticates or rejects the device thereto.                              FIG. 5 is a diagram for use in explanation of how
     According to another aspect of the present invention,                conferencing passwords are Selected in an electronic con
  there is provided a radio communication device having a                 ferencing System;
  password unique to it and adapted for authenticating another              FIG. 6 is a diagram for use in explanation of management
  device by use of the password, comprising: password hold                of passwords of slave stations through ID information of a
  ing means for holding at least a first password intended for            master Station in a radio communication System composed
  temporary use and a Second password intended for regular                of multiple radio communication devices,
  use; password Selecting means for Selecting an appropriate         1O
                                                                                FIG. 7 is a flowchart for user authentication in the
  password from the password holding means according to a                 Bluetooth system; and
  current communication condition; and password checking                        FIG. 8 shows the contents of the table used in the user
  means for checking a password Sent from another device
  with the password Selected by the password Selecting means              authentication processing shown in FIG. 7.
  to thereby authenticate the another device.                        15
                                                                                       DETAILED DESCRIPTION OF THE
     According to Still another aspect of the present invention,                               INVENTION
  there is provided an authentication processing method of a
  radio communication which authenticates a device, the                      FIG. 1 is a block diagram of a radio communication
  method comprising the Steps of: Selecting a Security level              device according to an embodiment of the present invention,
  from a plurality of Security levels in accordance with a                which comprises a data transmitting and receiving Section
  condition of the radio communication; receiving a request               11, an antenna 12, a connection-break detecting Section 13,
  for an authentication from the device; receiving authentica             an external factor acquisition Section 14, a time control
  tion information from the device; checking whether the                  Section 15, a password holding Section, a password man
  received information from the device is valid or not depend             agement Section 17, a password Selecting Section, a pass
  ing on the Selected Security level; and Sending a response of      25   word checking Section 19, and an authentication password
  the check result which authenticates or rejects the device              input Section 20. User events 21 are applied to the password
  thereto.                                                                management Section 17, the password Selecting Section 18,
     According to Still another aspect of the present invention,          and the authentication password input Section 20.
  there is provided a radio communication method commu                       The data transmitting and receiving Section 11 makes
  nicating with a device, the method comprising the Steps of:             radio communication with other devices through the antenna
  Storing a first password intended for temporary use and a               12, performs low-level framing and Synchronous
  Second password intended for regular use; Selecting the first           processing, and can perform error detection and correction
  password depending on a variable Security level; receiving              as required.
  a request for a connection from the device, receiving a            35      The connection-break detecting Section 13 examines data
  password for an authentication from the device; checking                receiving conditions in the data transmitting and receiving
  whether the received password from the device and the                   Section 11 to detect whether the device with which the
  Selected first password correspond or not; Sending a                    connection has been Set up lies outside the coverage area and
  response of the check result which authenticates or rejects             presents the result to the password Selecting Section 18. The
  the device thereto, performing a low-Security-level commu          40   connection-break detecting Section 13 is also configured to
  nication with the authenticated device based on the connec              allow the user to Set arbitrarily parameters, Such as timer
  tion; and changing over, when the communication is                      values, receiving Sensitivity, etc., for recognizing connection
  terminated, the Security level to higher one than that of the           break, that is, to Set optimum values So that the password is
  first password and Selecting the Second password.                       not readily Switched to another one in the event of bad data
     Additional objects and advantages of the invention will be      45   receiving conditions. Although, in FIG. 1, the connection
  set forth in the description which follows, and in part will be         break detecting Section 13 is provided independently, it may
  obvious from the description, or may be learned by practice             be incorporated into the external factor acquisition Section
  of the invention. The objects and advantages of the invention           14.
  may be realized and obtained by means of the instrumen                    The external factor acquisition Section 14 identifies exter
  talities and combinations particularly pointed out hereinaf        50   nal factors, for example, the presence or absence of AC
  ter.                                                                    power Supply, the presence or absence of wireless
         BRIEF DESCRIPTION OF THE SEVERAL                                 connection, Such as Bluetooth, IrDA, etc., or wired
               VIEWS OF THE DRAWING                                       connection, Such as USB, IEEE1394, etc., and controls the
                                                                          password Selecting Section 18 correspondingly.
     The accompanying drawings, which are incorporated in            55         The time control Section 15 controls time information in
  and constitute a part of the Specification, illustrate presently        terms of absolute time or relative time and, at the occurrence
  preferred embodiments of the invention, and together with               of timer runout, notifies the password Selecting Section 18 of
  the general description given above and the detailed descrip            it.
  tion of the preferred embodiments given below, serve to                       The password holding Section 16 is a memory that Stores
  explain the principles of the invention.                           60   a plurality of passwords for authenticating the device (e.g.,
     FIG. 1 is a block diagram of a radio communication                   two passwords: a temporary password and a private
  device according to an embodiment of the present invention;             password). The temporary password is one which is valid
     FIG. 2 is a diagram for use in explanation of device-to              only during the duration of connection with a certain device
  device communication in the embodiment;                                 and intended for temporary use, whereas the private pass
    FIG.3 illustrates the flow of processing from a request for      65   word is one which ensures high confidentiality to increase
  connection to the completion of authentication in the                   the Security of the device and is intended for regular use. The
  embodiment;                                                             password management Section 17 is adapted to add new
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 73 of 175 Page ID #:73


                                                       US 6,928,166 B2
                              S                                                                        6
  passwords to the contents of the password holding Section              ing section 18. If the result indicates that the received
  16 or deleting existing passwords therefrom according to               password is improper, then the device B sends to the device
  events 21 from the user.                                               A a message to the effect that the password is incorrect. If,
     The password Selecting Section 18 Selects the most Suit             on the other hand, the received password is correct, then the
  able password for current connection from among the pass               user authentication procedure comes to an end (Step B6).
  words Stored in the password holding Section 16 according                 In the user authentication procedure, each individual user
  to the user events 21, information acquired by the external            generally uses an authentication password having much
  factor acquisition Section 14, and information from the time           increased confidentiality, thereby providing increased Secu
  control Section 15 and Sends it to the password checking               rity for his own device. However, in applications of highly
  Section 19. The password Selecting Section is configured to            ad hoc nature, Such as table conferencing, card exchange,
  be able to establish priority among the user event 21, the             etc., an easy-to-handle environment may be expected to be
  external factor acquisition Section 14, and the time control           built up even if the security for devices is lowered tempo
  Section 15.                                                            rarily. The procedure for implementing Such an environment
    When operating on an external factor acquired by the                 will be described below.
                                                                    15
  external factor acquisition Section 14, the password Selecting            Consider now the case of card exchange with a complete
  Section 18 carries out a password changing operation depen             Stranger in a card exchange application installed in personal
  dent on the external factor, as follows:                               digital assistants (PDAS). In this case as well, user authen
    (a) In the absence of AC power Supply, i.e., when the                tication is performed between the devices A and B.
  device is battery-powered, the device is recognized as being              The user at the device B generally uses a private password
  in the mobile environment and hence the private password               having much increased confidentiality as the authentication
  is chosen.                                                             password So as to increase the Security for his own device.
    (b) When a cable is connected, the device is recognized as           However, to inform a Stranger of the private password in
  being in the indoor environment and as a result the tempo              Such a situation as in this example is not desirable from the
  rary password is chosen.                                          25   Viewpoint of Security. For this reason, the user at the device
    (c) When no radio carrier signal is received from a server,          B sets up Such a password (temporary password) as is valid
  the device is recognized as having moved from the office to            only while the connection with the device A is set up and
  the outside, in which case the private password is chosen.             uses the temporary password for user authentication.
     The password checking Section 19 checks the password                  The Switching control between the private password and
  determined by the password selecting section 18 with an                the temporary password (Security level control) will be
  authentication password Sent from a person with which the              described below with reference to a flowchart illustrated in
  connection has been set up, thus implementing appropriate              FIG. 4.
  user authentication. The authentication password input Sec               The user at the device B issues a command which is based
  tion 20 enters the authentication password into the data               on the event 21 to the password Selecting Section 18 (Step
  transmitting and receiving Section 11 according to the user       35   C1) and then sets up the temporary password as the authen
  event 21.                                                              tication password (step C2). After that, the device B is
     Next, the authentication operation according to the                 placed in the wait State until a connection request is gener
  present embodiment will be described.                                  ated from the device A (step C3). The temporary password
     Suppose now that devices A and B are about to be                    is very simple one (e.g., “ABC) as compared with the
  connected together as shown in FIG. 2. In this case, the          40   private password and presented to the user at the device A.
  authentication procedure is performed when the device A                In an extreme case, communication could be made between
  enters the authentication password for the device B.                   the devices A and B with no password. Making the tempo
    As shown in FIG. 3, first, the user at the device A makes
                                                                         rary password Simple as described above will make it
  a request for connection. In response to this, the data                possible to notify the user at the device A of the temporary
                                                                    45   password orally. Additionally, the temporary password may
  transmitting and receiving Section 11 in the device A issues           be sent to the device A along with electronic mail.
  a request for connection and transmits information from the              The user at the device A received notification from the
  antenna 12 (step B1).                                                  device B makes a request to the device for connection and
     Upon receiving the connection request from the device A,            enters the temporary password.
  the data transmitting and receiving Section 11 in the device      50
  B examines the received data and, in the case of no problem,              In response to the connection request by the device A, the
  sends a message to establish connection to the device A(Step           device B sets up the connection with the device A and then
  B2). After that, the connection is set up between the devices          carries out authentication processing on the temporary pass
  A and B (step B3). The connection in this case means the               word. After that, the devices A and B make data communi
  connection in low-level layer (e.g., the situation in which a     55
                                                                         cations with each other on the card exchange application.
  Virtual network address has been set up) and does not                    The device B makes a check for the termination of the
  necessarily means high application Services.                           card exchange application, i.e., for the break of the connec
    After the connection has been Set up, the authentication             tion with the device A (step C5). Upon detecting the break
  procedure on the password is carried out. That is, the device          of the connection, the device B negates the validity of the
  B upon Setting up the connection issues a request for             60   temporary password and makes an automatic change from
  authentication to the device A and prompts it to enter a               the temporary password to the private password (step C6).
  password (Step B4). In response to this, the user at the device           One method to automatically make a change from the
  A enters the password to the device B from the password                temporary password to the private password is to associate
  input Section 20 into the data transmitting and receiving              the lifetime of the temporary password with the lifetime of
  section 11 for transmission to the device B (step B5).            65   the communication connection as will be described below.
    Upon receipt of the password, the device B checks it with              That is, in FIG. 1, at the time of a break of the connection
  an authentication password chosen by the password Select               Set up with the current temporary password the connection
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 74 of 175 Page ID #:74


                                                       US 6,928,166 B2
                               7                                                                       8
  break detecting Section 13 notifies the password Selecting             a choice from the two passwords for the procedure of
  section 18 that the connection has been broken. The pass               authenticating the other device according to the current
  word Selecting Section then makes a change from the cur                communication situations. Accordingly, depending upon
  rently Selected password to the private password.                      what application is used, an appropriate password can be
     The temporary password may be associated with time                  used for authentication and an easy-to-handle communica
  information using the time control Section 15 rather than              tion environment can be implemented in which a high level
  with the connection. In this case, a timer value for the               of Security can be maintained at the time of usual commu
  temporary password can be freely Set by the user in the time           nication and the Security level can be lowered at the time of
                                                                         temporary communication.
  control section 15. For example, if there is a two-hour                   Moreover, the inventive device is configured to usually
  conference, then the temporary password is used for two                choose the private password as authentication password, use
  hours and changed to the private password two hours later.             the temporary password at the time of occurrence of a
    A password which is to be made valid at present is usually           request by a user at another device for authentication
  chosen by the user through the graphical user interface                thereof, and reuse the private password after the connection
  (GUI). Alternatively, the password may be chosen by an            15
                                                                         Set up by the authentication procedure using the temporary
  operation of double clicking a password file. For example, in          password has been broken; therefore, there is no need for
  using an application Such as an electronic conferencing                users to be conscious of a change from the temporary
  System, a method can be utilized by which a password file              password to the private password.
  26 Storing information used for Selecting a conferencing                  Furthermore, the inventive device is configured to have
  password is distributed beforehand from a device A to other            external factor acquisition means, choose either of the
  devices B, C and Dover a communication path Such as for                temporary password and the private password for authenti
  electronic mail 25 and conference participants are allowed to          cation of another device on the basis of information acquired
  choose a conferencing password by merely double clicking               by the external factor acquisition means; thus, the most
  the file. In this case, the password Selecting Section 18              Suitable password can be automatically chosen according to
                                                                         communication situations.
  chooses a password held in the password holding Section 16
  according to the information read from the password file 26.      25      In addition, the inventive device is configured to acquire
     The use of the password file 26 allows an appropriate               position information of the device by external factor acqui
  password to be chosen by a simple operation of double                  Sition means or connection break detecting means and allow
                                                                         Switching between the temporary password and the private
  clicking that file with a mouse. Also, the use of the password         password according to the position information; thus, the
  file allows passwords to be set up without their contents              Security level of the device can be changed automatically
  becoming known to the conference participants.                         according to its location.
     The password file 26 may be stored with passwords                      Additional advantages and modifications will readily
  themselves rather than password Select information. In this            occur to those skilled in the art. Therefore, the invention in
  case, a password Selected from the file may be automatically           its broader aspects is not limited to the Specific details and
  Set up as the authentication password.                            35   representative embodiments shown and described herein.
     The password file 26 may be distributed to devices                  Accordingly, various modifications may be made without
  through electronic mail by radio.                                      departing from the Spirit or Scope of the general inventive
                                                                         concept as defined by the appended claims and their equiva
     Next, in a radio communication System made up of a                  lents.
  plurality of radio communication devices each having the                  What is claimed is:
  above functions, the management of passwords of the Slave         40
                                                                           1. An authentication processing apparatus of a radio
  devices through ID information of the master device will be            communication which authenticates a device, the apparatus
  described.                                                             comprising:
    Switching is made between authentication passwords in                  means for acquiring an external factor which is associated
  order to, for example, lower the Security level of an infor       45        with a security level;
  mation device when it is inside an office So that anybody can            means for Selecting a Security level from a plurality of
  make access to it and enhance the Security level when it is                 Security levels in accordance with the external factor;
  outside the office to prevent access by a third party.                   means for receiving a request for an authentication and
    Specifically, as shown in FIG. 6, a server (master device)                authentication information from the device,
  32 for managing the security level is installed in office 31 to   50     means for checking whether the received information
  detect whether an information device (slave device) 33 stays                from the device is valid or not depending on the
  in the range of connection with the Server through its                      Selected Security level; and
  connection break detecting Section 13. In the Situation where            means for Sending a response of the check result which
  the information device 33 is connected with the server 32, a                authenticates or rejects the device thereto.
  temporary password (or no password) is selected. In the           55     2. An authentication processing apparatus according to
  Situation where the connection with the Server is broken, the          claim 1, wherein Said authentication information includes a
  private password is chosen.                                            PIN (Personal Identification Number) code.
     The above configuration causes the Server 32 to act as the            3. An authentication processing apparatus according to
  key to password Switching.                                             claim 2, further comprising means for Storing a link-key
     Although the embodiment has been described in terms of         60   comprising Said PIN code and a unique ID of Said device.
  one-way authentication between the devices A and B,                       4. An authentication processing apparatus according to
  mutual authentication is also possible.                                claim 1, further comprising means for detecting a
     According to the present invention, as described in detail          connection-break from the device and changing over Said
  above, a radio communication device adapted to perform a               Security level in response to the connection-break.
  authentication procedure on another device using its unique       65      5. A radio communication device having a password
  address is configured to hold at least two separate passwords          unique to it and adapted for authenticating another device by
  of a temporary password and a private password and make                use of the password, comprising:
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 75 of 175 Page ID #:75


                                                     US 6,928,166 B2
                               9                                                                   10
    password holding means for holding at least a first pass             password Selecting means for Selecting an authentication
      word intended for temporary use and a Second pass                    password from the password holding means on the
      word intended for regular use;                                       basis of information acquired by the external factor
    password Selecting means for Selecting an appropriate                  acquisition means, and
      password from the password holding means according          5      password checking means for checking a password Sent
       to a current communication condition; and                           from another device with the password selected by the
    password checking means for checking a password Sent                   password Selecting means to thereby authenticate the
                                                                            other device.
      from another device with the password selected by the              11. A radio communication device having a password
      password Selecting means to thereby authenticate the             unique to it and adapted for authenticating another device by
       other device.                                                   use of the password, comprising:
     6. The radio communication device according to claim 5,             password holding means for holding at least a first pass
  wherein Said password Selecting means Selects a password                  word intended for temporary use and a Second pass
  according to information from a password file.                            word intended for regular use;
    7. A radio communication device having a password             15     password Selecting means for Selecting an appropriate
  unique to it and adapted for authenticating another device by             password from the password holding means according
  use of the password, comprising:                                          to current communication situations,
    password holding means for holding at least a first pass             password checking means for checking a password Sent
        word intended for temporary use and a Second pass                  from another device with the password selected by the
        word intended for regular use;                                     password Selecting means to thereby authenticate the
    password management means for entering a new pass                       other device; and
        word into the password holding means and deleting an             time control means for counting time to provide manage
        existing password in the password holding means,                    ment information on a set time to the password Select
    password Selecting means for Selecting an appropriate                   ing means,
        password from the password holding means according        25     the password Selecting means usually choosing the Second
       to current communication situations, and                             password as an authentication password, using the first
    password checking means for checking a password Sent                    password at the time of occurrence of a request by a
      from another device with the password selected by the                 user at the other device as the authentication password,
      password Selecting means to thereby authenticate the                  and Setting the Second password as the authentication
       other device.                                                        password at the expiration of the time Set by the time
    8. A radio communication device having a password                       management means.
  unique to it and adapted for authenticating another device by          12. A radio communication device having a password
  use of the password, comprising:                                     unique to it and adapted for authenticating another device by
    password holding means for holding at least a first pass           use of the password, comprising:
       word intended for temporary use and a Second pass          35     password holding means for holding at least a first pass
       word intended for regular use;                                       word intended for temporary use and a Second pass
    password Selecting means for Selecting an appropriate                   word intended for regular use;
       password from the password holding means according                password Selecting means for Selecting an appropriate
       to current communication situations,                                 password from the password holding means according
                                                                  40
    password checking means for checking a password Sent                    to current communication situations, and
      from another device with the password selected by the              password checking means for checking a password Sent
      password Selecting means to thereby authenticate the                 from another device with the password selected by the
       other device; and                                                   password Selecting means to thereby authenticate the
    connection break detecting means for detecting radio          45
                                                                            other device,
       communication conditions and, upon detecting a con                each of the devices acting as Slave Stations recognizing
       nection break as a result of the device having moved to             information unique to a master Station, Selecting one of
       the outside of a communication Service area, notifying              the first and Second passwords in a State where it can
       the password Selecting means of the connection break,               communicate with the master Station, and Selecting the
    the password Selecting means usually choosing the Second      50       other password in a State where it cannot communicate
       password as an authentication password, using the first              with the master Station.
       password at the time of occurrence of a request by a               13. An authentication processing method of a radio com
       user at the other device as the authentication password,        munication which authenticates a device, the method com
        and reusing the Second password after the connection           prising:
       Set up by the authentication procedure using the first     55      Selecting a Security level from a plurality of Security
       password has been broken.                                            levels in accordance with a condition of the radio
    9. The radio communication device according to claim 8,                 communication;
  wherein the connection break detecting means includes                  receiving a request for an authentication from the device;
  means for Setting parameters containing timer values and               receiving authentication information from the device;
  receiving Sensitivity for recognizing the connection break.     60     checking whether the received information from the
     10. A radio communication device having a password                    device is valid or not depending on the Selected Security
  unique to it and adapted for authenticating another device by             level; and
  use of the password, comprising:                                       Sending a response of the check result which authenticates
    password holding means for holding at least a first pass               or rejects the device thereto.
       word intended for temporary use and a Second pass          65     14. An authentication processing method according to
       word intended for regular use;                                  claim 13, wherein Said authentication information includes
    external factor acquisition means,                                 a PIN (Personal Identification Number) code.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 76 of 175 Page ID #:76


                                                     US 6,928,166 B2
                                11                                                              12
     15. An authentication processing method according to            checking whether the received password from the device
  claim 14, further comprising the Step of Storing a link-key           and the Selected first password correspond or not;
  comprising Said PIN code and a unique ID of Said device.           Sending a response of the check result which authenticates
     16. An authentication processing method according to              or rejects the device thereto;
  claim 13, further comprising the Step of acquiring an exter        performing   a low-Security-level communication with the
  nal factor which is associated with Said Security level.
     17. A radio communication method communicating with                authenticated  device based on the connection; and
  a device, the method comprising:                                   changing over, when the communication is terminated,
     Storing a first password intended for temporary use and a         Said Security level to a higher one than that of Said first
       Second password intended for regular use;               1O      password and Selecting Said Second password.
     acquiring an external factor which is associated with a         18. A radio communication method according to claim 17,
       variable security level;                                   wherein said second password includes a PIN (Personal
     Selecting the first password depending on a variable Identification         Number) code.
                                                                     19. A radio communication method according to claim 18,
       Security level;                                         15 further comprising the Step of Storing a link-key comprising
     receiving a request for a connection from the device;        said PIN code and a unique ID of said device.
     receiving a password for an authentication from the
       device;
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 77 of 175 Page ID #:77




                            EXHIBIT 4
            Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 78 of 175 Page ID #:78
Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 6,928,166 by TP-Link



                                    TP-Link WiFi Routers




                                                                                                   1
              Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 79 of 175 Page ID #:79
  Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 6,928,166 by TP-Link




13. An authentication processing method of a radio communication which authenticates a device, the
    method comprising:


     selecting a security level from a plurality of security levels in accordance with a condition of the
         radio communication;


     receiving a request for an authentication from the device;


     receiving authentication information from the device;


     checking whether the received information from the device is valid or not depending on the
         selected security level; and


     sending a response of the check result which authenticates or rejects the device thereto.



                                                                                                            2
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 80 of 175 Page ID #:80
  Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 6,928,166 by TP-Link

    Claim 13
                       Source: https://www.TP-Link.com/us/home-networking/wifi-router/archer-c90/


An authentication
processing
method of a radio
communication
which
authenticates a
device, the
method
comprising:




                        https://static.tp-link.com/2018/201802/20180224/1910012180_Archer%20C1200_UG.pdf Page 19

                                                                                                                   3
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 81 of 175 Page ID #:81
   Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 6,928,166 by TP-Link

        Claim 13

selecting a security     Source: https://static.tp-link.com/2018/201802/20180224/1910012180_Archer%20C1200_UG.pdf pg 27.
level from a plurality
of security levels in
accordance with a
condition of the
radio                                                                                         {e.g. “condition” is 2.4 Ghz
                                                                                              or 5 Ghz}
communication;




                                                                                                                             4
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 82 of 175 Page ID #:82
  Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 6,928,166 by TP-Link

    Claim 13
                     Source: http://80211notes.blogspot.com/2013/11/sta-ap-wpa2-psk-connection-establishment.html


receiving a
request for an
authentication
from the device;




                                                                       …
                                                                                                                    5
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 83 of 175 Page ID #:83
  Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 6,928,166 by TP-Link

     Claim 13
                        Source: http://80211notes.blogspot.com/2013/11/sta-ap-wpa2-psk-connection-establishment.html
receiving
authentication
information from
the device;




checking whether
the received
information from
the device is valid
or not depending
on the selected
security level; and
                                                               …
                                                                                                                       6
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 84 of 175 Page ID #:84
  Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 6,928,166 by TP-Link

     Claim 13
                        Source: http://80211notes.blogspot.com/2013/11/sta-ap-wpa2-psk-connection-establishment.html
sending a
response of the
check result which
authenticates or
rejects the device
thereto.




                                                                                                                       7
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 85 of 175 Page ID #:85




                            EXHIBIT 5
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 86 of 175 Page ID #:86
                                                                                                               USOO70394.45B1


  (12) United States Patent                                                                 (10) Patent No.:                   US 7,039,445 B1
         Yoshizawa                                                                          (45) Date of Patent:                             May 2, 2006
  (54) COMMUNICATION SYSTEM,                                                                  6,137,785 A * 10/2000 Bar-Ness .................... 370,328
       COMMUNICATION APPARATUS, AND                                                           6,188,913 B1* 2/2001 Fukagawa et al. ....... 455/562.1
          COMMUNICATION METHOD                                                                6,246,376 B1* 6/2001 Bork et al. ................. 343,760
                                                                                              6,289,218 B1* 9/2001 Liu ........           ... 455,426.1
   75                           O   O                                                         6,370,377 B1 *     4/2002 Take et al. ........     ... 455,432.1
  (75) Inventor: Junichi Yoshizawa, Ome (JP)                                                  6,456,856 B1* 9/2002 Werling et al. .......... 455/575.5
                                        O O                                                   6,480,699 B1 * 1 1/2002 Lovoi........................ 455,412
  (73) Assignee: Kabushiki Kaisha Toshiba, Kawasaki                                           6,484,027 B1 * 1 1/2002 Mauney et al. ............. 455,421
                         (JP)                                                                 6,654,614 B1 * 1 1/2003 Morris et al. ..... ... 455,426.1
                                                    - 0                                 2001/0051530 A1* 12/2001 ShiotSu et al. .............. 455,522
  (*) Notice:            Subject to any disclaimer, the term of this
                         patent is extended or adjusted under 35                                        FOREIGN PATENT DOCUMENTS
                         U.S.C. 154(b) by 778 days.                                    JP                  9-186649            7/1997
                                                                                       JP               2002271229. A * 9, 2002
  (21) Appl. No.: 09/713,250                                                           WO               WO94/05101        * 8, 1992
  (22) Filed:           Nov. 16, 2000                                                                 OTHER PUBLICATIONS
  (30)                            O O Priority Data
                     Foreign Application                                               Copy of
                                                                                       2000,    U.S. Patent Appl. No. 09/694,793, filed Oct. 24,
                                                                                             to Ito.
    Nov. 18, 1999          (JP)         ................................. 11-328327
        OV. 18,            (JP)                                                        * cited by examiner
  (51) Int. Cl.                                                                        Primary Examiner Charles Craver
       H04M I/00                  (2006.01)                                            (74) Attorney, Agent, or Firm—Finnegan, Henderson,
  (52) U.S. Cl. .................. 455/575.7; 455/293; 455/412;                        Farabow, Garrett & Dunner, LLP.
                                               455/634; 343/754
  (58) Field of Classification Search ...... 455/411-41.3,                             (57)                          ABSTRACT
                    455/25, 193.1, 269,271, 273-2772, 281,
                      455/575.7,575..1, 550.1, 66.1, 344, 461,                         A communication apparatus transmits, to another apparatus
                                       455/63.4; 343/754766                            or apparatuses, a message for searching for an apparatus as
          See application file for complete search history.                            a connection target by radio communication, and receives a
                                                                                       response message from another apparatus which has
  (56)                      References Cited                                           received the message, thereby searching for an apparatus as
                                                                                       a connection target. The control information setting section
                     U.S. PATENT DOCUMENTS                                             of the device body of a communication apparatus inputs a
         5,636,243    A    6, 1997 Tanaka ....................... 375,219              search range in which a station finding message reaches in
         5,714,961    A * 2/1998 Kot et al. ................... 343,769                accordance with designation by a user and sets it as set
         5,737,325    A * 4, 1998 Fukuda ....................... 370,337               information. The station finding procedure section of the
         5,781,860    A    7, 1998 Lopponen et al. ....... 455/426.1                   radio communication apparatus transmits the station finding
         5,790,938   A       8/1998 Talarmo .................... 455,111               message in accordance with a transmission power corre
         5,842,130 A * 11/1998 Oprescu-Surcobe                                                di          h            1 inf                  by th          1
                                    et al. ....................... 455,456.2           spon 1ng tO t e contro 1nformation set by the contro
         5,907,794. A * 5/1999 Lehmusto et al. ......... 13,                           information setting section.
         5,995,500 A * 11/1999 Ma et al. .................... 370,337
         6,115,370 A * 9/2000 Struhsaker et al. ......... 370,342                                        23 Claims, 10 Drawing Sheets

                                                                                                   19
                                                                                                   2                              V 25
                                                               21                           22                    23                    24
                                                                              TRANSMISSION                                     ANTENNA
                                                                              DAA PROCESSING            TRANSMISSION           CONTROL
                                                                              SECTION                   AMPLIFER               SECTION

                           DEVICE BODY
                                                                               RECEPTION DATA            RECEPTION
                         DISPLAY SECTION                                       PROCESSING
                                                                               SECTION                   AMPLIFIER
                         CONTROL
                         INFORMATION
                         SETTING SECTION                                         RADIO COMMUNICATION APPARATUS
                                                                                 CONTROL SECTION
                                                                             STATIONFINDING             TABLE SECTION
                                                                             PROCEDURE SECTION
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 87 of 175 Page ID #:87


  U.S. Patent              May 2, 2006                Sheet 1 of 10   US 7,039,445 B1




                    WNELW TOHINO N|OES



                         DATA INTERFACE SECTION




                                         BÅO0|AB8C1
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 88 of 175 Page ID #:88


  U.S. Patent          May 2, 2006    Sheet 2 of 10          US 7,039,445 B1




                                                      RADIO COMMUNICATION
                                                      APPARATUS CONTROL
                                                      SECTION




                                                  DEVICE IN STANDBY
                                                  STATE




        F. G. 3
                                              STATION FINDING
                                              MESSAGE
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 89 of 175 Page ID #:89


  U.S. Patent              May 2, 2006        Sheet 3 of 10               US 7,039.445 B1


                                              STANDBY STATE


      STATE OF DEVICE S1
                                         1                 N.
                                               STANDBY STATE


      STATE OF DEVICE S2


                             STATE OF TRANSMISSION
                             OF STATION FINDING
                             MESSAGE

     STATE OF DEVICE M      ----ms---m-m-H-e-

                                                   DETECTION     DETECTION
         F G 4                                     OF S2         OF S1




                                O-- S4
                                                        O-N-S2

                                                   S1               ON- S3

         F. G. 6               S
                           O-u S5             ()
                                                 Y-DEVICE  DESIGNATED AS
                                                     CONNECTION TARGET BY USER

                                    O-N- S6                      O-N-S8
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 90 of 175 Page ID #:90


  U.S. Patent           May 2, 2006     Sheet 4 of 10      US 7,039,445 B1




          RECEPTION                                        TRANSMISSION




          RECEPTION                         TRANSMISSION


         TRANSMISSION = RECEPTION
          RECEPTION         o
                      tr.
            are
         TRANSMISSION Dr.
                         le
          RECEPTION

         TRANSMISSION       RECEPTION

          2                 2    -            2             2.
          O                 O 2              O 2.           O       2.
           c                 c C             H     O        He      O
                               -
          C
          a -1.
                            C2
                            2-H
                                             C2 es          C    er
                                                                    -
          993 al            s&               256
                                              ce            25S
                                                            s

          SEso              SE5
                             as a            32
                                             C5g a          55
                                                            Cs. gS       Lo
          C22               952              92             gg           C9
          ges
          Sta               SRS
                            a 92             SSS9.          SS3
                                                            d2S/2         ,
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 91 of 175 Page ID #:91


  U.S. Patent           May 2, 2006           Sheet 5 of 10          US 7,039.445 B1




              CONTROL INFORMATION
              SETTING PROCESSING        C1

          DISPLAY CONTROL INFORMATION
          SETTING WINDOW
                                    C2
         INPUT INSTRUCTION TO SELECT
         NFORMATION AS SETTING TARGET

                                  C3
                   TRANSMISSION              ANTENNA DIRECTIVITY
            POWER VALUE OR ANTENNA
                  DIRECTIVITY
                         TRANSMISSION
                         POWER VALUE
                                        C4
         PRESENT DISTANCE CHOICES FOR             PRESENT DIRECTIVITY DIRECTION
         DESIGNATION OF SEARCH RANGE             (ANGLE) CHOICES FOR DESIGNATION
         AND DISPLAY SELECTION REQUEST           OF SEARCH RANGE AND DISPLAY
         MESSAGE                                 SELECTION REQUEST NESSAGE

          INPUT INSTRUCTION TO SELECT             INPUT INSTRUCTION TO SELECT
          DISTANCE                                DIRECTIVITY DIRECTION

                                        C6
           SET DISTANCE AS CONTROL
           INFORMATION

                       END


                                        F. G.7
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 92 of 175 Page ID #:92


  U.S. Patent          May 2, 2006      Sheet 6 of 10                          US 7,039,445 B1




          DESIGNATION OF SEARCH RANGE---                a.
                                                             s
                                                                 X
                                                                     a




                                                                         LESS THAN 1m
                                                                         1 m r 10m
                   F. G. 8A                         wim - 100m



          DESIGNATION OF SEARCH RANGE---                ra
                                                             s
                                                                 s




                                             y                           30 FORWARD
                                                                         180 FORWARD
                   F. G. 8B




                  SEARCH RANGE             TRANSMISSION POWER
                       1m                                    mw
                     10 a 100                       100mW


                                     F. G. 9
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 93 of 175 Page ID #:93


  U.S. Patent          May 2, 2006               Sheet 7 of 10         US 7,039.445 B1

               STATION FINDING PROCEDURE
               (MAIN STATION)

                TRANSMIT STATION FINDING Al
                MESSAGE
                                       A2
                        RECEIVE
                   RESPONSE MESSAGE
                    FROM SUBSIDARY
                        STATION


                  REGISTER UNIQUE ID OF
                 SUBSIDIARY STATION
                                  A4

                     < EOD   NO
                                       YES

                                            A5
                  PERFORM FREQUENCY                     TERMINATE STATION
                  HOPPING                               FINDING PROCEDURE

                                                            F. G. 10

               STATION FINDING PROCEDURE
               (SUBSIDIARY STATION)

                WAIT FOR STATION FINDING
                MESSAGE
                                       B2
                       IS STATION                YES
                    FINDING MESSAGE
                       RECEIVED
                                                    SET STANDBY STATE FOR
                            NO              B3      RECEPTION OF MESSAGE FOR
                                                    UNIQUE ID OF SELF-STATION
                 PERFORM FREQUENCY
                 HOPPING
                                                            F. G. 11
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 94 of 175 Page ID #:94


  U.S. Patent          May 2, 2006              Sheet 8 of 10                US 7,039,445 B1




                               O-N- S4
                                                          O-N-S2

                                           --    --   w                O-N- S3



                                       f                      N CONNECTION
      FIG. 12- o-S5                        ()                      AGF for user
                                 o-S6S                              O-N-S8
                                                          SEARCH RANGE
                                                  O-N-S7




                               o-S4 -
                                   Y                      O-N-S2


                           f                     S1                S3-o
                     S5:                    "conscion
      FIG. 134                             G TAGE for user :
                           ,                                         S8
                               vo-S6                           6 ?
                                   -              6           -    SEARCH RANGE
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 95 of 175 Page ID #:95


  U.S. Patent          May 2, 2006      Sheet 9 of 10        US 7,039,445 B1




                       DEVICENUMBER DEVICE ADDRESS
                                                 A39B31




                                     F. G. 16A



             DEVICE NUMBER DEVICE CLASSIFICATION DEVICE NAME


                                       PRINTER            APOLON



                                     F. G. 16B
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 96 of 175 Page ID #:96


  U.S. Patent          May 2, 2006         Sheet 10 of 10      US 7,039.445 B1



            STATION FINDING PROCEDURE
           (MAIN STATION)

            TRANSMT
            MESSAGE STATION FINDING
                                     D2
                        IS
                RESPONSE MESSAGE
                    RECEIVED


              REGISTER UNIQUE ID OF
              SELF-STATION

             DISPLAY STATION FINDING
             INFORMATION

                                     D5
                   INSTRUCTION              YES
                  TO INTERRUPT
                   PROCEDURE 2




                           NO         D7                              D8
               PERFORM FREQUENCY                  TERMINATE STATION
               HOPPING                            FINDING PROCEDURE



                                 F. G. 15
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 97 of 175 Page ID #:97


                                                      US 7,039,445 B1
                                1.                                                                    2
            COMMUNICATION SYSTEM,                                        nection target by radio communication, and receiving a
         COMMUNICATION APPARATUS, AND                                    response message from another apparatus which has
               COMMUNICATION METHOD                                      received the message, thereby searching for an apparatus as
                                                                         a connection target, comprising means for setting a range in
             CROSS-REFERENCE TO RELATED                                  which the message can reach, and means for transmitting the
                    APPLICATIONS                                         message in accordance with the set range by the setting
                                                                           CaS.
     This application is based upon and claims the benefit of               According to this arrangement, when another apparatus as
  priority from the prior Japanese Patent Application No.                a connection target is located near the self-apparatus, the
  11-328327, filed Nov. 18, 1999, the entire contents of which      10   reachable range of the message for searching for an appa
  are incorporated herein by reference.                                  ratus as a connection target is narrowed to save the process
                                                                         ing performed between the self-apparatus and other appa
           BACKGROUND OF THE INVENTION                                   ratuses that need not be connected, thereby efficiently
                                                                         performing a station finding procedure in a short period of
     The present invention relates to a communication system        15   time.
  having a main station and at least one subsidiary station, and            Additional objects and advantages of the invention will be
  a communication apparatus and method used in the system.               set forth in the description which follows, and in part will be
     Recently, a great deal of attention has been paid to radio          obvious from the description, or may be learned by practice
  communication systems for personal areas, e.g., IrDA, Blue             of the invention. The objects and advantages of the invention
  tooth, HomeRF systems. The Bluetooth and HomeRF sys                    may be realized and obtained by means of the instrumen
  tems, in particular, use RF signals, and hence have merits,            talities and combinations particularly pointed out hereinaf
  e.g., no directivity and high transparency, as compared with           ter.
  infrared communication schemes such as the IrDA system.
  Therefore, further development and popularization of the                        BRIEF DESCRIPTION OF THE SEVERAL
  Bluetooth and HomeRF systems are greatly expected.                25                  VIEWS OF THE DRAWING
     Such a radio communication system allows simultaneous
  connection of a plurality of devices. In addition, one of the             The accompanying drawings, which are incorporated in
  noticeable characteristic features of this system is that the          and constitute a part of the specification, illustrate presently
  transmission distance is relatively long (10 to 100 m). For            preferred embodiments of the invention, and together with
  this reason, in the Bluetooth or HomeRF system, when              30   the general description given above and the detailed descrip
  devices are to be actually connected to each other, there is           tion of the preferred embodiments given below, serve to
  no need to face them each other, unlike a communication                explain the principles of the invention.
  system with a high directivity, e.g., the IrDA system, in                 FIG. 1 is a block diagram showing the arrangement of a
  which devices must be faced each other to specify the                  device used in a communication system according to this
  partner devices. In the case of Bluetooth, HomeRF, or the         35   embodiment;
  like, a station finding message is transmitted as a broadcast             FIG. 2 is a block diagram showing the detailed arrange
  message from the main station, and response messages from              ments of an antenna control section 24 and antenna 25;
  subsidiary stations which have received the station finding               FIG. 3 is a view showing how a station finding procedure
  message are received by the main station, thereby searching            is performed;
  for a device that can communicate.                                40
                                                                            FIG. 4 is a view showing how the station finding proce
     When Bluetooth, HomeRF, or the like is used, although               dure is performed:
  the lack of directivity facilitates handling, since the station           FIG. 5 is a timing chart showing the timing of data
  finding message is transmitted to all devices in a search              transmission/reception in a case wherein a main station and
  range, response messages from devices other than target                a plurality of Subsidiary stations are searched;
  devices are received. As a consequence, a long time is spent      45
                                                                            FIG. 6 is a view for explaining the positional relationship
  to find a station. In addition, in general, all pieces of              between an apparatus (subsidiary station) designated as a
  information received from devices in the search range must             connection target by the user and the user (main station);
  be displayed on a display means such as a display to notify               FIG. 7 is a flow chart showing control information setting
  a user of the information. Consequently, many pieces of                processing for setting control information;
  information from stations other than stations that need to        50
  communicate are displayed. This makes it difficult for the                FIGS. 8A and 8B are views each showing an example of
  user to perform a Subsequent procedure for designating a               a field configuration in which choices for designation of a
  destination station on the basis of the displayed information.         search range are presented;
     The present invention has been made in consideration of                FIG. 9 is a view showing the relationship between each
  the above situation, and has as its object to provide a           55   distance as a search range and a corresponding transmission
  communication system and communication apparatus and                   power for transmission of the station finding message from
  method which can efficiently perform a station finding                 a radio communication apparatus 19,
  procedure in a short period of time by changing the reach                 FIG. 10 is a flow chart showing a station finding proce
  able range of a station finding message in searching for a             dure in the main station on the basis of the control infor
  station as a connection target, efficiently perform designa       60   mation set by control information setting processing:
  tion of a station thereafter, and are easy for a user to use.            FIG. 11 is a flow chart showing a station finding proce
                                                                         dure in a subsidiary station on the basis of the control
         BRIEF SUMMARY OF THE INVENTION                                  information set by control information setting processing:
                                                                           FIG. 12 is a view for explaining how the search range is
     According to the present invention, there is provided a        65   changed by a station finding procedure based on control
  communication apparatus for transmitting, to another appa              information (when transmission power control is per
  ratus, a message for searching for an apparatus as a con               formed);
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 98 of 175 Page ID #:98


                                                     US 7,039,445 B1
                                3                                                                4
     FIG. 13 is a view for explaining how the search range is using the transmission data processing section 22. The
  changed by a station finding procedure based on control apparatus 19 then amplifies the RF signal by using the
  information (when transmission power control is not per transmission amplifier 23 and radiates the signal from the
  formed);                                                         antenna 25 through the antenna control section 24 (to be
     FIG. 14 is a view showing an example of a table which 5 described in detail later with reference to FIG. 2).
  links station finding procedure time choices to transmission        In data reception, the reception amplifier 26 amplifies an
  power values prepared in advance;                                RF signal received by the antenna 25 and obtained through
     FIG. 15 is a flow chart showing another method of a the antenna control section 24, and demodulates the RF
  station finding procedure; and                                   signal by using the reception amplifier 26, thereby recon
     FIGS. 16A and 16B are views each showing an example 10 structing the reception data. The apparatus 19 then outputs
  of display of station finding information.                       the data from the data interface section 21 to the device body
                                                                   20.
             DETAILED DESCRIPTION OF THE                              The reception amplifier 26 executes data processing for
                          INVENTION                                the reception data amplified by the reception amplifier 26
                                                                15 and having an effective level upon checking identification
     An embodiment of the present invention will be described information (ID) or the like for identifying the data trans
  below with reference to the views of the accompanying mission source device.
  drawing. FIG. 1 is a block diagram showing the arrangement          The radio communication apparatus control section 28
  of a device used in a communication system according to implements the above data transmission/reception by con
  this embodiment.                                              2O trolling the respective sections, and has a station finding
     The communication system of this embodiment is formed procedure section 28a and table section 28b. The station
  Such that a device functioning as a single main station finding procedure section 28a controls the transmission data
  (master) and at least one device functioning as a Subsidiary processing section 22, transmission amplifier 23 and antenna
  station (slave) communicate with each other by radio. The control section 24 so as to transmit a station finding message
  communication system forms a radio network by using a 25 as a broadcast message, and to receive a response message
  plurality of radio communication apparatus mounted in the from a subsidiary station which has received the station
  respective devices. FIG. 1 shows the arrangement of the finding message, thereby searching for a device that can
  device functioning as the main station.                          communicate. The radio communication apparatus control
     As shown in FIG. 1, each device in this embodiment has        section 28 has the function of changing the transmission
  a radio communication apparatus 19 for performing radio 30 power value by controlling the transmission amplifier 23 or
  communication and a device body 20. The radio communi changing the antenna directivity by controlling the antenna
  cation apparatus 19 is mounted and used in various types of control section 24 in accordance with the control informa
  information processing devices (personal computers and the tion set by a control information setting section 20b of the
  like), communication devices, and the like. For example, the device body 20.
  radio communication apparatus 19 performs radio commu- 35 The finding processing is executed on the basis of the
  nication by using the Bluetooth or HomeRF scheme.                control information set by the control information setting
     Bluetooth and HomeRF are short-range radio communi section 20b, thereby a device (subsidiary station) desired by
  cation standards. By using a 2.4-GHz ISM (Industry Science a user can be efficiently searched out. In the reception data
  Medical) band, Bluetooth and HomeRF implement radio processing section 27, the control information set by the
  communication within 10 m and 50 m, respectively.             40 control information setting section 20b of the device body
     Bluetooth and HomeRF use a frequency hopping scheme 20 is registered. The station finding procedure section 28a
  as a spread spectrum technique. By using time-division refers to this information.
  multiplexing, in Bluetooth, it is possible to connect a maxi        The device body 20 has the functions of a display section
  mum of eight devices; HomeRF, a maximum of 127 devices. 20a and the control information setting section 20b.
     According to Bluetooth or HomeRF, a network is formed 45 The device body 20 is comprised of the main components
  by using devices connected to each other by time-division of an information processing device or the like, i.e., a
  multiplexing, with one device functioning as a main station processor, memory, storage unit, display unit, input unit, and
  (first device) and the remaining devices functioning as the like. For example, the device body 20 is implemented by
  subsidiary stations (second devices). This network has the a computer designed to load a program recorded on a
  function of performing connection authentication by using a 50 recording medium such as a CD-ROM, DVD, or magnetic
  password called a PIN (Personal Identification Number) disk and be controlled by the program.
  code.                                                               The display section 20a displays information (station
     The radio communication apparatus 19 has a data inter finding information) about a device as a Subsidiary station
  face section 21, transmission data processing section 22,        searched out by the radio communication apparatus 19
  transmission amplifier 23, antenna control section 24, 55 (station finding procedure section 28a).
  antenna 25, reception amplifier 26, reception data processing       The control information setting section 20b sets control
  section 27, and radio communication apparatus control information that is used to efficiently search for a device
  section 28. After a device (radio communication apparatus) (Subsidiary station) desired by the user according to the
  serving as a target Subsidiary station is detected by station station finding processing executed by the radio communi
  finding processing (transmission of a station finding mes- 60 cation apparatus 19 (station finding procedure section 28a).
  sage and reception of a response message), the radio com In this embodiment, the control information setting section
  munication apparatus 19 executes basic data transmission/ 20b can set a transmission power value, antenna directivity,
  reception processing between the respective devices as and station finding procedure time as control information in
  follows.                                                         accordance with an instruction from the user (to be
     In data transmission, the radio communication apparatus 65 described in detail later).
  19 converts transmission data received from the device body         FIG. 2 is a block diagram showing the detailed arrange
  20 through the data interface section 21 into an RF signal by ments of the antenna control section 24 and antenna 25.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 99 of 175 Page ID #:99


                                                       US 7,039,445 B1
                                5                                                                      6
     The antenna control section 24 has the function of chang            chart of FIG. 5. Referring to FIG. 5, a radio communication
  ing the antenna directivity under the control of the radio             apparatus (1) is mounted in a device serving as a main
  communication apparatus control section 28, and imple                  station, and radio communication apparatuses (2), (3), and
  ments a change in directivity by using an adaptive array               (4) are mounted in devices serving as Subsidiary stations.
  antenna. By changing the antenna directivity, the direction in            The radio communication apparatus control section 28 of
  which a station finding message is to be transmitted can be            each device holds network information, and determines the
  specified. This makes it possible to limit the reachable range         timing of data transmission/reception in the radio network
  of the station finding message.                                        on the basis of this network information. In the case of the
     In the case shown in FIG. 2, a phase controller 30, which           main station, network information indicates the IDs of all the
  operates under the control of the radio communication             10   Subsidiary stations in the network and the transmission/
  apparatus control section 28, sets the phases of phase shifters        reception timing with respect to each Subsidiary station. In
  31a, 31b, and 31c corresponding to three antenna elements              the case of each Subsidiary station, network information
  25a, 25b, and 25c to change the radiation characteristics              indicates the ID of the main station in the network and the
  (directivity).                                                         transmission/reception timing with respect to the main sta
     The phase shifters 31a, 31b, and 31c corresponding to the      15   tion.
  antenna elements 25a, 25b, and 25c are connected to the                  As shown in FIG. 5, data communication is performed
  transmission amplifier 23 and reception amplifier 26 through           between the main station and the subsidiary stations by
  an adder 32. The arrangement shown in FIG. 2 includes the              time-division multiplexing. More specifically, in time slot 1,
  three antenna elements 25a, 25b, and 25c. However, the                 the radio communication apparatus (1) serving as the main
  number of antenna elements is not limited to three, and an             station transmits/receives data to/from the radio communi
  antenna directivity can be produced as long as a plurality of          cation apparatus (2) on a one-to-one basis. In time slot 2, the
  antenna elements are used.                                             radio communication apparatus (1) transmits/receive data
    The basic operation of the communication system of this              to/from the radio communication apparatus (3) in a one-to
  embodiment will be described first.                                    one basis. In time slot 3, the radio communication apparatus
     As described above, the radio communication apparatus          25
                                                                         (1) transmits/receives data to/from the radio communication
  19 executes radio communication by using, for example, the             apparatus (4) on a one-to-one basis. Likewise, the radio
  Bluetooth or HomeRF technique. The Bluetooth and Hom                   communication apparatus (1) executes data transmission/
  eRF techniques and the like use SS (Spread Spectrum)                   reception while changing the target radio communication
  techniques to effectively use limited bands. Of the SS                 apparatus in units of time slots.
  techniques, FH-TDD (Frequency Hopping-Time Division               30
                                                                            Consider a case wherein a device (Subsidiary station) that
  Duplex) (this scheme is the same as that used in Bluetooth)            is designated as a connection target by the user is located at
  is used.                                                               a relatively short distance from the user (main station).
     FIGS. 3 and 4 show a state wherein a station finding                Assume that in an office environment, a PC on a desk and a
  procedure is executed.                                                 PDA (Personal Digital Assistant) used by the user at the desk
     In general, when a station finding message is to be issued,    35
                                                                         are to be connected to each other by radio, and the PC need
  the unique ID (unique address) of a device as a connection             not be connected to other devices for a while.
  target is unknown. For this reason, as shown in FIG. 3, the              Assume that in FIG. 6, the PC is a main station M, and the
  main station M transmits a station finding message as a                PDA is a subsidiary station S1 desired as a connection target
  broadcast message that is independent of a device ID.                  by the user. Assume also that the main station M need not be
    In this case, as shown in FIG. 4, the main station con          40
                                                                         connected to nearby subsidiary stations S2 to S8.
  secutively transmits the station finding message while                    In general, if the subsidiary stations S1 to S8 exist within
  changing the frequency channel at predetermined intervals              the reachable range of the station finding message transmit
  in accordance with a proper frequency hopping sequence so
  as to cover all the frequency channels. In this case, since the        ted from the main station M (PC), these stations become
  main station does not obtain information about standby            45   search targets, as described above. In this embodiment,
  intervals in Subsidiary stations, the main station generally           however, only a subsidiary station located near the main
  transmits the station finding message for a relatively long            station M1 or in a specific direction can be designated as a
  period of time.                                                        search target by limiting a search range (the reachable range
     Devices (subsidiary stations S1 and S2) in the standby              of the station finding message) by setting control informa
  state monitor this broadcast message while periodically           50
                                                                         tion for limiting the search range in advance.
  changing standby frequencies in accordance with proper                    Control information setting processing for setting control
  frequency hopping sequences (set in the standby state).                information will be described next with referenced to the
                                                                         flow chart of FIG. 7.
     In this state, when the transmission frequency from the
  main station coincides with the standby frequency at a                    Control information setting processing is executed by the
  Subsidiary station, the Subsidiary station can receive the        55   device body 20 of the device such as a PC serving as a main
  station finding message from the main station and return a             station. When the user generates a request to execute control
  response message in response to the received message.                  information setting processing, the device body 20 starts the
     The response message includes information about the                 control information setting section 20b to display a control
  unique ID of the station. This allows the main station to              information setting window on the display unit (step C1).
  designate the unique Subsidiary station (specific device) in      60      In the control information setting window, for example,
  the following processing. After the overall station finding            an instruction to select information to be set (step C2). In this
  procedure is completed, the main station obtains the pieces            embodiment, as control information to be set, for example,
  of unique ID information of all the subsidiary stations set in         a transmission power value and antenna directivity can be
  the standby state within the search range.                             arbitrarily designated.
     The data transmission/reception timing in a case wherein       65      In this case, if a request to set a transmission power value
  the main station and a plurality of Subsidiary stations are            is generated (step C3), the control information setting sec
  searched will be described next with reference to the timing           tion 20b displays, for example, the message "Designate a
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 100 of 175 Page ID #:100


                                                         US 7,039,445 B1
                                  7                                                                       8
   distance as a search range', together with distance choices              section 28b of the radio communication apparatus control
   (selection fields) for the designation of a search range (step           section 28 through the data interface section 21.
   C4).                                                                        According to the above description, control information is
      FIG. 8A shows an example of field configuration in which              obtained by the control information setting section 20b of
   choices for transmission power control are presented. In the        5    the device body 20 in accordance with the search range
   case shown in FIG. 8A, as a search range, a distance can be              (distance and directivity direction) designated by the user,
   selected from “less than 1 m”, “1 to 10 m, and “10 to 100
     99
                                                                            and transmitted to the radio communication apparatuS 19
          .                                                                 (radio communication apparatus control section 28). How
      For example, as shown in FIG. 9, the respective distances             ever, the control information setting section 20b may trans
   as search ranges are set in advance to correspond to the            10   mit only data representing the search range designated by
   transmission powers required to transmit the station finding             the user to the radio communication apparatus control
   message from the radio communication apparatus 19.                       section 28, and the radio communication apparatus control
   Assume that the data shown in FIG. 9 are set in the device               section 28 may convert the data into control information in
   body 20 in advance.                                                      accordance with the specifications of said self-apparatus (the
      In the case shown in FIG. 9, if "less than 1 m is selected       15   performance of the transmission amplifier 23 and the num
   as a search range, the station finding message is transmitted            ber of phase shifters provided for the antenna control section
   with a transmission power of “1 mW. Likewise, a trans                    24) and register the information in the table section 28b.
   mission power of “10 mW is set for the search range “1 to                   Station finding processing based on the control informa
   10 m, and a transmission power of “100 W is set for the                  tion set by control information setting processing will be
   search range of “10 to 100 m.                                            described next with reference to the flow charts of FIGS. 10
      When, therefore, a device (e.g., a PDA) serving as a                  and 11.
   Subsidiary station is to be connected to a device (e.g., a PC)              FIG. 10 is a flow chart showing station finding processing
   serving as a main station, the reachable range of a station              in the main station. FIG. 11 is a flow chart showing station
   finding message is limited by designating a search range in              finding processing in a Subsidiary station (see FIG. 4 for the
                                                                       25
   accordance with the installation position of the device                  timing of the operation of the main station and Subsidiary
   serving as a Subsidiary station, thereby preventing the sta              station).
   tion finding message from being sent to devices that need not               If an instruction to execute station finding processing is
   be connected.                                                            received, the station finding procedure section 28a starts the
      In this case, if an instruction to select a distance as a        30
                                                                            station finding processing. First of all, the station finding
   search range from choices is input (step C5), the control                procedure section 28a transmits the unique station finding
   information setting section 20b sets a transmission power as             message set in advance by control operation corresponding
   control information in accordance with a relationship with               to the control information registered in the table section 28b
   search ranges like those shown in FIG. 9 (step C6).                      (step A1 in FIG. 10). That is, the station finding procedure
      If a request to set an antenna directivity is received in step   35
                                                                            section 28a causes the transmission data processing section
   C3, the control information setting section 20b displays the             22 to transmit the station finding message through the
   message “Designate a directivity direction as a search                   transmission amplifier 23 and antenna control section 24.
   range', together with directivity direction (angle) choices                 If, for example, control information for controlling trans
   (selection fields) in which the station finding message for              mission power is set in the table section 28b, the station
   designating a search range is to be transmitted (step C4).          40
                                                                            finding procedure section 28a controls (amplifies) the trans
      FIG. 8B shows an example of a field configuration in                  mission amplifier 23 to set the transmission power repre
   which choices for antenna directivity control are presented.             sented by the control information, thus transmitting the
   In the case shown in FIG. 8B, as a directivity direction, an             station finding message.
   angle can be selected from “30° forward”, “180° forward”,                   If control information for controlling the directivity direc
   and 360°.                                                           45   tion is set in the table section 28b, the station finding
      For the respective directivity directions, data are prepared          procedure section 28a causes the phase controller 30 of the
   in advance in the antenna control section 24 of the radio                antenna control section 24 to set the phases of the phase
   communication apparatus 19 to allow the phase controller                 shifters 31a, 31b, and 31c to set the designated directivity
   30 to set the phase shifters 31a, 31b, and 31C in accordance             direction, thereby producing the directivity of the antenna
   with a directivity direction.                                       50
                                                                            25.
      When, therefore, a device (e.g., a PDA) serving as a                     The station finding message under control corresponding
   Subsidiary station is to be connected to a device (e.g., a PC)           to control information in this manner is transmitted, thereby
   serving as a main station, the reachable range (angle) of a              connection targets can be limited to only the devices (Sub
   station finding message is limited by designating a directiv             sidiary stations) that are present in the search range desig
   ity direction range in accordance with the installation direc       55   nated by the user.
   tion of the device serving as a Subsidiary station, thereby                 Each Subsidiary station in the standby state is monitoring
   preventing the station finding message from being sent to                the station finding message at predetermined intervals (step
   devices that need not be connected.                                      B1 in FIG. 11). If the station finding message is not received
      In this case, if an instruction to select a directivity               (step B2), the Subsidiary station changes the standby fre
   direction as a search range from choices is input (step C8),        60   quency (frequency hopping), and the flow returns to the first
   the control information setting section 20b sets data for                step (step B3).
   setting the phase shifters 31a, 31b, and 31c as control                     If the station finding message is received in the standby
   information in accordance with the selected directivity                  state (step B2), the Subsidiary station transmits a response
   direction (step C6).                                                     message including the unique ID information of the self
      The control information set by the control information           65   station in response to the station finding message, and is set
   setting section 20b in this manner is transmitted to the radio           in the standby state to wait for the message addressed to the
   communication apparatus 19 and registered in the table                   unique ID of the self-station (step B4).
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 101 of 175 Page ID #:101


                                                         US 7,039,445 B1
                                                                                                         10
      Upon reception of the response message from the Sub                   search target as a subsidiary station that exists at a position
   sidiary station for the station finding message (step A2 in              corresponding to “30° forward with respect to the main
   FIG. 10), the reception data processing section 27 of the                station M. The main station M can therefore receive a
   main station identifies the unique ID information included in            response message from only the Subsidiary station S1 for the
   the response message, and internally registers the unique ID             station finding message.
   information of the Subsidiary station as information repre                  Setting control information in advance by using the
   senting the Subsidiary station as a communication target.                control information setting section 20b in accordance with
     The main station checks whether a timer value associated               the search range (distance and directivity direction) desig
   with the station finding message transmission time indicates             nated by the user makes it possible to limit the reachable
   a timeout, regardless of whether a response message is              10   range of the station finding message which is transmitted
   received from the subsidiary station (step A4).                          from the radio communication apparatus 19 mounted in the
     If the timer value does not indicate a timeout, the main               device serving as the main station to search for a subsidiary
   station changes the frequency channel by frequency hopping               station as a connection target.
   in accordance with a proper frequency hopping sequence                      Subsidiary stations that need not be connected can there
   (step A5), and the flow returns to the first step to transmit the   15   fore be excluded in advance. When, for example, a device
   station finding message (step A1). If the timer value indi               (PC) which is placed on a table and serves as a main station
   cates a timeout, the station finding procedure is terminated             and a nearby device (PDA) are to be connected to each other,
   (step A6).                                                               if the search range is narrowed in advance, the main station
     As the above timer value, if a sufficient time for a search            can be connected to the device (PDA) desired by the user,
   for Subsidiary stations existing around the main station is              and other devices that need not be connected are excluded
   ensured, which is not excessively long. The user may change              from the station finding procedure, thus preventing an exces
   the timeout period as a timer value in accordance with the               sively long period of time from being spent to find a station.
   search range designated by the user. If, for example, the                   When a subsidiary station to be connected is selected
   search range is changed from “1 to 10 m, to “less than 1 m”              from a plurality of subsidiary stations that have been
   upon designation, the timeout period as a timer value may be        25   searched out, since Subsidiary stations that need not be
   shortened.                                                               connected are excluded in advance, the user can easily select
      FIGS. 12 and 13 show how the search range changes by                  a subsidiary station serving as a connection target, thus
   station finding processing based on control information like             improving operability.
   that described above. FIGS. 12 and 13 show a case wherein                   In addition, as the transmission power used to transmit the
   the user designates the distance from the main station as a         30   station finding message can be minimized, a reduction in
   search range, and transmission power control for the station             power consumption can be attained.
   finding message is performed.                                               According to the above description, the search range is
      As shown in FIGS. 12 and 13, the plurality of subsidiary              limited in accordance with the distance from the main
   stations S1 to S8 are present around the main station M. Of              station or antenna directivity designated by the user. How
   the plurality of subsidiary stations S1 to S8, the subsidiary       35   ever, the search range can be determined in the following
   station S1 nearest to the main station M is a subsidiary                   a.
   station designated as a connection target by the user.                      In searching for a Subsidiary station as a connection target
      In Such a state, as shown in FIG. 12, the search range can            by Station finding processing, the station finding message is
   be limited by designating a short distance from the main                 transmitted, and a corresponding response message is
   station M so as to include only the subsidiary station S1,          40   received to acquire information (e.g., the unique ID infor
   thereby setting the subsidiary stations S2 to S8 outside the             mation) of the Subsidiary station.
   Search range.                                                               The station finding procedure (protocol) needs to be
      If no control information is set and no transmission power            variously operated to prevent collision between response
   control is performed, the search range shown in FIG. 13 is               messages returned from a plurality of Subsidiary stations
   set. In the case shown in FIG. 13, subsidiary stations other        45   upon transmission of a station finding message to all Sub
   than the subsidiary stations S4 and S5 are included in the               sidiary stations existing in the search range.
   Search range.                                                               In general, as the search range extends, the number of
      The main station M therefore receives response messages               Subsidiary stations included in the search range increases. As
   from many subsidiary stations for the transmitted Station                a consequence, a longer time is required for the station
   finding message. For this reason, the main station M must           50   finding procedure. Assume that as the search range is
   specify one of the subsidiary stations which have returned               widened by one step (e.g., from “less than 1 m to “1 to 10
   the response messages as a connection target.                            m”), the number of subsidiary stations newly included in the
      In contrast to this, if the search range is limited as shown          search range increases. In this case, since the station finding
   in FIG. 12, the station finding message transmitted from the             procedure must be variously operated for each subsidiary
   main station M is received by only the subsidiary station S1.       55   station, the time required for the station finding procedure
   Consequently, the main station M receives the response                   abruptly increases.
   message from only the Subsidiary station S1. This makes it                  In the control information setting processing executed by
   possible to simplify specification of a Subsidiary station as a          the control information setting section 20b of the device
   connection target and prevent an excessively long period of              body 20, therefore, the user designates a station finding
   time from being spent to find a station.                            60   procedure time as a search range.
      In the case shown in FIGS. 12 and 13, transmission power                 In this case, the control information setting section 20b
   control is performed. If, however, antenna directivity control           displays, for example, the message "Designate a station
   is to be performed, the search range is set to include only a            finding procedure time', together with station finding pro
   Subsidiary station existing within a specific range from the             cedure time choices (selection fields) for the designation of
   main station.                                                       65   a search range. As the station finding procedure time
     If, for example, the user designates "30 forward' as a                 choices, “1 second”, “5 seconds”, “10 seconds', and the like
   search range, only the Subsidiary station S1 becomes a                   are displayed.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 102 of 175 Page ID #:102


                                                       US 7,039,445 B1
                                 11                                                                 12
      If the station finding procedure time choices, a table for           In the control information setting processing described
   linking transmission power values to station finding proce            with reference to the flow chart of FIG. 7, the distance from
   dure times, like the one shown in FIG. 14, is prepared in             the main station (transmission power control) or antenna
   advance. The control information setting section 20b sets, as         directivity can be arbitrarily designated by the user. How
   control information, a transmission power value correspond            ever, such information including the above station finding
   ing to the station finding procedure time designated by the           procedure time may be arbitrarily designated.
   user in accordance with the contents set in this table, and              Another method for a station finding procedure will be
   transmits it to the radio communication apparatus 19.                 described next with reference to the flow chart of FIG. 15.
      The radio communication apparatus 19 transmits the                 Steps D1 to D3 and D6 to D8 in the flow chart of FIG. 15
   station finding message with an output corresponding to the      10   respectively correspond to steps A1 to A3 and A4 to A6 in
   transmission power value corresponding to the control infor           the flow chart of FIG. 10, and the same processing is
   mation set by the control information setting section 20b             executed in these steps. Hence, a detailed description of
   (the details of this operation are the same as those in the           these steps will be omitted.
   station finding procedure for the case of transmission power             In the station finding procedure described above, when a
   control described with reference to FIGS. 11 and 12).            15   station finding message is transmitted, and response mes
      This operation makes it possible to prevent the station            sages from Subsidiary stations existing in the search range
   finding message from reaching at least Subsidiary stations            for the station finding message are received, all the pieces of
   existing outside the search range corresponding to the time           unique ID information of the Subsidiary stations, contained
   designated by the user.                                               in the respective response messages, are sequentially regis
      If the search range narrows, the number of Subsidiary              tered.
   stations existing in the search range may decrease. When,                If, however, the station finding procedure is terminated
   however, many Subsidiary stations are present only near the           when registration about the Subsidiary station (device) des
   main station, the number of Subsidiary stations that can              ignated as a connection target by the user is complete, the
   receive the station finding message may not greatly change            time required for the processing can be further shortened.
   even if the search range is narrowed. In such a special case,    25      In the station finding procedure, when the unique ID
   the time required for the station finding procedure for each          information of a Subsidiary station, contained in a response
   Subsidiary station remains the same.                                  message received from the Subsidiary station, is registered
      The control information setting section 20b therefore may          (step D3), the station finding procedure section 28a notifies
   output a designated Station finding procedure time itself as          the device body 20 of its unique ID information, as shown
   control information to the radio communication apparatus         30   in the flow chart of FIG. 15.
   19 as well as setting a search range by setting a transmission           The display section 20a in the device body 20 displays
   power value in accordance with the station finding proce              station finding information on the basis of the unique ID
   dure time designated by the user.                                     information of the Subsidiary station, acquired from the
      In this case, the radio communication apparatus control            response message by the radio communication apparatus 19
   section 28 of the radio communication apparatus 19 trans         35   (step D4).
   mits the station finding message in accordance with the                  If, for example, the station finding information is a device
   transmission power value, and monitors the time that has              address, the display section 20a displays information that
   elapsed since the start of the transmission of the station            can be acquired from the received response message, as
   finding message to determine whether the station finding              shown in FIG. 16A.
   message has reached within the station finding procedure         40     In the case shown in FIG. 16A, device numbers starting
   time set as the control information.                                  from “1” are sequentially assigned in the order in which the
      If the station finding message has reached within the              devices are searched out, and device addresses, e.g.,
   station finding procedure time, the transmission of the               “A39B31', are displayed in correspondence with the device
   station finding message is forcibly stopped, and the station          numbers.
   finding processing is terminated. This makes it possible to      45      In this manner, the display section 20a sequentially dis
   complete the station finding procedure within the station             plays pieces of station finding information (device
   finding procedure time designated by the user.                        addresses) while assigning the device numbers ''2''.
      The above case is a special case. In general, even if the          '3”. ... every time a response message for the station finding
   station finding procedure is terminated within the station            message is received from a Subsidiary station, i.e., a Sub
   finding procedure time, the Subsidiary station designated as     50   sidiary station can be searched out.
   a connection target by the user is registered as long as the            If therefore, the user remembers the device address of a
   station finding procedure is completed between the main               device as a connection target, the user of the main station can
   station and all the Subsidiary stations existing in the search        know in real time that the desired device is searched out by
   range within the station finding procedure time. In addition,         the station finding procedure.
   even if the station finding procedure for all the subsidiary     55     Even if the user does not remember the device address of
   stations is not complete, there is a good possibility that the        a device as a connection target, since a character at a
   Subsidiary station designated as a connection target by the           predetermined digit position of the device address generally
   user is registered (because the user designates a station             indicates the type of device, the user of the main station can
   finding procedure time as circumstances demand).                      determine on the basis of the character whether the desired
      Since a search range can be set by designating a station      60   device is searched out.
   finding procedure time in this manner, an optimal station                The display section 20a displays the station finding infor
   finding procedure conforming to a request from the user, i.e.,        mation about the subsidiary station that has been searched
   a station finding procedure optimized to prevent an exces             out, and accepts an instruction to interrupt the station finding
   sively long period of time from being spent to register a             procedure executed by the station finding procedure section
   Subsidiary station (device) as a connection target, can be       65   28a.
   executed. This makes it possible to efficiently search for a            When, therefore, the user confirms, on the basis of the
   station that needs to be connected.                                   station finding information displayed during the station
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 103 of 175 Page ID #:103


                                                        US 7,039,445 B1
                                 13                                                                     14
   finding procedure, that the search for the desired device is           apparatus loads a program recorded on a recording medium
   complete, the user of the main station can generate an                 or receives it through a communication medium, and the
   instruction to interrupt the station finding procedure.                operation of the computer is controlled by the program,
      Upon reception of the instruction to interrupt the station          thereby executing the above processing.
   finding procedure, the device body 20 notifies the radio                  AS has been described above, according to the present
   communication apparatus control section 28 in the radio                invention, the reachable range of the station finding message
   communication apparatus 19 of the instruction. The station             is changed in searching for a station as a connection target
   finding procedure section 28a of the radio communication               So as to efficiently perform a station finding procedure in a
   apparatus control section 28 then terminates the station               short period of time. In addition, since stations that need not
   finding procedure in accordance with the notification from        10   be connected are excluded, a station as a connection target
   the device body 20 (steps D5 and D8).                                  can be efficiently designated from stations that can be
     In this manner, if the user knows information about a                searched out afterward. This makes it possible to implement
   Subsidiary station as a connection target in advance, infor            a station finding procedure with high operability for the user.
   mation (station finding information) about a Subsidiary                   Additional advantages and modifications will readily
   station acquired by the station finding procedure is sequen       15   occur to those skilled in the art. Therefore, the invention in
   tially displayed to notify the user of the information so as to        its broader aspects is not limited to the specific details and
   interrupt the station finding procedure in accordance with a           representative embodiments shown and described herein.
   notification from the user, thus saving an unnecessary time            Accordingly, various modifications may be made without
   for the station finding procedure. This scheme allows more             departing from the spirit or scope of the general inventive
   efficient station finding if a scheme of widening the reach            concept as defined by the appended claims and their equiva
   able range of the station finding message stepwise is used,            lents.
   in particular.                                                            What is claimed is:
      As an example of displaying station finding information,              1. A communication system comprising a first device and
   FIG. 16A shows an example of displaying only device                    a second device for communicating with the first device
   addresses. However, as shown in FIG. 16B, name informa            25   through a wireless link,
   tion about a device as a connection target may be acquired               the first device including:
   and displayed to notify the user of a found device so as to                 a section which sets a range for a message transmitted
   allow the user of the main station to easily recognize it.                     from the first device, wherein the message is for
     In the case shown in FIG. 16B, device classifications                        searching for the second device to be communicated
   (“PC”, “printer, and the like) and device names (“Luna',          30             with the first device, and
   “Apolon, and the like) are displayed in correspondence                      a section which causes the first device to transmit a
   with the device numbers.                                                         message in accordance with the range set by said
      Since a character at a predetermined digit position of each                   setting section, wherein the range set by said setting
   device address represents the type of a device, device                           section is a directivity of the message transmitted
   classifications can be discriminated and displayed on the         35             from the first device,
   basis of Such characters.                                                the second device including:
     The device names are acquired by performing procedures                   a section which sets the message, and
   Such as device connection (Paging procedure) and name                      a section which responds to the message from the first
   request command procedure (a service by Link Manager).                           device so as to set the wireless link.
     The device connection procedure and name request com            40      2. A system according to claim 1, wherein the range which
   mand procedure described above may be omitted by storing               is set by said setting section is a distance from the first
   device name information acquired in the past, together with            device.
   device addresses, and acquiring the stored device name                   3. A communication method for setting a wireless link
   information on the basis of the device address acquired by             between a first device and a second device, comprising:
   the station finding procedure.                                    45     setting a range for a message transmitted from the first
      If various pieces of information about a device set as a                 device, wherein the message is for searching for the
   connection target can be independently registered as well as                second device to be communicated with the first
   the device name, the user can be notified of the found device               device;
   So as to more easily recognize it by displaying these pieces             causing the first device to transmit a message in accor
   of information together with the device name.                     50       dance with the set range, wherein the range set by said
      By displaying other information Such as a device name in                setting step is a directivity of the message transmitted
   this manner instead of displaying only a device address, the                from the first device;
   user can be notified of a device as a connection target so as            receiving the message from the first device and outputting
   to more easily recognize it.                                               a response with respect to the received message from
      In the arrangement shown in FIG. 1, the functions imple        55        the second device; and
   mented by the display section 20a and control information                setting the wireless link between the first device and
   setting section 20b are provided for the device body 20.                    second device based on the response.
   However, these functions may be provided for the radio                   4. A method according to claim 3, wherein the range
   communication apparatus 19.                                            which is set by said setting step is a distance from the first
      The techniques in the station finding procedure described      60   device.
   in the above embodiment can be stored as computer-execut                 5. A communication apparatus comprising:
   able programs in a storage medium such as a magnetic disk                a section which sets a range for a message, wherein the
   (e.g., a floppy disk or hard disk), an optical disk (e.g., a                message is for searching for another device to be
   CD-ROM or DVD), or a semiconductor memory and can be                        communicated with the apparatus through a wireless
   provided for various apparatuses. These programs can also         65        link; and
   be transmitted and provided for various apparatuses through              a section which transmits the message in accordance with
   communication media. A computer for implementing this                       the set range by said setting section;
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 104 of 175 Page ID #:104


                                                        US 7,039,445 B1
                                 15                                                                      16
     wherein said setting section inputs a direction from the                  range from the main body, wherein the message is for
         apparatus as a range, and said message transmission                    searching for the second device;
         section includes a section for changing a direction in              receiving the first control information from the main body
         which the message is transmitted, and controls said                   in a controller connected to the main body via a data
         changing section in accordance with the direction set                 interface, and outputting second control information
         by said setting section so as to transmit the message.                 based on the received first control information from the
      6. An apparatus according to claim 5, wherein said setting                controller, and
   section inputs a distance from the self-apparatus as a range              controlling one of a transmission amplifier, connected to
   for the message, and                                                        the controller, which amplifies the message based on
      said message transmission section transmits a message           10        the second control information and which transmits the
         with a transmission power value corresponding to the                   amplified message to an antenna and an antenna control
         distance input by said setting section.                                section, connected to the controller and the antenna,
      7. An apparatus according to claim 5, wherein said setting                which controls an antenna directivity of the antenna
   section comprises a section for inputting a time during                      based on the second control information output from
   which transmission of the message continues, and                   15        the controller.
      said message transmission section transmits the message                14. A communication apparatus comprising:
         only for the time input by said setting section.                    a main body which sets a range for a message transmitted
      8. An apparatus according to claim 5, further comprising:
      a section for sequentially displaying information acquired                from the communication apparatus and which outputs
         by the response message from the another apparatus                     control information in accordance with the set range,
         every time the response message is received; and                       wherein the message is for searching for a device as a
      a section for terminating transmission of the message                     connection target by radio communication;
         when an instruction to interrupt the transmission of the            a controller, connected to the main body via a data
         message is input in accordance with the information                    interface section, which receives the first control infor
         displayed by said display section.                           25        mation from the main body and which outputs second
      9. A communication system having a first device and a                     control information based on the received first control
   second device for communicating with the first device                        information;
   through a wireless link, comprising:                                      a transmission amplifier, connected to the controller,
      a first device which transmits a message for searching for               which amplifies the message based on the second
         the second device by radio communication, wherein the        30       control information and which transmits the amplified
         first device comprises:                                               message to an antenna So as to transmit the message in
      a main body which sets a range for the message trans                     accordance with the range set by the main body; and
         mitted from the first device and which outputs first                an antenna control section, connected to the controller and
         control information in accordance with the set range;                  the antenna, which controls an antenna directivity of
      a controller, connected to the main body via a data             35        the antenna based on the second control information
        interface section, which receives the first control infor              output from the controller so as to transmit the message
        mation from the main body and which outputs second                     in accordance with the range set by the main body.
        control information based on the received first control              15. A communication apparatus according to claim 14,
        information;                                                         wherein the range set by the main body indicates a
     a transmission amplifier, connected to the controller,           40
                                                                               distance from the communication apparatus.
       which amplifies the message based on the second                       16. A communication apparatus according to claim 14,
       control information and which transmits the amplified
       message to an antenna So as to transmit the message in                wherein the range set by the main body indicates a
       accordance with the range set by the main body; and                     directivity of the message transmitted from the com
     an antenna control section, connected to the controller and      45       munication apparatus.
        the antenna, which controls an antenna directivity of                17. A communication apparatus according to claim 14,
        the antenna based on the second control information                  wherein the controller has a table which stores the first
       output from the controller so as to transmit the message                 control information output from the main body and the
       in accordance with the range set by the main body.                       controller outputs the first control information to one of
     10. A communication system according to claim 9.                 50        the transmission amplifier and antenna control is sec
     wherein the range set by the main body indicates a                         tion.
        distance from the first device.                                      18. A communication system having a first device and a
     11. A communication system according to claim 9.                      second device for communicating with the first device
     wherein the range set by the main body indicates a                    through a wireless link, comprising:
        directivity of the message transmitted from the first         55
                                                                             the first device including:
        device.
     12. A communication system according to claim 9.                           a first outputting section for outputting a message to a
     wherein the controller has a table which stores the first                     first range in which the second device and an exter
         control information output from the main body and the                     nal device are positioned,
         controller outputs the first control information to one of   60        a second outputting section for outputting the message
        the transmission amplifier and antenna control section.                    to a second range in which the second device is
      13. A communication method for setting a wireless link                       positioned, the external device positioning out of the
   between a first device and a second device, comprising the                      second range, wherein the second range represents a
   steps of                                                                        directivity of the message transmitted from the first
      setting a range for a message transmitted from the first        65          device, and
         device in a main body of the first device and outputting               a section which selects one of the first outputting
        first control information in accordance with the set                      section and the second outputting section,
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 105 of 175 Page ID #:105


                                                         US 7,039,445 B1
                              17                                                                    18
     the second device including:                                        outputting a message from the first device to one of the
       a section which receives the message, and a section                  first range and second range determined, wherein the
          which responds to the message from the first device               first range represents a distance from the first device
             So as to set the wireless link.                                and the second range represents a directivity of the
     19. A communication system according to claim 18,                      message transmitted from the first device;
   wherein the second range represents a distance from the first         receiving a response to the message, from the device; and
   device.                                                               setting the wireless link on the basis of the response.
      20. A communication device for communicating with an               23. A communication system comprising a first device
   external device through a wireless link, comprising:                and a second device for communicating with the first device
      a first outputting section which outputs a message to a first    through a wireless link,
         range in relation to a position of the external device, the     the first device including:
         message being used to set the wireless link, wherein the          a section which sets a user-designated search range for
         first range represents a directivity of the message                  a message transmitted from the first device, wherein
        transmitted from the communication device;                            the message is for searching for the second device to
     a second outputting section which outputs the message to                 be communicated by the first device, and
        a second range different from the first range; and                  a section which causes the first device to transmit a
     a section which selects one of the first outputting section              message in accordance with the range set by said
        and the second outputting section.                                    setting section,
     21. A communication device according to claim 20,
   wherein the first range represents a distance from the com            the second device including:
   munication device.                                                      a section which sets the message, and
     22. A method for setting a wireless link between a first              a section which responds to the message from the first
   device and a second device, comprising the steps of:                       device so as to set the wireless link.
     determining one of a first range and a second range in
        relation to the position of the second device;
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 106 of 175 Page ID #:106




                             EXHIBIT 6
          Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 107 of 175 Page ID #:107
Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link



                       TP-Link WiFi Routers w/ Beamforming




                                                                                                   1
             Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 108 of 175 Page ID #:108
  Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link




13. A communication method for setting a wireless link between a first device and a second device,
    comprising the steps of:


setting a range for a message transmitted from the first device in a main body of the first device and
    outputting first control information in accordance with the set range from the main body, wherein the
    message is for searching for the second device;


receiving the first control information from the main body in a controller connected to the main body via a
    data interface, and outputting second control information based on the received first control
    information from the controller; and


controlling one of a transmission amplifier, connected to the controller, which amplifies the message
    based on the second control information and which transmits the amplified message to an antenna
    and an antenna control section, connected to the controller and the antenna, which controls an
    antenna directivity of the antenna based on the second control information output from the controller.


                                                                                                              2
                   Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 109 of 175 Page ID #:109
     Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

         Claim 13
                            Source: https://www.TP-Link.com/us/home-networking/wifi-router/archer-c90/


  A communication
  method for setting
  a wireless link
  between a first
  device and a
  second device,
  comprising:




Version: Dec. 17, 2019                                                                                      3
              Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 110 of 175 Page ID #:110
   Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

      Claim 13

setting a range for a    Source: https://www.TP-Link.com/ar/support/faq/2291/
message
transmitted from the
first device in a
main body of the
first device and
outputting first
control information
in accordance with
the set range from
the main body,
wherein the
message is for
searching for the
second device;
                                                                                                          4
             Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 111 of 175 Page ID #:111
   Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

       Claim 13

                           Source: https://community.cisco.com/t5/wireless-mobility-documents/the-significance-of-beacon-
                           frames-and-how-to-configure-the/ta-p/3132525
setting a range for a
message transmitted
from the first device
in a main body of the
first device and
outputting first control
information in
accordance with the
set range from the
main body, wherein
the message is for
searching for the
second device;


                                                                                                                            5
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 112 of 175 Page ID #:112
   Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

     Claim 13
                         Source: https://www.microcontrollertips.com/teardown-inside-TP-Link-archer-c7-wireless-router/
receiving the first
control
information from
the main body in a
controller
connected to the
main body via a
data interface,
and outputting
                                           SSID
second control
information based
on the received
first control
information from
the controller; and
                                                                                                                          6
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 113 of 175 Page ID #:113
   Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

     Claim 13

receiving the first                                                    Source:
                           Source: https://www.rfwireless-
                                                                       https://www.microcontrollertips.com/teardown-
control                    world.com/Terminology/Analog-Beamforming-
                                                                       inside-TP-Link-archer-c7-wireless-router/
                           vs-Digital-Beamforming.html
information from
the main body in a
controller
connected to the
main body via a
data interface,
and outputting
second control
information based
on the received
first control
information from
the controller; and
                                                                                                                       7
             Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 114 of 175 Page ID #:114
  Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

          Claim 13

                                 Source: https://www.rfwireless-world.com/Terminology/Analog-Beamforming-vs-
                                 Digital-Beamforming.html
controlling one of a
transmission amplifier,
connected to the
controller, which amplifies
the message based on
the second control
information and which
transmits the amplified
message to an antenna
and an antenna control
section, connected to the
controller and the
antenna


                                                                                                               8
              Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 115 of 175 Page ID #:115
   Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

       Claim 13
                          Source: https://www.rfwireless-
controlling one of a      world.com/Terminology/Analog-Beamforming-vs-
                          Digital-Beamforming.html
transmission
amplifier, connected
to the controller,                                                        Source:
                                                                          https://www.microcontrollertips.com/teardo
which amplifies the                                                       wn-inside-TP-Link-archer-c7-wireless-
                                                                          router/
message based on
the second control
information and
which transmits the
amplified message to
an antenna and an
antenna control
section, connected to
the controller and the
antenna
                                                                                                                 9
              Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 116 of 175 Page ID #:116
   Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

     Claim 13
                       Source: https://www.TP-Link.com/us/support/faq/2096/


which controls an
antenna directivity
of the antenna
based on the
second control
information output
from the
controller.




                        Source: https://www.rfwireless-
                        world.com/Terminology/Analog-
                        Beamforming-vs-Digital-
                        Beamforming.html




                                                                                                          10
              Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 117 of 175 Page ID #:117
   Preliminary Claim Chart Showing Infringement of Claim 13 of the U.S. Patent No. 7,039,445 by TP-Link

     Claim 13



which controls an        Source: https://www.rfwireless-                Source:
                         world.com/Terminology/Analog-Beamforming-      https://www.microcontrollertips.com/teardo
antenna directivity      vs-Digital-Beamforming.html                    wn-inside-TP-Link-archer-c7-wireless-
                                                                        router/
of the antenna
based on the
second control
information output
from the
controller.




                                                                                                                11
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 118 of 175 Page ID #:118




                             EXHIBIT 7
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 119 of 175 Page ID #:119
                                                                                                         US00712721 OB2


   (12) United States Patent                                                         (10) Patent No.:                US 7,127.210 B2
          Aoyagi                                                                     (45) Date of Patent:                      Oct. 24, 2006
   (54) WIRELESS COMMUNICATION APPARATUS                                        (56)                       References Cited
   (75) Inventor: Kazunori Aoyagi, Fussa (JP)                                                      U.S. PATENT DOCUMENTS
                                                                                  2002/0164953 A1* 11/2002 Curtis ......................... 455,41
   (73) Assignee: Kabushiki Kaisha Toshiba, Tokyo (JP)                            2003/0054794 A1* 3/2003 Zhang ........................ 455,403
   (*) Notice:        Subject to any disclaimer, the term of this                              FOREIGN PATENT DOCUMENTS
                      patent is extended or adjusted under 35                   JP              2000-209646          T 2000
                      U.S.C. 154(b) by 576 days.                                JP              2001-189974          T 2001
                                                                                JP              2000-018082          1, 2002
   (21) Appl. No.: 10/096,678
                                                                                * cited by examiner
   (22) Filed:        Mar. 14, 2002
                                                                                Primary Examiner Matthew D. Anderson
   (65)                  Prior Publication Data                                 Assistant Examiner Sanh Phu
          US 2003/O114107 A1          Jun. 19, 2003
                                                                                (74) Attorney, Agent, or Firm—Finnegan, Henderson,
                                                                                Farabow, Garrett & Dunner. L.L.P.
   (30)          Foreign Application Priority Data                              (57)                            ABSTRACT
     Sep. 20, 2001 (JP) ............................. 2001-28.7376
                                                                                This invention relates to a wireless communication appara
   (51) Int. Cl.                                                                tus including a discovery unit which discovers the comple
          H04B 7/00             (2006.01)                                       tion of connection with another wireless communication
                                                                                apparatus, a mode setup unit which sets up a mode which
   (52) U.S. Cl. ..................... 455/412:455/403:455/417:                 defines processing for a signal for performing communica
                                        370/259; 370/260; 370/261               tion with the wireless communication apparatus from a
                                                                                wireless communication apparatus except for another wire
   (58) Field of Classification Search ................ 455/403,                less communication apparatus, and a shift unit which shifts
               455/450, 410, 41.2, 41.3, 416,417; 370/259,                      to the mode set up by the mode setup unit when the
                 370/260, 261, 262, 263,264, 265, 266, 267,                     discovery unit discovers the completion of connection.
                                           370/268, 269,270
        See application file for complete search history.                                          21 Claims, 5 Drawing Sheets

                                               (Wireless
                                                Communication
                                                                     Wireless
                                                                     Counication
                                                apparatus A          apparatus Bl
                                         SA1
                                          frant inquiry).
                                         SA2
                                                                                       SB1

                                            Receive incury         Transmit inquiry
                                            response               response

                                               Transmit page    -- Receive page
                                                Receive page
                                                response        - Page response
                                               input authenti
                                            cation code
                                                                    input authenti
                                                                   cation code
                                               Authentication   --> Authentication

                                          Notify successful
                                          connection
                                                                  Notify successful
                                                                  connection
                                          establishment           establishment
                                           Shift to non            Shift to non
                                           connectable mode        connectable mode
                                                                                              Wireless
                                                                     Transmit/                Communication
                                                                     receive data             apparatus C
                                                                                                          SC1
                                                                                        - Transmit inquiry
                                                                                                          SC2
                                               Transmit/             Not respond to          Inquiry time-out
                                               receive data           inquiry




                                                                    Clear mode setup
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 120 of 175 Page ID #:120


   U.S. Patent         Oct. 24, 2006   Sheet 1 of 5         US 7,127.210 B2




                                                   W
                   Wireless
                   COmmunication




                                        Wireless
                                        COmmunication




                       F.G. 1
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 121 of 175 Page ID #:121


   U.S. Patent         Oct. 24, 2006      Sheet 2 of 5        US 7,127.210 B2




                         11
          13                     12                      14


          we setup unit control unit EPre"
          18                     15                      16


                        EP wireless unit
                                 processing unit


                                       F. G. 2


                Unique address         Mode selected upon connection
                                       establishment
               Unique address A           Non-connectable mode 1

               Unique address B           Non-discoverable mode

               Unique address C           Non-Connectable mode 2

               Unique address D           Non-discoverable mode

               Unique address E           Non-Connectable mode 1



                                       F. G. 3
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 122 of 175 Page ID #:122


   U.S. Patent             Oct. 24, 2006       Sheet 3 of 5                US 7,127.210 B2

               (Wireless                   Wireless
               Communication               Communication
               apparatus AJ                apparatus Bl
        SA
          Transmit inquiry --> Receive inquiry                   SB1
        SA2
             Receive inquiry            Transmit inquiry
             response                   response                 SB2
        SA3
               Transmit page     -- 3      Receive page          SB3
        S A4
               Receive page       - - - Page response            SB4
               response
        SA5
             input authenti
           cation Code
                                         input authenti
                                         cation Code             SB5
        SA6
            Authentication K--           Authentication          SB6
        SAT
          Notify successful             Notify successful
          Connection                    Connection               SB7
          establishment                 establishment
        SA8
          Shift to non                  Shift to non
          connectable mode              connectable mode         SB8
        SA9                                                             Wireless
                                           Transmit/          SB9       COmmunication
                                                                        apparatus C)
                                           receive data
                                                          SB10                      SC1
                                           Receive inquiry
                                                          SB11
                                                                 - Transmit inquiry
                                                                                    SC2
               Transmit/                   Not respond to
                                           inquiry
                                                                       Inquiry time-Out
               receive data




                                                          SB12

                                          Clear mode setup               F G. 4
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 123 of 175 Page ID #:123


   U.S. Patent             Oct. 24, 2006       Sheet 4 of 5              US 7,127.210 B2

            (Wireless
             COMmunication
                                     (Wireless
                                      Communication
            apparatus Al              apparatus B
      SA
        Transmit inquiry --> Receive inquiry -SB
      SA2
           Receive inquiry          Transmit inquiry
           response                 response                  SB2
      SA3
            Transmit page      --                             SB3
      SA4
            Receive page
            respOn Se
      SA5
           input authenti            input authenti
         cation code
      SA6
          Authentication K--         Authentication           SB6
      SA7
        Notify successful           Notify successful
        connection                  connection                SBI
        establishment               establishment
      SA8-1
         Shift to non               Shift to non
         connectable mode           connectable mode          SB8-1
      SA9                                                            Wireless
                                      Transmit/           SB9        Communication
                                      receive data                   apparatus C
                                                      SB10-1                   SC 1-1
                                           Receive pageSB11-1- Transmit page
                                                                               SC2-1
            Transmit/                 Transmit page                 Receive page
            receive data              denial response               denial response
                                                                               SC3-1
                                                                Notify connection
                                                                establishment
                                                                failure

                                                      SB12
                                      Clear mode Setup                F.G. 5
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 124 of 175 Page ID #:124


   U.S. Patent             Oct. 24, 2006            Sheet S of 5               US 7,127.210 B2

              Wireless                      Wireless
              communication                 Communication
              apparatus A                   apparatus B
        SA
          transit inuity).
        SA2
                                           Receive inquiry           SB1

             Receive inquiry L. Transmit inquiry                     SB2
             response                     response
        SA3
              Transmit page --                                       SB3
        SA4
               Receive page       - - -


         A5
              input authenti-              Input authenti-           SB5
             cation code                  cation code

              Authentication K--> Authentication                     SB6

          Notify successful               Notify successful
          connection                      connection                 SBT
          establishment                   establishment

          Shift to non-                   Shift to non-              SB8-2
          connectable mode                connectable mode
                                                                           (Wireless
                                            Transmit/              SB9     CONMunication
                                            receive data                   apparatus Cl
                                                            SB10-2                     SC-2
                                              Receive page                 Transmit page
                                                            SB11-2                     SC2-2
               Transmit/                     Not respond to
               receive data                  pdge
                                                                                       SC3-2
                                                                         Notify connection
                                                                         establishment
                                                                         failure

                                                             SB12

                                            Clear mode setup                 F.G. 6
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 125 of 175 Page ID #:125


                                                       US 7,127,210 B2
                                 1.                                                                  2
      WRELESS COMMUNICATION APPARATUS                                       Bluetooth assumes that a wireless communication appa
                                                                         ratus establishes connections with a plurality of wireless
             CROSS-REFERENCE TO RELATED                                  communication apparatuses and communicates with them.
                    APPLICATIONS                                         Even if a wireless communication apparatus establishes
                                                                         connection with another wireless communication apparatus
      This application is based upon and claims the benefit of           and does not want to be connected to still another wireless
   priority from the prior Japanese Patent Application No.               communication apparatus, the wireless communication
   2001-287376, filed Sep. 20, 2001, the entire contents of              apparatus performs response processing to an inquiry or
   which are incorporated herein by reference.                           page sent from still another wireless communication appa
                                                                    10   ratus. This may interfere with communication with the
            BACKGROUND OF THE INVENTION                                  currently connected wireless communication apparatus.
                                                                            When authentication is set to be performed in connection,
     1. Field of the Invention                                           the wireless communication apparatus is prompted to input
      The present invention relates to a wireless communication          an authentication code every time it receives a page from
   apparatus and, more particularly, to a wireless communica        15   another wireless communication apparatus. This forces the
   tion apparatus which, after establishing connection with              user to perform an unwanted operation.
   another wireless communication apparatus, automatically
   changes setups for discovery or connection with respect to                   BRIEF SUMMARY OF THE INVENTION
   still another wireless communication apparatus except for
   the connected wireless communication apparatus.                         An object of the present invention is to provide a com
      2. Description of the Related Art                                  munication apparatus which, after establishing connection
      The Bluetooth technique capable of achieving short                 with a wireless communication apparatus, controls connec
   distance wireless communication between a plurality of                tion establishment with another wireless communication
   wireless communication apparatuses has recently been                  apparatus.
   developed along with the development of the wireless             25
                                                                            To achieve the above object, according to a first aspect of
   communication technology. An example of techniques                    the invention, there is provided a communication apparatus
   adopting the Bluetooth technique is Jpn. Pat. Applin. KOKAI           comprising means for discovering completion of connection
   Publication No. 2001-189974.
      Regarding the process up to establishing connection                with another wireless communication apparatus, mode setup
   between wireless communication apparatuses in Bluetooth          30
                                                                         means for setting up a mode which defines processing for a
   which is one of wireless communication schemes, the prior             signal for performing communication with the wireless
   art reads,                                                            communication apparatus from a wireless communication
                                                                         apparatus except for the another wireless communication
      “To communicate with another device, a given device                apparatus, and means for shifting to the mode set up by the
   makes an inquiry to check whether a device equipped with              mode setup means when the discovery means discovers the
   Bluetooth exists in a range where its radio waves can reach.     35
                                                                         completion of connection.
   The device checks an inquiry from another device by inquiry              According to a second aspect of the invention, there is
   Scan, and responds to the inquiry by an inquiry response
   function. The device can know the 48-bit address of the               provided a communication method in a communication
   partner through an inquiry response which transmits an FHS            apparatus, comprising discovering completion of connection
   (Frequency Hopping Synchronization) packet. Connection           40   with another wireless communication apparatus and inhib
   is set between these devices by the address. The paging               iting connection with a wireless communication apparatus
   device which wants to set connection starts a page process            except for the another wireless communication apparatus.
   by using a specific address. At this time, the paged device              According to the present invention, after a wireless com
   periodically performs page scan. Since the normal page                munication apparatus establishes communication with
   period is longer than the page scan period, the paged device     45   another wireless communication apparatus, it can inhibit
   can set connection with the paging device Upon recognizing            communication with still another wireless communication
   through page scan that it has been paged, the paged device            apparatus except for the currently connected wireless com
   immediately starts a process of setting connection. In a              munication apparatus. This can prevent interference with
   normal state, connection is set.”                                     communication with the connected wireless communication
     As described above, when wireless communication appa           50   apparatus.
   ratuses are to communicate with each other, the first wireless           Additional objects and advantages of the invention will be
   communication apparatus which wants to perform wireless               set forth in the description which follows, and in part will be
   communication sends an inquiry signal to peripheral wire              obvious from the description, or may be learned by practice
   less communication apparatuses. The second wireless com               of the invention. The objects and advantages of the invention
   munication apparatus which has received the inquiry signal       55   may be realized and obtained by means of the instrumen
   sends back a response to the first wireless communication             talities and combinations particularly pointed out hereinaf
   apparatus. The first wireless communication apparatus                 ter.
   receives the response to the inquiry, and discovers the
   wireless communication apparatus which exists near itself.                   BRIEF DESCRIPTION OF THE SEVERAL
   To request connection, the first wireless communication          60                VIEWS OF THE DRAWING
   apparatus sends a page signal to the second wireless com
   munication which has sent back the response. Then, the                  The accompanying drawings, which are incorporated in
   second wireless communication apparatus receives the page             and constitute a part of the specification, illustrate embodi
   signal, and sends back a page response to the first wireless          ments of the invention, and together with the general
   communication apparatus. Connection between the wireless         65   description given above and the detailed description of the
   communication apparatuses is established through this pro             embodiments given below, serve to explain the principles of
   cess, and wireless communication is enabled.                          the invention.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 126 of 175 Page ID #:126


                                                        US 7,127,210 B2
                                3                                                                       4
     FIG. 1 is a view showing an example of the use environ                  The wireless unit 16 uses the antenna 17 to receive radio
   ment of a wireless communication apparatus according to an              waves generated from another wireless communication
   embodiment of the present invention:                                    apparatus, and sends them to the wireless data processing
     FIG. 2 is a functional block diagram showing a notebook               unit 15.
   type personal computer 1 as a wireless communication                       When the mode setup unit 13 receives control data
   apparatus;                                                              representing the completion of connection with another
      FIG. 3 is a table showing a mode setup table representing            wireless communication apparatus, the mode setup unit 13
   the relationship between a unique address and a mode                    automatically changes setups for an inquiry or paging from
   selected upon connection establishment;                                 still another wireless communication apparatus.
      FIG. 4 is a flow chart for explaining the operation of the      10      The setups of the mode are done for a mode setup table
   notebook type personal computer according to the first                  18 representing the relationship between a unique address
   embodiment of the present invention:                                    and a mode selected upon connection establishment, as
                                                                           shown in FIG. 3.
      FIG. 5 is a flow chart for explaining the operation of a                In FIG. 3, when connection with a device corresponding
   wireless communication apparatus according to the second           15   to unique address A is established, this means that the mode
   embodiment of the present invention; and                                changes to non-connectable mode 1. When connection with
      FIG. 6 is a flow chart for explaining the operation of a             a device corresponding to unique address B is established,
   wireless communication apparatus according to the third                 this means that the mode changes to a non-discoverable
   embodiment of the present invention.                                    mode.
                                                                             The non-connectable mode and non-discoverable mode
                DETAILED DESCRIPTION OF THE                                are defined by the Bluetooth standard. The “non-connectable
                         INVENTION                                         mode” in which the wireless communication apparatus does
                                                                           not respond to a page signal from another wireless commu
                         First Embodiment                                  nication apparatus means that the wireless communication
                                                                      25   apparatus does not change to a page scan state. The non
      A wireless communication apparatus according to an                   discoverable mode in which the wireless communication
   embodiment of the present invention will be described                   apparatus does not respond to an inquiry signal from another
   below with reference to the several views of the accompa                wireless communication apparatus means that the wireless
   nying drawing.                                                          communication apparatus does not change to an inquiry
      FIG. 1 is a view showing an example of the use environ          30   signal response state.
   ment of the wireless communication apparatus according to                  The Bluetooth standard defines two types of non-connect
   the embodiment of the present invention. In FIG. 1, a                   able modes because the wireless communication apparatus
   notebook type personal computer 1, PDA (Personal Digital                either does not respond to a page or sends back a page denial
   Assistant) 2, and VTR camera 3 have Bluetooth modules,                  upon reception of a page signal (to be described later).
   and are in a wireless communicable environment.                    35      When received data demodulated by the wireless data
      FIG. 2 is a functional block diagram showing the note                processing unit 15 concerns an inquiry or paging from
   book type personal computer 1 as a wireless communication               another wireless communication apparatus, the control unit
   apparatus. Although FIG. 2 shows the notebook type per                  12 sends a response to the inquiry or paging from the
   sonal computer 1, the PDA 2 and VTR camera 3 as other                   wireless communication apparatus to the wireless data pro
   wireless communication apparatuses also have the same              40   cessing unit 14 on the basis of a mode set up by the mode
   functions.                                                              setup unit 13.
      As shown in FIG. 2, the notebook type personal computer                 The operation of the notebook type personal computer
   1 comprises a user interface 11, control unit 12, mode setup            according to the first embodiment of the present invention
   unit 13, data processing unit 14, wireless data processing              will be explained with reference to the flow chart of FIG. 4.
   unit 15, wireless unit 16, and antenna 17.                         45   In FIG. 4, the notebook type personal computer 1 is
     The user interface 11 receives an inquiry or paging from              described as a wireless communication apparatus A; the
   the user, and sends the command to the control unit 12.                 PDA 2, as a wireless communication apparatus B; and the
     The control unit 12 sends the command from the user
                                                                           VTR camera 3, as a wireless communication apparatus C.
                                                                              The user of the wireless communication apparatus A
   interface 11 as control data to the wireless data processing       50   which is to start wireless communication instructs the con
   unit 15. The control unit 12 checks whether the received data           trol unit 12 through the user interface 11 to check wireless
   which is demodulated and output from the wireless data                  communication apparatuses present around the wireless
   processing unit 15 is control data or general data, and                 communication apparatus A. The control unit 12 generates
   executes processing corresponding to the received data. If              inquiry data upon reception of the request through the user
   the received data is general data, the control unit 12 sends it    55   interface 11. The inquiry data is sent to the wireless data
   to the data processing unit 14 which performs data process              processing unit 15 where it is modulated. The modulated
   ing.                                                                    inquiry data is sent to the wireless unit 16 and transmitted
     If the received data is control data, the control unit 12             from the antenna 17 (SA1).
   sends back corresponding control data to the wireless data                 The wireless communication apparatus B receives the
   processing unit 15, and sends the control information to the       60   inquiry transmitted from the wireless communication appa
   user interface 11 and mode setup unit 13.                               ratus A, and outputs the received inquiry from the wireless
     The wireless data processing unit 15 modulates the con                unit 16 to the wireless data processing unit 15. The wireless
   trol data and sends it to the wireless unit 16. The control data        data processing unit 15 demodulates the received inquiry
   is transmitted to another wireless communication apparatus              and sends it to the control unit 12 (SB1).
   by generating radio waves from the antenna 17. The wireless        65      The control unit 12 of the wireless communication appa
   data processing unit 15 demodulates received data and sends             ratus B determines that the inquiry has been received. Then,
   it to the control unit 12.                                              the control unit 12 generates inquiry response data including
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 127 of 175 Page ID #:127


                                                        US 7,127,210 B2
                                 5                                                                      6
   the unique address of the wireless communication apparatus             apparatuses notify the users of the wireless communication
   B and sends it to the wireless data processing unit 15. The            apparatuses of connection establishment (SA7 and SB7).
   wireless data processing unit 15 modulates the inquiry                    If the control unit 12 determines in step SAT in the
   response data and sends the modulated inquiry response data            wireless communication apparatus A or in step SB7 in the
   to the wireless unit 16. The inquiry response data is trans            wireless communication apparatus B that connection has
   mitted from the antenna 17 (SB2).                                      been established, the control unit 12 notifies the mode setup
      The wireless communication apparatus A receives by the              unit 13 of connection establishment. In the wireless com
   antenna 17 the inquiry response transmitted from the wire              munication apparatus A, the mode setup unit 13 sends to the
   less communication apparatus B. The received inquiry                   control unit 12 an instruction for shifting to the non
   response is sent from the wireless unit 16 to the wireless data   10   discoverable mode, in accordance with a mode setup set in
   processing unit 15. The wireless data processing unit 15               the mode setup table 18 in advance. Similarly in the wireless
   modulates the received inquiry response and sends it to the            communication apparatus B, the mode setup unit 13 sends to
   control unit 12. The control unit 12 determines that the               the control unit 12 an instruction for shifting to the non
   inquiry response has been received (SA2), and sends unique             discoverable mode. Note that the mode setup tables 18 of the
   address information of the wireless communication appara          15   wireless communication apparatuses A and B are so set as to
   tus B included in the received inquiry response to the user            shift the mode to the non-discoverable mode when connec
   interface 11. The user interface 11 displays the unique                tion is established between the wireless communication
   address information of the wireless communication appara               apparatuses A and B. After connection is established
   tus B.                                                                 between the wireless communication apparatuses A and B,
      The user of the wireless communication apparatus A                  the mode automatically shifts to the non-discoverable mode
   which wants connection with the wireless communication                 (SA8 and SB8). After connection establishment, data is
   apparatus B designates the unique address of the wireless              exchanged between the wireless communication apparatuses
   communication apparatus B as a destination through the user            A and B (SA9 and SB9).
   interface 11, and sends a paging signal to the control unit 12.           If the third wireless communication apparatus C wants
                                                                     25   connection with the wireless communication apparatus B,
   The control unit 12 generates page data to the wireless
   communication apparatus B and sends it to the wireless data            the wireless communication apparatus C transmits an
   processing unit 15. The page data modulated by the wireless            inquiry in step SC1 similarly to step SA1 of the wireless
   data processing unit 15 is sent to the wireless unit 16 and            communication apparatus A.
   transmitted from the antenna 17 (SA3).                            30
                                                                             In step SB10, the wireless communication apparatus B
      The wireless communication apparatus B receives by the              receives the inquiry from the wireless communication appa
   antenna 17 the page transmitted from the wireless commu                ratus C by the same procedure as that in step SB1. The
   nication apparatus A. The received page is demodulated by              wireless communication apparatus B has received the
   the wireless data processing unit 15 and sent to the control           inquiry from the wireless communication apparatus C, but
   unit 12. The control unit 12 determines that the page has         35
                                                                          the control unit 12 does not generate any response data to the
   been received (SB3). The control unit 12 generates page                inquiry because the wireless communication apparatus B has
   response data and sends it to the wireless data processing             shifted to the non-discoverable mode. In step SB11, the
   unit 15. The page response data modulated by the wireless              wireless communication apparatus B does not transmit any
   data processing unit 15 is sent to the wireless unit 16 and            inquiry response.
   transmitted from the antenna 17 (SB4).                            40      Since the wireless communication apparatus C cannot
      The wireless communication apparatus A receives by the              receive any inquiry response from the wireless communi
   antenna 17 the page response transmitted from the wireless             cation apparatus B, it cannot discover the wireless commu
   communication apparatus B. The received page response is               nication apparatus B. In step SC2, an inquiry time-out
   demodulated by the wireless data processing unit 15 and                occurs. The wireless communication apparatus C cannot
   sent to the control unit 12. The control unit 12 determines       45
                                                                          acquire the unique address of the wireless communication
   that the page response has been received (SA4). If authen              apparatus B, and cannot request connection. The wireless
   tication is necessary, the control unit 12 causes the user             communication apparatus C does not interfere with data
   interface 11 to display an authentication code input request.          transmission/reception between the wireless communication
   The user of the wireless communication apparatus A inputs              apparatuses A and B in steps SA9 and SB9.
   the authentication code (SA5). The wireless communication         50      After data transmission/reception between the wireless
   apparatus A exchanges the authentication data with the                 communication apparatuses A and B in steps SA9 and SB9
   wireless communication apparatus B and performs authen                 ends, the mode setup, i.e., non-discoverable mode is cleared
   tication (SA6).                                                        in the wireless communication apparatus B (SB12). The
      After the wireless communication apparatus B transmits              wireless communication apparatus B shifts to a normal
   the page response, it causes the user interface 11 to display     55
                                                                          mode.
   an authentication code input request if authentication with              The wireless communication apparatus according to the
   the wireless communication apparatus A is necessary. The               first embodiment shifts to the non-discoverable mode after
   user of the wireless communication apparatus B inputs the              connection establishment. This can prevent interference
   authentication code (SB5). The wireless communication                  with communication with a connected wireless communi
   apparatus B exchanges the authentication data with the            60   cation apparatus.
   wireless communication apparatus A and performs authen
   tication (SB6).                                                                            Second Embodiment
      If authentication in steps SA6 and SB6 succeeds, the
   wireless communication apparatuses A and B determine that                The operation of a wireless communication apparatus
   connection is established, and send connection establish          65   according to the second embodiment of the present inven
    ment information to their user interfaces 11. The user                tion will be described with reference to the flow chart of
   interfaces 11 of the respective wireless communication                 FIG.S.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 128 of 175 Page ID #:128


                                                       US 7,127,210 B2
                                7                                                                     8
      The process up to establishing connection between wire             nication apparatus. This can prevent interference with com
   less communication apparatuses A and B, i.e., the process             munication with a connected wireless communication appa
   from step SA1 to step SAT and from step SB1 to step SB7               ratuS.
   is the same as that shown in FIG. 4.
      If a control unit 12 determines in step SAT in the wireless                             Third Embodiment
   communication apparatus A or in step SB7 in the wireless
   communication apparatus B that connection has been estab                The operation of a wireless communication apparatus
   lished, the control unit 12 notifies a mode setup unit 13 of          according to the third embodiment of the present invention
   connection establishment. In the wireless communication          10   will be described with reference to the flow chart of FIG. 6.
   apparatus A, the mode setup unit 13 sends, to the control unit           The process up to establishing connection between wire
   12 in accordance with a preset mode setup, an instruction for         less communication apparatuses A and B, i.e., the process
   shifting to the non-connectable mode in which the wireless            from step SA1 to step SAT and from step SB1 to step SB8
   communication apparatus. A sends a denial response to the             is the same as that shown in FIG. 4.
   received page. Also in the wireless communication appara         15
                                                                            If a control unit 12 determines in step SAT in the wireless
   tus B, the mode setup unit 13 sends to the control unit 12 an         communication apparatus A or in step SB7 in the wireless
   instruction for shifting to the non-connectable mode in               communication apparatus B that connection has been estab
   which the wireless communication apparatus B sends a                  lished, the control unit 12 notifies a mode setup unit 13 of
   denial response to the received page. Note that mode setup            connection establishment.
   tables 18 of the wireless communication apparatuses A and               In the wireless communication apparatus A, the mode
   Bare so set as to shift the mode to the non-connectable mode
   when connection is established between the wireless com               setup unit 13 sends, to the control unit 12 in accordance with
   munication apparatuses A and B. After connection is estab             a preset mode setup, an instruction for shifting to the
                                                                         non-connectable mode in which the wireless communication
   lished between the wireless communication apparatuses A               apparatus A does not respond to a received page. Also in the
   and B, the mode automatically shifts to the non-connectable      25
                                                                         wireless communication apparatus B, the mode setup unit 13
   mode in which the wireless communication apparatus sends              sends to the control unit 12 an instruction for shifting to the
   a denial response to a received page (SA8-1 and SB8-1).               non-connectable mode in which the wireless communication
      Assume that a third wireless communication apparatus C             apparatus B does not respond to a received page. Note that
   wants connection with the wireless communication appara               mode setup tables 18 of the wireless communication appa
                                                                    30
   tus B. Further, assume that the wireless communication                ratuses A and B are so set as to shift the mode to the
   apparatus C acquires the unique address of the wireless               non-connectable mode when connection is established
   communication apparatus B in advance by sending an                    between the wireless communication apparatuses A and B.
   inquiry and receiving an inquiry response before the wire             After connection is established between the wireless com
   less communication apparatus B shifts to the non-discover             munication apparatuses A and B, the mode automatically
   able mode.                                                       35
                                                                         shifts to the non-connectable mode in which the wireless
      In step SC1-1, the wireless communication apparatus C              communication apparatus does not respond to a received
   designates the unique address of the wireless communica               page (SA8-2 and SB8-2).
   tion apparatus B and transmits a page. In step SB10-1, the              Assume that a third wireless communication apparatus C
   wireless communication apparatus B receives the page from        40   wants connection with the wireless communication appara
   the wireless communication apparatus C. However, the                  tus B. Further, assume that the wireless communication
   wireless communication apparatus B has already shifted to             apparatus C acquires the unique address of the wireless
   the non-connectable mode. Thus, the control unit 12 gener             communication apparatus B in advance by sending an
   ates a page denial response data (SB10-1) and transmits the           inquiry and receiving an inquiry response before the wire
   page denial response (SB11-1).                                   45   less communication apparatus B shifts to the non-discover
      The wireless communication apparatus C receives the                able mode.
   page denial response from the wireless communication                     In step SC1-2, the wireless communication apparatus C
   apparatus B (SC2-1). Since connection establishment fails,            designates the unique address of the wireless communica
   the control unit 12 notifies a user interface 11 of the               tion apparatus B and transmits a page. In step SB10-2, the
   connection establishment failure, and causes the user inter      50   wireless communication apparatus B receives the page from
   face 11 to display the connection establishment failure               the wireless communication apparatus C. However, the
   (SC3-1). The wireless communication apparatus C cannot                wireless communication apparatus B has already shifted to
   establish connection with the wireless communication appa             the non-connectable mode. Thus, the control unit 12 does
   ratus B. The wireless communication apparatus C does not              not generate any response data to the page, and does not
   interfere with data transmission/reception between the wire      55   transmit any response to the page (SB11-1).
   less communication apparatuses A and B in steps SA9 and                  The wireless communication apparatus C does not receive
   SB9.
                                                                         any page response from the wireless communication appa
      After data transmission/reception between the wireless             ratus B. A time-out occurs (SC2-2), and the wireless com
   communication apparatuses A and B in steps SA9 and SB9                munication apparatus C fails to establish connection. Since
   ends, the mode setup, i.e., non-discoverable mode is cleared     60   the wireless communication apparatus C fails to establish
   in the wireless communication apparatus B (SB12). The                 connection with the wireless communication apparatus B,
   wireless communication apparatus B shifts to a normal                 the control unit 12 notifies a user interface 11 of the
   mode.                                                                 connection establishment failure, and causes the user inter
     The wireless communication apparatus according to the               face 11 to display the connection establishment failure
   second embodiment shifts to the non-connectable mode after       65   (SC3-2). The wireless communication apparatus C cannot
   connection establishment, and transmits a page denial signal          establish connection with the wireless communication appa
   in response to a page signal from another wireless commu              ratus B. The wireless communication apparatus C does not
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 129 of 175 Page ID #:129


                                                       US 7,127,210 B2
                                                                                                        10
   interfere with data transmission/reception between the wire             What is claimed is:
   less communication apparatuses A and B in steps SA9 and                 1. A wireless communication apparatus comprising:
   SB9.                                                                    a unit configured to set up a first mode where the wireless
      The wireless communication apparatus according to the                   communication apparatus is connectable with at least a
   third embodiment shifts to the non-connectable mode after                  first wireless communication device and a second wire
   connection establishment, and does not respond to a page                   less communication device and accepts a connection
   signal from another wireless communication apparatus. This                 request from the first wireless communication device;
   can prevent interference with communication with a con                  a unit configured to establish a connection with the first
   nected wireless communication apparatus.                                   wireless communication device;
      The above embodiments have separately described shift         10
                                                                           a unit configured to discover a completion of the connec
   to the non-connectable mode and shift to the non-discover
   able mode. However, the wireless communication apparatus                   tion with the first wireless communication device;
   may simultaneously shift to the non-connectable mode and                a unit configured to set up a second mode where, in a state
    non-discoverable mode after connection is established.                    where the connection with the first wireless communi
      In the above embodiments, the third wireless communi          15        cation device is established, the wireless communica
   cation apparatus C sends a paging signal to the wireless                   tion apparatus is inhibited from establishing a connec
                                                                              tion with the second wireless communication device
   communication apparatus B which receives a page from the                   with respect to a connection request from the second
   wireless communication apparatus A and responds to the
   page to establish the first connection with the wireless                   wireless communication device; and
   communication apparatus A. The present invention is also                a unit configured to shift from the first mode to the second
   effective when the wireless communication apparatus C                      mode when said discovering unit discovers the comple
   sends a paging signal to the wireless communication appa                   tion of the connection.
   ratus A because the wireless communication apparatus A                  2. An apparatus according to claim 1, wherein the second
   also automatically shifts to the non-discoverable mode or             mode includes a non-discoverable mode in which the wire
   non-connectable mode after the first connection is estab         25   less communication apparatus does not respond to an
   lished.                                                               inquiry signal.
      As described above, the wireless communication appara                 3. An apparatus according to claim 1, wherein the second
   tus of the embodiments establishes connection with another            mode includes a non-connectable mode in which no con
   wireless communication apparatus, and then automatically              nection is performed for paging.
   changes setups for an inquiry or paging with respect to still    30     4. An apparatus according to claim 2, wherein the second
   another wireless communication apparatus. The wireless                mode includes a non-discoverable mode based on a Blue
   communication apparatus does not send back any response               tooth standard.
   or sends back an inquiry denial response, thereby denying               5. An apparatus according to claim 3, wherein the second
   connection establishment with still another wireless com              mode includes a non-connectable mode based on a Blue
   munication apparatus except for the currently connected          35   tooth standard.
   wireless communication apparatus. This can prevent inter                6. An apparatus according to claim 4, wherein the non
   ference with communication between currently connected                discoverable mode does not respond to an inquiry.
   wireless communication apparatuses.
      The present invention is not limited to the above-de                 7. An apparatus according to claim 5, wherein the non
   scribed embodiments, and can be variously modified with          40   connectable mode sends a connection denial response to a
   out departing from the spirit and scope of the invention in           paging signal.
   practical use. The respective embodiments can be combined               8. An apparatus according to claim 5, wherein the non
   as properly as possible. In this case, the effects of the             connectable mode does not respond to a paging signal.
   combination can be obtained. The embodiments include                    9. An apparatus according to claim 1, wherein the second
   inventions on various stages, and various inventions can be      45   mode includes a non-discoverable mode and non-connect
   extracted by an appropriate combination of building com               able mode based on a Bluetooth standard.
   ponents disclosed. For example, when an invention is                    10. An apparatus according to claim 1, wherein the second
   extracted by omitting several building components from all            mode inhibits connection with another wireless communi
   the building components described in the embodiments, the             cation apparatus.
   omission is properly compensated for by a well-known             50
                                                                            11. An apparatus according to claim 1, wherein the second
   technique in practicing the extracted invention.                      mode is canceled after end of communication with the first
      AS has been described in detail, the present invention can         wireless communication device.
   provide a wireless communication apparatus which, after                  12. A communication method in a wireless communica
   establishing connection with another wireless communica               tion apparatus, comprising:
   tion apparatus, denies connection establishment with still       55
                                                                            setting up a first mode where the wireless communication
   another wireless communication apparatus except for the                     apparatus is connectable with at least a first wireless
   currently connected wireless communication apparatus, and                  communication device and a second wireless commu
   does not interfere with communication between the cur
   rently connected wireless communication apparatuses.                       nication device and accepts a connection request from
      Additional advantages and modifications will readily          60        the first wireless communication device;
   occur to those skilled in the art. Therefore, the invention in          establishing a connection with the first wireless commu
   its broader aspects is not limited to the specific details and             nication device;
   representative embodiments shown and described herein.                  discovering a completion of the connection with the
   Accordingly, various modifications may be made without                     wireless communication apparatus;
   departing from the spirit or scope of the general inventive      65     setting up a second mode where, in a state where the
   concept as defined by the appended claims and their equiva                 connection with the first wireless communication
   lents.                                                                     device is established, the wireless communication
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 130 of 175 Page ID #:130


                                                     US 7,127,210 B2
                               11                                                                 12
        apparatus is inhibited from establishing a connection          20. A communication apparatus comprising:
        with the second wireless communication device with             a unit configured to establish a connection with a first
        respect to a connection request from the second wire             wireless communication apparatus in a first mode; and
        less communication device; and                                 a unit configured to control a connection from a second
      shifting from the first mode to the second mode after the          wireless communication apparatus when the connec
         completion of the connection.                                   tion with the first wireless communication apparatus is
      13. A method according to claim 12, wherein the second             established, wherein the control unit sets up a second
    mode includes a non-discoverable mode in which the wire              mode in which, in a state where the connection with the
   less communication apparatus does not respond to an                   first wireless communication device is established, the
   inquiry signal.                                                10     communication apparatus is inhibited from establishing
      14. A method according to claim 12, wherein the second             a connection with the second wireless communication
   mode includes a non-connectable mode in which no con                  apparatus with respect to a connection request from the
   nection is performed for paging.                                      second wireless communication device.
      15. A method according to claim 13, wherein the second      21. A communication method in a communication appa
   mode includes a non-discoverable mode based on a Blue 15 ratus, comprising:
   tooth standard.                                                establishing a connection with a first wireless communi
      16. A method according to claim 14, wherein the second         cation apparatus in a first mode; and
   mode includes a non-connectable mode based on a Blue           controlling a connection from a second wireless commu
   tooth standard.                                                   nication apparatus when the connection with the first
      17. A method according to claim 15, wherein the wireless      wireless communication apparatus is established,
   communication apparatus does not respond to an inquiry           wherein controlling includes setting up a second mode
   signal from another wireless communication apparatus after        in which, in a state where the connection with the first
   shifting to the second mode.                                     wireless communication device is established, the com
      18. A method according to claim 16, wherein the wireless       munication apparatus is inhibited from establishing a
   communication apparatus sends a connection denial 25              connection with the second wireless communication
   response to a paging signal after shifting to the second mode.    apparatus with respect to a connection request from the
      19. A method according to claim 16, wherein the wireless       second wireless communication device.
   communication apparatus does not respond to a paging
   signal after shifting to the second mode.
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 131 of 175 Page ID #:131




                             EXHIBIT 8
            Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 132 of 175 Page ID #:132
Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link



                              TP-Link Bluetooth Music Receiver




                                                                                                       1
             Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 133 of 175 Page ID #:133
Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link




20. A communication apparatus comprising:
a unit configured to establish a connection with a first wireless communication apparatus in a first mode;
    and
a unit configured to control a connection from a second wireless communication apparatus when the
    connection with the first wireless communication apparatus is established, wherein the control unit
    sets up a second mode in which, in a state where the connection with the first wireless
    communication device is established, the communication apparatus is inhibited from establishing a
    connection with the second wireless communication apparatus with respect to a connection request
    from the second wireless communication device.




                                                                                                             2
            Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 134 of 175 Page ID #:134
Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link

      Claim 20
                         Source: https://static.tp-link.com/res/down/doc/HA100_V1_UG.pdf “HA100 User Guide Bluetooth
                         Music Receiver ”
20. A communication
device, comprising:




                                                                                                                       3
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 135 of 175 Page ID #:135
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link

    Claim 20
                      https://fccid.io/TE7HA100/Internal-Photos/Internal-Photos-rev-2-2639363


a unit configured
to establish a
connection with
a first wireless
communication
apparatus in a
first mode; and




                                                                                                        4
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 136 of 175 Page ID #:136
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link

    Claim 20
                      Source: https://www.youtube.com/watch?v=ovHoseuc_qs “TP-Link HA100 Bluetooth Music Receiver”


a unit configured
to establish a
connection with
a first wireless
communication
apparatus in a
first mode; and




                                                                                                                     5
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 137 of 175 Page ID #:137
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link

    Claim 20
                      Source: https://static.tp-link.com/res/down/doc/HA100_V1_UG.pdf “HA100 User Guide Bluetooth Music
                      Receiver ” Page 2
a unit configured
to establish a
connection with
a first wireless
communication
apparatus in a
first mode; and




                                                                                                                          6
                 Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 138 of 175 Page ID #:138
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link

     Claim 20
                           https://fccid.io/TE7HA100/Internal-Photos/Internal-Photos-rev-2-2639363/
a unit configured
to control a
connection from
a second
wireless
communication
apparatus when
the connection
with the first
wireless
communication
apparatus is
established




                                                                                                        7
              Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 139 of 175 Page ID #:139
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link

     Claim 20
                      https://stackoverflow.com/questions/27360338/how-does-bluetooth-pairing-work
wherein the
control unit sets
up a second
mode in which, in
a state where the
connection with
the first wireless
communication
device is
established




                                                                                                        8
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 140 of 175 Page ID #:140
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by TP-Link

     Claim 20
                         Source: https://static.tp-link.com/res/down/doc/HA100_V1_UG.pdf “HA100 User Guide Bluetooth Music
the communication        Receiver ” Page 3
apparatus is
inhibited from
establishing a
connection with the
second wireless
communication
apparatus with
respect to a
connection request       https://stackoverflow.com/questions/27360338/how-does-bluetooth-pairing-work

from the second
wireless
communication
device.


                                                                                                                             9
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 141 of 175 Page ID #:141




                             EXHIBIT 9
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 142 of 175 Page ID #:142
                                                                                                       USOO7460477B2


   (12) United States Patent                                                           (10) Patent No.:               US 7.460,477 B2
          Yata et al.                                                                  (45) Date of Patent:                       Dec. 2, 2008

   (54) ELECTRONIC APPARATUS WITH                                                  2002/0081977 A1* 6/2002 McCune, Jr. ............... 455/67.1
           COMMUNICATION DEVICE                                                    2002/0131388 A1        9, 2002 Amiet al.
                                                                                   2002/0191722 A1       12/2002 Naruse
   (75) Inventors: Koichi Yata, Hanno (JP): Tooru                                  2.9. E. A. g3. R" al. ...                               - - - 23:
                          Homma, Kawaguchi (JP)                                                                     SaC                     - --
                                                                                   2004.0004973 A1*       1 2004 Lee ........              ... 370,445
                                     O O                                           2004/0023660 A1*       2, 2004 Ben-Eli .....            ... 455,450
   (73) Assignee: Kabushiki Kaisha Toshiba, Tokyo (JP)                             2004/O125797 A1*       7/2004 Raisanen ..........       ... 370,389
                                                                                   2004/O233903 A1* 11/2004 S                 tal. ............. 370,389
   (*) Notice:            Subject to any disclaimer, the term of this                                      aaaS (a
                          patent is extended or adjusted under 35                             FOREIGN PATENT DOCUMENTS
                          U.S.C. 154(b) by 834 days.                              EP              1133 095 A1       9, 2001
   (21) Appl. No.: 10/795.974                                                                               (Continued)
                                                                                                    OTHER PUBLICATIONS
   (22) Filed:            Mar 10, 2004                                            English-language translation of Notification of Reasons for Rejec
                                                                                  tion. i
                                                                                       d by the J   Patent Offi illed Feb. 8, 2005, f
   (65)                       Prior Publication Data                                 ity          anywhere                    4 to
           US 2004/0240418 A1                Dec. 2, 2004                         Notification of Reasons for Rejection mailed May 31, 2005, by the
                                                   s                              Japanese Patent Office, in Japanese Patent Application No. 2003
   (30)           Foreign Application Priority Data                               O65410.
                                                                                                            Continued
     Mar. 11, 2003 (JP) ............................. 2003-065410                                    (Continued)
                                                                                  Primary Examiner Ricky Ngo
   (51) Int. Cl.                                                                  Assistant Examiner Wei-Po Kao
        H04L 2/26                   (2006.01)                                     (74) Attorney, Agent, or Firm—Finnegan, Henderson,
   (52) U.S. Cl. ...................................................... 370/232   Farabow, Garrett & Dunner, L.L.P.
   (58) Field of Classification Search ................. 370/389,                 (57)                  ABSTRACT
                  370/252, 347, 280, 336, 223,431, 412,329,
                  370/335, 229, 230, 232, 310: 375/242, 262,                      An electronic apparatus executes communication with an
                                  375/295; 709/241, 238,239                       external device. The electronic apparatus includes an encoder
        See application file for complete search history.                         that encodes source data to generate transmission data, a
                                                                                  communication device that transmits the transmission data
   (56)               References Cited                                            generated by the encoder to the external device, a unit that
                                                                                  determines the quality with which the source data is to be
                    U.S. PATENT DOCUMENTS                                         transmitted, in accordance with the type of the Source data,
          6.163.577 A * 12/2000 Ekudden et al. ............. 375,242              and a unit that controls the encoder to vary an amount of the
          6,385.183 B1* 52003 Takeo. 370,335                                      generated transmission data on the basis of the determined
          6,782.429 Bix 8.2004 Kisor. 709/241                                     quality.
          6,879,572 B1 * 4/2005 Ayyagari et al. ............ 370,335
          6,920, 118 B2 7/2005 Lozano ....................... 370,329                             12 Claims, 6 Drawing Sheets




                         WRELESS HEADSET
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 143 of 175 Page ID #:143


                                     US 7.460.477 B2
                                          Page 2

          FOREIGN PATENT DOCUMENTS                              OTHER PUBLICATIONS
   JP         T-222.245    8, 1995             Communication dated Dec. 19, 2007 from the European Patent
   JP      2002-112383     4/2002              Office transmitting European Search Report for European Patent
   JP      2002-288073    10, 2002             Application No. 04005002.3.
   JP      2002-290974    10, 2002
   JP      2002-344941    11, 2002             * cited by examiner
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 144 of 175 Page ID #:144


   U.S. Patent          Dec. 2, 2008   Sheet 1 of 6          US 7.460.477 B2
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 145 of 175 Page ID #:145


   U.S. Patent          Dec. 2, 2008   Sheet 2 of 6          US 7.460.477 B2




                                                |WZS8T1
                          808
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 146 of 175 Page ID #:146


    U.S. Patent         Dec. 2, 2008      Sheet 3 of 6       US 7.460.477 B2



                                                           300


           TPE EAudio              DRIVE/INTERNET          QUALITY
                                          HDD                    x
                                    CD/DVD DRIVE
                                INTERNET (HIGH-SPEED)
                                INTERNET (LOW-SPEED)             X
                                       NON-DEFINED

                                        F. G. 3


                               AUDIO PLAYER
                            72            73
                      CD/DVD INTERNET
                 SONG TITLEARTIST NAME ALBUM TITLE




                                                                     70
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 147 of 175 Page ID #:147


    U.S. Patent            Dec. 2, 2008     Sheet 4 of 6                US 7.460.477 B2



           303

                     AUDIO PLAYER                                 302           300
           301
                                                       CONNECTION         QUALITY
                           OS                          CONTROL            DEFINITION
                                                       PROGRAM            TABLE

           NETWORK
           DRIVER               SOUND      SOUND                ENVIRONMENT - 306
                  CD/DVD        DRIVER 1 DRIVER #2              SETTING
        308,      DRIVER                     CODEC              INFORMATION
                     HDD         304
            309      DRIVER                305                          307
                    310
                                          AV PROTOCOL DRIVER

                                                 BUS DRIVER
                                                              PROTOCOL STACK



                                108


                                 109
                                  V


                                          WRELESS COMMUNICATION DEVICE

                     F.G. 5
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 148 of 175 Page ID #:148


    U.S. Patent         Dec. 2, 2008        Sheet 5 of 6                US 7.460.477 B2




                   WRELESS             SYSTEM              AUDIO
                   COMMUNICATION       CONTROLLER          REPRODUCING
                   DEVICE                                  UNIT
                                          CODEC

                                           801
          20
                 WRELESS HEADSET


                   PERSONAL COMPUTER                               HEADSET          20

                                   CONNECTION ESTABLISHED




               FIG. 7
                                CONNECTION CONTROL PROCESS

                             ENVIRONMENT SETTING FOR TRANSPORT
                             CHANNEL                                         S201
                             (CODEC, SAMPLING FREQUENCY)

                                   LOAD SOUND DRIVER 2                       S202



               Figg II semines |       STREAMING PROCESS
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 149 of 175 Page ID #:149


   U.S. Patent               Dec. 2, 2008         Sheet 6 of 6        US 7.460.477 B2




         AUDIO QUALITY SETTING PROCESS
            S101
                        IS
                   CAERALINKED
                              6
            S103
                    NUMBER OF
                      LINKS
                                                                    DETERMINE
            S104                                                    LOW-QUALITY
                    DATA FROM
                      HDD?

            S106
                     DATA FROM
                     CD/DVD?
                             NO
            S108
                    DATA FROM               YES
                     INTERNET




             S112 - S=5
          REFER TO QUALITY DEFINITION
          TABLE AND DETERMINE QUALITY



                                                            FG. 8
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 150 of 175 Page ID #:150


                                                         US 7,460,477 B2
                                  1.                                                                      2
              ELECTRONIC APPARATUS WITH                                              BRIEF DESCRIPTION OF THE SEVERAL
                COMMUNICATION DEVICE                                                       VIEWS OF THE DRAWING

              CROSS-REFERENCE TO RELATED                                      The accompanying drawings, which are incorporated in
                     APPLICATIONS                                     5    and constitute a part of the specification, illustrate embodi
                                                                           ments of the invention, and together with the general descrip
      This application is based upon and claims the benefit of             tion given above and the detailed description of the embodi
   priority from prior Japanese Patent Application No. 2003                ments given below, serve to explain the principles of the
                                                                           invention.
   65410, filed Mar. 11, 2003, the entire contents of which are       10      FIG. 1 shows an external appearance of a computer accord
   incorporated herein by reference.                                       ing to an embodiment of the present invention;
                                                                              FIG. 2 is a block diagram showing the system configura
             BACKGROUND OF THE INVENTION                                   tion of the computer of FIG. 1;
                                                                              FIG. 3 shows an example of a quality definition table for
     1. Field of the Invention                                        15   use in the computer of FIG. 1;
      The present invention relates to an electronic apparatus                FIG. 4 shows an example of an operation screen of an audio
   capable of transmitting content Such as music to an external            player that is used in the computer of FIG. 1;
   device, and also relates to a program for controlling commu                FIG. 5 is a block diagram showing the software scheme of
   nication of the electronic apparatus.                                   the computer of FIG. 1;
                                                                              FIG. 6 is a block diagram showing a system configuration
      2. Description of the Related Art                                    of a headset that is wirelessly connected to the computer of
      In recent years, attention has been paid to BluetoothTM as a         FIG. 1:
   wireless communication technology. BluetoothTM is a low                   FIG. 7 illustrates a connection establishing process that is
   cost, low-power-consumption, short-range wireless commu                 executed by the computer of FIG. 1;
   nication technology suitable for mobile devices. BluetoothTM       25     FIG. 8 is a flow chart illustrating the procedure of a trans
   is used for mutual connection of various mobile information             mission quality determination process that is executed by the
   devices owned by individual users. The devices are wirelessly           computer of FIG. 1; and
   connected and, compared to conventional connection by                     FIG. 9 is a flow chart illustrating the procedure of a con
   wire, the devices can be connected more freely, simply and              nection control process that is executed by the computer of
   easily.                                                            30   FIG 1.
      Jpn. Pat. Appln. KOKAI Publication No. 2002-112383
   discloses a system wherein music data is transmitted from an                DETAILED DESCRIPTION OF THE INVENTION
   electronic device such as a music player to headphones by
   means of radio signals.                                                   An embodiment of the present invention will now be
      In order to reproduce music with high quality by head           35   described with reference to the accompanying drawings.
   phones, it is necessary to enhance the quality relating to                FIG. 1 shows the external appearance of an electronic
   transmission of music data from the electronic apparatus to             apparatus 10 according to an embodiment of the invention.
   the headphones.                                                         The electronic apparatus 10 is configured to be able to trans
                                                                           mit a stream of content data Such as music or Voice to an
      BluetoothTM is capable of not only one-to-one communi           40   external device 20 by radio signals. The electronic apparatus
   cation, but also one-to-many communication. However, the                10 is realized by, e.g. a notebook personal computer, and the
   wireless communication bandwidth of Bluetooth'TM is nar
   row. If music data is always transmitted with high quality,             external device 20 is realized by, e.g. a wireless headset.
   almost all the available wireless communication bandwidth is
                                                                             The personal computer 10 is a portable information pro
                                                                           cessing apparatus that can be driven by a battery. The personal
   occupied by the transmission of music data. In this case. Such     45   computer 10 comprises a computer main body 11 and a dis
   a problem arises that wireless communication between a                  play unit 12. A display device composed of an LCD (Liquid
   device other than the headphones and the electronic apparatus           Crystal Display) 121 is built in the display unit 12. The LCD
   is disrupted.                                                           121 is positioned at a substantially central area of the display
      In addition, in a case where the quality of music source             unit 12.
   itself is low, even if the music source is transmitted with high   50      The display unit 12 is attached to be rotatable between an
   quality using a wide communication bandwidth, an excess                 open position and a closed position relative to the computer
   communication bandwidth is uselessly occupied without                   main body 11. The computer main body 11 has a thin box
   enhancing the quality of music reproduced from the head                 shaped casing. A keyboard 13, a power button 14 for power
   phones.                                                                 ing on/off the computer 10, a touchpad (pointing device) 15,
                                                                      55   etc. are disposed on the upper Surface of the computer main
           BRIEF SUMMARY OF THE INVENTION                                  body 11.
                                                                              A wireless communication device is built in the computer
      According to an embodiment of the present invention,                 main body 11. The wireless communication device enables
   there is provided an electronic apparatus comprising: an                the computer 10 to perform communication with the headset
   encoder that encodes source data to generate transmission          60   20. The wireless communication device is configured to
   data; a communication device that transmits the transmission            execute wireless communication according to BluetoothTM
   data generated by the encoder to an external device; means for          standards.
   determining a quality with which the source data is to be                 In Bluetooth TM, SS-FH (spread spectrum-frequency hop
   transmitted, in accordance with a type of the source data; and          ping) is used. 79 frequency channels are assigned to a fre
   means for controlling the encoder to vary an amount of the         65   quency band of 2.4 GHz at intervals of 1 MHz. Frequency
   generated transmission data on the basis of the determined              channels that are used are Switched in units of a packet
   quality.                                                                according to a hopping sequence (“frequency hopping).
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 151 of 175 Page ID #:151


                                                        US 7,460,477 B2
                                 3                                                                      4
      Wireless communication by BluetoothTM standards is real             108, a sound controller 110, an audio amplifier 111, a speaker
   ized by a master-slave configuration, and the master manages           112, a modem 113, a LAN controller 114, a BIOS-ROM 115,
   the hopping sequence. Using the same hopping pattern, a                and an embedded controller/keyboard controller IC (EC/
   wireless network called “piconet can beformed between one              KBC) 116.
   master and seven or less slaves.                                          The CPU 101 is a processor provided to control the opera
     The computer 10 can perform, using the wireless network,             tions of the computer 10. The CPU 101 executes an operating
   communication with a mouse 30 and a camera 40 as well as               system (OS) 301 and various application/utility programs,
   with the headset 20.                                                   which are loaded in the main memory 103 from the hard disk
      A connection control program, which is a program for                drive (HDD) 106. The CPU 101 also executes a BIOS (Basic
   controlling wireless communication with the headset 20, is        10   Input/Output System) stored in the BIOS-ROM 115.
   installed in the computer 10. The connection control program              In the computer 10, the aforementioned connection control
   controls transmission of audio data such as music from the             program 302 is pre-installed as one of the utility programs. In
   computer 10 to the headset 20.                                         addition, an audio player 303 is installed as an application
     In BluetoothTM, Advanced Audio Distribution Profile                  program for reproducing audio data.
   (A2DP) is specified as a profile relating to transmission of      15      Using a quality definition table 300 as shown in FIG.3, the
   audio data. A2DP is a function for transmitting audio data             connection control program 302 determines an optimal trans
   Such as music with high quality. In A2DP, an asynchronous              mission quality that is Suited to Source data to be reproduced.
   data channel called ACL (Asynchronous Connectionless) is               The quality definition table 300 prestores definition informa
   utilized.                                                              tion indicative of whether high-quality transmission is nec
     The connection control program controls the wireless com             essary or not in association with each type (S=1 to 5) of source
   munication device, thereby executing a procedure for trans             data. In the quality definition table 300 shown in FIG. 3, “O'”
   mitting audio data to the headset 20 using A2DP. Not only              designates source data requiring high-quality transmission,
   various audio data stored as music data files in the computer          and 'X' designates source data requiring only low-quality
   10 but also various audio data received from the Internet 60           transmission. The value (S) is used as an index for searching
   via a modem 50 can be used as source data of audio that is to     25   the quality definition table 300.
   be reproduced by the headset 20.                                          In the present embodiment, the type of source data is clas
      The connection control program has a function of dynami             sified according to the type of input device (disk drives and
   cally varying the quality, with which Source data is to be             Internet-connection communication devices) that inputs
   transmitted, in accordance with the type of the source data            source data to be reproduced by the headset 20.
   that is to be reproduced by the headset 20. The source data is    30      Normally, audio data stored in storage media Such as CDS/
   converted to transmission data having a predetermined trans            DVDs is high-quality data that is specifically used for music,
   mission data format, and the transmission data is transmitted          which is sampled at a high sampling frequency. On the other
   as an audio stream from the computer 10 to the headset 20.             hand, the quality of audio data stored in the HDD is, in many
   The transmission data is generated by encoding the Source              cases, not so high. Thus, the connection control program 302
   data by an encoder provided in the computer 10.                   35   classifies the type of source data according to the type of disk
      The quality relating to the transmission of Source data             drive in which the source data to be reproduced by the headset
   becomes higher as the amount of transmission data generated            20 is stored.
   from the source data increases. The connection control pro               In addition, in the case where audio data such as music
   gram controls the operation of the encoder, thereby varying            data, which is present on Web sites on the Internet 60, is used
   the quality relating to the transmission of Source data. The      40   as source data, the connection control program 302 classifies
   generated transmission data is sent from the computer 10 to            the type of the Source data (data requiring high-quality trans
   headset 20 as an audio stream.                                         mission or data requiring only low-quality transmission)
     The headset 20 is an output device that reproduces an audio          according to whether the communication line for connection
   stream of music, Voice, etc., which is sent from the computer          to the Internet 60 is a broadband high-speed line or a narrow
   10 by radio, and generates Sound corresponding to the audio       45   band low-speed line.
   data of the audio stream. In the headset 20, the audio stream             In this way, in accordance with the type of input device for
   sent from the computer 10 is decoded and the decoded audio             inputting source data, the optimal transmission quality for the
   stream is reproduced.                                                  Source data is determined.
      The headset has a microphone 205. A signal of voice of the             In practice, in order to prevent adverse effect on commu
   user, which is input from the microphone 25, is transmitted by    50   nication between the computer 10 and a device other than the
   radio to the computer 10.                                              headset 20, the connection control program 302 determines
      The headset 20 is configured to be wearable on the head of          the quality with which source data is to be transmitted, taking
   the user. The headset 20, as shown in FIG.1, comprises ahead           into account not only the type of the Source data to be sent to
   arm 201, and two earpads 202 and 203 provided at both ends             the headset 20, but also the number of devices (number of
   of the head arm 201. Each ear pad 202, 203 incorporates a         55   links) currently wirelessly connected to the computer 10 and
   speaker. Each ear pad 202, 203 functions as a speaker unit.            the establishment/non-establishment of the link with the cam
     In the state in which the headset 20 is worn on the head of          era 40.
   the user, the two ear pads 202 and 203 cover the right and left          If high-quality transmission of audio data to the headset 20
   ears of the user. One end of a microphone arm 204 is attached          is started in the state in which video data such as motion video
   to the pad 202, and the other end thereof is provided with the    60   is being transmitted from the camera 40 to the computer 10,
   microphone 205.                                                        faults such as halt of video data transmission or halt of audio
      Next, the system configuration of the computer 10 is                data transmission may occur. In the present embodiment,
   described referring to FIG. 2.                                         when the number of links is relatively large or when the link
      The computer 10, as shown in FIG. 2, comprises a CPU                between the camera 40 and computer 10 is established, the
   101, a host bridge 102, a main memory 103, a display con          65   transmission quality of audio data is set at a low level.
   troller 104, a system controller 105, a hard disk drive (HDD)            In FIG. 2, the host bridge 102 is a bridge device that
   106, a CD/DVD drive 107, a wireless communication device               connects the local bus of the CPU 101 and the system con
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 152 of 175 Page ID #:152


                                                          US 7,460,477 B2
                                  5                                                                        6
   troller 105. The host bridge 102 includes a memory controller              The wireless communication device 108 comprises a hard
   that controls access to the main memory 103. The display                 ware logic (baseband unit 504 and RF unit 505) and firmware
   controller 104 controls the LCD 121 that is used as a display            for controlling the hardware logic. The firmware includes a
   monitor of the computer 10.                                              BUS driver 501, an HCI (Host Control Interface) driver 502,
      The system controller 105 controls each device on a PCI               and an LMP (Link Management Protocol) 503. The BUS
   (Peripheral Component Interconnect) bus 1 and each device                driver 501 is a driver for connecting the wireless communi
   on an ISA (Industry Standard Architecture) bus 2. The system             cation device 108 to a bus Such as a USB. The HCI driver 502
   controller 105 includes an IDE (Integrated Drive Electronics)            is a driver for communication with the host (computer 10) via
   controller for controlling the HDD 106 and CD/DVD drive                  the BUS driver 501. The LMP503 is a driver for controlling
   107. The system controller 105 also includes a USB (Univer          10   a physical wireless link.
   sal Serial Bus) controller 200. The wireless communication                  As programs for controlling the wireless communication
   device 108 is connected to the USB controller 200.                       device 108, protocol drivers 307 that constitute a protocol
     The wireless communication device 108 is a device for                  stack, as well as the aforementioned connection control pro
   executing wireless communication and includes a baseband                 gram 302, are installed in the computer 10.
   unit and an RF (Radio Frequency) unit. The RF unit performs         15
                                                                               The protocol drivers 307 include an AV (audio/video) pro
   transmission/reception of a radio signal viaanantenna (ANT)              tocol driver 401 for executing an A2DP function, an HCI
   109. The wireless communication device 108 is configured to              driver 402 for executing communication with the wireless
   execute wireless communication according to BluetoothTM                  communication device 108, and a BUS driver 403 for con
   standards.                                                               trolling the bus such as a USB, to which the wireless com
      The sound controller 110 is a device for reproducing audio            munication device 108 is connected.
   data. An audio signal output from the sound controller 110 is               The connection control program 302 controls the wireless
   delivered to the speaker 112 via the audio amplifier (AMP)               communication device 108 via the protocol drivers 307,
   111. The speaker 112 produces the audio signal as sound. The             thereby controlling transmission of an audio data stream
    modem 113 and LAN controller 114 are wired communica
   tion devices capable of communicating with the Internet 60.         25
                                                                            between the headset 20 and computer 10. The connection
                                                                            control program 302 can acquire, through the operating sys
   The modem 113 is used to connect the computer 10 to the                  tem (OS) 301 or audio player 303, information indicative of
   Internet 60 via a narrowband low-speed communication line                the type of the input device for inputting source data to be
   such as a telephone line. The LAN controller 114 is used to              reproduced (i.e. the type of disk drive in which the source data
   connect the computer 10 to the Internet 60 via a broadband               is stored, or the type of communication device for receiving
   high-speed communication line such as an xDSL or CATV.              30
                                                                            the source data from the Internet). The connection control
   The LAN controller 114 is connected to the xDSL or CATV
                                                                            program 302 determines the transmission quality of Source
   via the modem 50 designed for the xDSL or CATV.                          data in accordance with the type of input device, by referring
      The embedded controller/keyboard controller IC (EC/                   to the quality definition table 300.
   KBC) 116 is a one-chip microcomputer in which an embed                      In the connection establishing process for streaming, the
   ded controller for power management and a keyboard con              35
   troller for controlling the keyboard (KB) 13 and touchpad 15             connection control program 302 sets communication condi
   are integrated. The keyboard (KB) 13 and touchpad 15 are                 tions associated with the determined transmission quality in
   user interface units that can be operated by the user. In addi           the computer 10 and headset 20 in accordance with the con
   tion, the embedded controller/keyboard controller IC (EC/                tent of an environment setting information file 306.
   KBC) 116 has a function of powering on/off the computer 10          40      The setting of the communication conditions is executed
   in accordance with the operation of the powerbutton 14 by the            using predetermined parameter information associated with
   USC.                                                                     the high-quality transmission and low-quality transmission.
      FIG. 4 shows an example of an operation screen 70 that is             The parameter information is information for controlling the
   displayed on the LCD 121 by the audio player 303.                        data amount of transmission data to be generated, and it
      The operation screen 70 is a window that prompts the user        45   includes various parameter values such as the kind of
   to select audio data to be reproduced. The operation screen 70           CODEC (COmpression/DECompression) to be applied to
   contains an HDD tab 71, a CD/DVD tab 72, an INTER                        Source data that is to be transmitted, and the value of sampling
   NET tab 73, and a PLAY button 75.                                        frequency used in the CODEC.
      If the user clicks the HDD tab 71, a source data list 74 that            The parameter indicative of the kind of CODEC designates
   presents audio data items stored in the HDD 106 is displayed.       50   a compression-encoding scheme by which the source data to
   The Source data list 74 displays the song title, artist name, and        be transmitted is compressed and encoded. This parameter is
   album title for each of audio data. The user can select audio            set in an encoder provided in the computer 10 and in a decoder
   data to be reproduced, from the source data list 74. Similarly,          provided in the headset 20. The parameter indicative of the
   when the user clicks the CD/DVD tab 72, a source data list               value of sampling frequency designates a sampling frequency
   that presents audio data items stored in the CD/DVD drive           55   with which source data to be transmitted should be sampled in
   107 is displayed. When the user clicks the INTERNET tab                  the encoding of the Source data. This parameter, too, is set in
   73, a source data list that presents audio data items stored on          the encoder provided in the computer 10 and in the decoder
   a specific Web site on the Internet 60 is displayed.                     provided in the headset 20.
      When the PLAYI button 75 is clicked, the audio player                    The environment setting information file 306 prestores
   303 starts reproduction of audio data selected from the source      60   parameter information corresponding to the communication
   data list. The connection control program 302 cooperates                 conditions for realizing high-quality transmission (e.g. the
   with the audio player 303 and executes a process for trans               kind of compression-encoding scheme applied to source data,
   mitting a stream of the selected audio data to the headset 20            and the value of sampling frequency), and parameter infor
   with a transmission quality corresponding to the type of the             mation corresponding to the communication conditions for
   selected audio data.                                                65   realizing low-quality transmission (e.g. the kind of compres
     The scheme of software for controlling the wireless com                Sion-encoding scheme applied to Source data, and the value of
   munication device 108 is described referring to FIG. 5.                  sampling frequency).
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 153 of 175 Page ID #:153


                                                          US 7,460,477 B2
                                  7                                                                         8
      In the high-quality streaming, for example, low-compres               702 controls the wireless communication device 701, audio
   sion SBC (Subband Codec) is used. SBC is a compression                   reproducing unit 703 and audio input unit 704. The system
   encoding/decoding scheme for music data, and a relatively                controller 702 includes a CODEC 801 associated with both
   large amount of arithmetic operations are needed for the                 SBC and u-law. The CODEC 801 includes a decoder that
   processing of SBC. SBC, however, realizes sound reproduc                 decodes transmission data received as an audio stream, using
   tion with a Sufficiently high quality on the receiving side.             SBC and L-law, and an encoder that encodes an input Voice
      In the low-quality streaming, SBC or L-law is used. The               signal from the microphone 205, using SBC and L-law, and
   value of sampling frequency used in SBC in the low-quality               generates transmission data.
   streaming is lower than the value of sampling frequency used               The wireless communication device 701, like the wireless
   in SBC in the high-quality streaming.                               10   communication device 108 of computer 10, executes wireless
      AS has been described above, the parameter values such as             communication on the basis of a procedure according to
   the kind of CODEC and the sampling frequency are varied                  BluetoothTM Standards.
   according to the quality with which the Source data is to be                The audio reproducing unit 703 executes a data reproduc
   transmitted. As a result, the data amount of transmission data           tion process for streaming reproduction. That is, in this pro
   (the bit rate of transmission data), which is generated from the    15   cess, while receiving an audio data stream sent from the
   Source data, is changed. Accordingly, the wireless communi               computer 10 via the wireless communication device 701 and
   cation bandwidth required for transmitting source data is                system controller 702, the audio reproducing unit 703 con
   varied in accordance with the type of the source data.                   verts the audio data stream to an electric signal that can be
      A network driver 308 is a driver program for controlling the          output as sound from a speaker 206 built in each pad 202,203.
    modem 113 or LAN controller 114 under control of the OS                 The audio input unit 704 converts an analog voice signal input
   301. Audio data, which is transferred by streaming from a                from the microphone 205 to a digital signal, and delivers it to
   Web site on the Internet 60, is sent to the audio player 303 via         the system controller 702.
   the network driver 308 and OS 301. A CD/DVD driver 309 is                   FIG. 7 illustrates a connection establishing process that is
   a driver program for controlling the CD/DVD drive 107 under              executed by the connection control program 302.
   control of the OS 301. Audio data, which is read out of the         25      The connection control program 302 controls the wireless
   CD/DVD drive 107, is sent to the audio player 303 via the                communication device 108 of the computer 10, thereby start
   CD/DVD driver 309 and OS 301. An HDD driver 310 is a                     ing the connection establishing process. In the connection
   driver program for controlling the HDD 106 under control of              establishing process, a procedure is executed for establishing
   the OS 301. Audio data, which is read out of the HDD 106, is             a channel (transport channel) for transmitting audio data Such
   sent to the audio player 303 via the HDD driver 310 and OS          30   as music from the computer 10 to the headset 20.
   301.                                                                        In the connection establishing process, the connection con
      Audio data reproduced by the audio player 303 is delivered            trol program 302 sets communication conditions, which cor
   to a first sound driver 304 or a second sound driver 305 via the         respond to the transmission quality determined according to
   OS 301. The first sound driver 304 is a driver for controlling           the type of source data, in both the computer 10 and headset
   the sound controller 110. The first sound driver 304 is used to     35   20 that are to function as stream end points of the transport
   produce sound from the built-in speaker 112 via the sound                channel. In this case, in practice, the connection control pro
   controller 110. The second sound driver 305 is a driver for              gram 302 detects the capability of the headset 20 by executing
   transmitting audio data to the wireless communication device             negotiation with the headset 20. Based on the detected capa
   108 via the protocol drivers 307.                                        bility of the headset 20 and the communication conditions
      The connection control program 302 loads the second              40   corresponding to the determined transmission quality, the
   sound driver 305 in the main memory 103, thereby to send                 connection control program 302 determines optimal commu
   audio data to the headset 20 by radio. The second sound driver           nication conditions that are to be actually used in the data
   305 has a higher priority than the first sound driver 304.               streaming between the computer 10 and headset 20, and sets
      After the second sound driver 305 is loaded, the second               the optimal communication conditions in the CODEC 600 of
   sound driver 305, in place of the first sound driver 304, is used   45   computer 10 and the CODEC 801 of headset 20.
   by the OS 301. Accordingly, audio data reproduced by the                    The computer 10 functions as a source device for transmit
   audio player 303 is sent to the second sound driver 305 as               ting audio data via the established transport channel. The
   source data to be reproduced by the headset 20.                          headset 20 functions as a sink device for receiving audio data
      The Second Sound driver 305 has a CODEC 600 associated                that is transmitted via the established transport channel. Fol
   with both SBC and u-law. The CODEC 600 includes an                  50   lowing the connection establishing process, a process
   encoder, which encodes source data using SBC or L-law and                (streaming) for transmitting audio data from the computer 10
   generates transmission data, and a decoder that decodes trans            to the headset 20 is started.
   mission data using SBC and L-law.                                          The procedure of a transmission quality determination pro
      The second sound driver 305 encodes source data (audio                cess that is executed by the connection control program 302
   data) to be transmitted, using a compression-encoding               55   will now be described with reference to a flow chart of FIG.8.
   scheme designated by the connection control program 302.                   The connection control program 302 executes the follow
   The value of sampling frequency used in the compression                  ing transmission quality determination, for example, when
   encoding process is also designated by the connection control            the PLAYI button 75 on the operation screen.70 shown in
   program 302. By the encoding process, the source data is                 FIG. 4 is clicked.
   converted to transmission data.                                     60     To start with, the connection control program 302 deter
      Referring now to FIG. 6, the system configuration of the              mines whether the camera 40 is wirelessly connected to the
   headset 20 is described.                                                 computer 10, that is, whether a link between the wireless
      The headset 20, as shown in FIG. 6, comprises a wireless              communication device 108 and camera 40 is established (step
   communication device 701, a system controller 702, an audio              S101). If the camera 40 is wirelessly connected to the com
   reproducing unit 703, and an audio input unit 704.                  65   puter 10 (YES in step S101), the connection control program
      The system controller 702 is a processor provided to con              302 determines a low quality as the quality for transmission of
   trol the operations of the headset 20. The system controller             audio data to be reproduced, which is selected on the opera
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 154 of 175 Page ID #:154


                                                          US 7,460,477 B2
                                                                                                          10
   tion screen 70 (step S102). Thus, the transmission of image              cation conditions (the kind of CODEC and the value of sam
   data Such as moving image between the camera 40 and the                  pling frequency), which correspond to the quality determined
   computer 10 is executed with priority over transmission of the           by the process of FIG. 8, in the computer 10 and headset 20
   audio data from the computer 10 to the headset 20.                       that are to function as stream end points of the transfer chan
      If the camera 40 is not wirelessly connected to the com               nel (step S201). Specifically, the parameter information
   puter 10 (NO in step S101), the connection control program               including the kind of CODEC and the value of sampling
   302 determines whether the number of devices (number of                  frequency is set in the CODEC 600 of the computer 10 and in
   links) currently wirelessly connected to the computer 10 is a            the CODEC 801 of the headset 20. The setting of the com
   predetermined number (n) or more (step S103). If the number              munication conditions is effected via a control channel that is
   of links is n or more, the connection control program 302           10   established between the computer 10 and headset 20.
   determines a low quality as the quality for transmission of                The role of the sink device is assigned to the remote device,
   audio data to be reproduced (step S102). The default value of            that is, the headset 20. The role of the source device is
   n is, e.g. 3. The value n can be varied by the user.                     assigned to the local device, that is, the computer 10. The
     If the number of links is less than n, the connection control          processing in step S201 establishes the transport channel for
   program 302 detects the type of audio data to be reproduced,        15   transmitting audio data Such as music from the computer 10 to
   that is, the type of input device used for inputting audio data          the headset 20 with the determined quality.
   to be reproduced.                                                           Then, the connection control program 302 loads the second
      Specifically, the connection control program 302 deter                sound driver 305 (step S202), and informs the headset 20 of
   mines whether the audio data to be reproduced is audio data              the start of streaming, thus executing a streaming process
   stored in the HDD 106 (step S104). If the audio data to be               (step S203). In step S203, transmission data (audio stream) is
   reproduced is the data stored in the HDD 106 (YES in step                generated from source data Such as music or voice by the
   S104), the connection control program 302 sets S=1 (step                 CODEC 600, and the audio stream is wirelessly transmitted
   S105). If the audio data to be reproduced is not data stored in          from the computer 10 to the headset 20.
   the HDD 106 (NO in step S104), the connection control                       AS has been described above, according to the present
   program 302 determines whether the audio data to be repro           25   embodiment, the transmission quality, with which source
   duced is audio data stored in the CD/DVD drive 107 (step                 data that is to be reproduced by the headset 20 is to be
   S106).                                                                   transmitted, is automatically optimized according to the kind
      If the audio data to be reproduced is the audio data stored in        of the source data. Therefore, the source data to be repro
   the CD/DVD drive 107 (YES in step S106), the connection                  duced, such as music, can efficiently be wirelessly transmit
   control program 302 sets S=2 (step S107). If the audio data to      30   ted, without occupying the entirety of the wireless commu
   be reproduced is not data stored in the CD/DVD drive 107                 nication bandwidth of BluetoothTM. Moreover, the quality for
   (NO in step S106), the connection control program 302 deter              transmitting the source data is determined by also taking into
   mines whether the audio data to be reproduced is audio data              account the number of links and the connection/disconnec
   stored on a Web site on the Internet 60 (step S108). If the              tion of the camera 40. Thus, the source data to be reproduced,
   audio data to be reproduced is audio data stored on the Web         35   such as music, can be transmitted to the headset 20, without
   site on the Internet 60, that is, audio data transferred from the        adversely affecting wireless communication between the
   Internet 60 (YES in step S108), the connection control pro               computer 10 and a device other than the headset 20.
   gram 302 asks the OS 301 whether the communication device                   All the quality determination process and connection con
   currently used for connection to the Internet 60 is the modem            trol process are realized by the computer program. Therefore,
   113 or LAN controller 114, thereby determining whether the          40   the same advantages as with the present embodiment can
   communication line currently used for connection to the                  easily be obtained by simply installing the computer program
   Internet 60 is a high-speed line (step S109). If the communi             in a computer with a wireless communication function, using
   cation line is the high-speed line (YES in step S109), the               a computer-readable storage medium storing this computer
   connection control program 302 sets S-3 (step S111). If the              program.
   communication line is a low-speed line (NO in step S109), the       45     Additional advantages and modifications will readily
   connection control program 302 sets S=4 (step S110).                     occur to those skilled in the art. Therefore, the invention in its
      If the audio data to be reproduced is not data transferred            broader aspects is not limited to the specific details and rep
   from the Internet 60 (NO in step S108), the connection con               resentative embodiments shown and described herein.
   trol program 302 sets S-5 (step S112).                                   Accordingly, various modifications may be made without
      Then, the connection control program 302 searches the            50   departing from the spirit or scope of the general inventive
   quality definition table 300 using the set value S as an index,          concept as defined by the appended claims and their equiva
   thereby determining the quality with which the audio data to             lents.
   be reproduced is to be transmitted (step S113).                             What is claimed is:
      Next, a connection control process that is executed by the              1. An electronic apparatus comprising:
   connection control program 302 is described with reference          55     an encoder that encodes source data to generate transmis
   to a flow chart of FIG. 9.                                                    sion data;
     After determining the quality with which the to-be-repro                 a wireless communication device that executes communi
   duced audio data is to be transmitted, the connection control                 cation with an external device via a wireless network,
   program 302 executes the following connection control pro                     and transmits the transmission data generated by the
   cess in order to establish the transport channel for transmit       60        encoder to the external device;
   ting audio data from the computer 10 to the headset 20 with                means for detecting the number of devices connected to the
   the determined quality.                                                       wireless communication device via the wireless net
      In order to set a communication environment for wirelessly                 work;
   transmitting audio data to the headset 20 with the determined              means for determining a rate at which the Source data is to
   quality, the connection control program 302 starts the con          65        be transmitted, on the basis of the detected number of
   nection establishing process. In the connection establishing                  devices and a type of the source data, wherein when the
   process, the connection control program 302 sets communi                      detected number is greater than a preset value, the rate is
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 155 of 175 Page ID #:155


                                                          US 7,460,477 B2
                                   11                                                                  12
           determined lower than when the detected number is not               causing the computer to determine a rate at which the
       greater than the preset value; and                                         source data is to be transmitted, on the basis of the
     means for controlling the encoder to vary an amount of the                  detected number of devices and a type of the Source data,
       generated transmission data on the basis of the deter                     wherein when the detected number is greater than a
           mined rate of the Source data.                                        preset value, the rate is determined lower than when the
     2. The electronic apparatus according to claim 1, wherein                   detected number is not greater than the preset value; and
   the controlling means includes means for setting in the                     causing the computer to execute a process of controlling an
   encodera value of sampling frequency, which is to be used in                  operation of the encoding to vary an amount of the
   the encoding of the source data, in accordance with the deter                 generated transmission data on the basis of the deter
   mined rate of the source data.                                       10        mined rate of the Source data.
     3. The electronic apparatus according to claim 1, wherein                  8. The program according to claim 7, wherein said causing
   the controlling means includes means for setting in the                   the computer to execute the process of controlling the opera
   encodera kind of an encoding scheme, which is to be used in               tion of the encoding includes causing the computer to execute
   the encoding of the source data, in accordance with the deter             a process of determining a value of Sampling frequency,
   mined rate of the source data.                                       15   which is to be used in the encoding process, in accordance
                                                                             with the determined rate of the source data.
     4. The electronic apparatus according to claim 1, wherein                  9. The program according to claim 7, wherein said causing
   the controlling means includes means for setting in the                   the computer to execute the process of controlling the opera
   encodera kind of an encoding scheme, which is to be used in               tion of the encoding includes causing the computer to a pro
   the encoding of the Source data, and a value of sampling                  cess of determining a kind of an encoding scheme, which is to
   frequency, which is to be used in the encoding of the Source              be used in the encoding process, in accordance with the
   data, in accordance with the determined rate of the Source                determined rate of the source data.
   data.
     5. The electronic apparatus according to claim 1, further                 10. The program according to claim 7, wherein said caus
   comprising a plurality of input devices capable of inputting              ing the computer to execute the process of controlling the
   data,
                                                                        25   operation of the encoding includes causing the computer to
                                                                             execute a process of determining a kind of an encoding
     wherein the rate determining means includes means for                   scheme, which is to be used in the encoding process, and a
        detecting the type of the Source data by determining                 value of sampling frequency, which is to be used in the encod
        from which of the input devices the source data is input.            ing process, in accordance with the determined rate of the
     6. The electronic apparatus according to claim 1, wherein:         30   Source data.
     the Source data includes audio data,                                      11. The program according to claim 7, wherein said caus
     the electronic apparatus further includes means for deter               ing the computer to determine the rate includes causing the
       mining whether a device that transmits image data is                  computer to execute a process of detecting the type of the
           connected to the wireless communication device via the            Source data by determining from which of a plurality of input
           wireless network, and                                        35   devices of the computer the Source data is input.
     the rate determining means includes means for setting,                    12. The program according to claim 7, wherein:
       when the device that transmits image data is connected                  the source data includes audio data,
           to the wireless communication device, the rate of the               the program further includes causing the computer to
        Source data at a first rate which is lower than a given rate.            execute a process of determining whether a device that
     7. A program that is stored in a computer-readable medium          40       transmits image data is connected to the computer via
   and controls wireless communication for transmitting trans                     the wireless network, and
   mission data, which is generated by encoding Source data,                   said causing the computer to determine the rate includes
   from a computer to an external device via a wireless network,                 causing the computer to execute a process of setting,
   comprising:                                                                   when the device that transmits image data is connected
     causing the computer to execute a process of detecting the         45        to the wireless communication device, the rate of the
        number of devices connected to the computer via the                       Source data at a first rate which is lower than a given rate.
           wireless network;                                                                         k   k   k   k   k
 Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 156 of 175 Page ID #:156
                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.            : 7.460,477 B2                                                               Page 1 of 1
APPLICATIONNO. : 10/795.974
DATED                 : December 2, 2008
INVENTOR(S)           : Yata et al.

        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:

        Claim 9, column 12, line 19, change “to a to --to execute a--.




                                                                     Signed and Sealed this
                                                                 Third Day of March, 2009


                                                                              4 (O-e-
                                                                               JOHN DOLL
                                                      Acting Director of the United States Patent and Trademark Office
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 157 of 175 Page ID #:157




                            EXHIBIT 10
          Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 158 of 175 Page ID #:158
Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link



                                   TP-Link WiFi Routers




                                                                                                      1
             Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 159 of 175 Page ID #:159
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link




7. A program that is stored in a computer-readable medium and controls wireless communication for
    transmitting transmission data, which is generated by encoding source data, from a computer to an
    external device via a wireless network, comprising:


causing the computer to execute a process of detecting the number of devices connected to the
    computer via the wireless network;


causing the computer to determine a rate at which the source data is to be transmitted, on the basis of
    the detected number of devices and a type of the source data, wherein when the detected number is
    greater than a preset value, the rate is determined lower than when the detected number is not
    greater than the preset value; and


causing the computer to execute a process of controlling an operation of the encoding to vary an amount
    of the generated transmission data on the basis of the determined rate of the source data.



                                                                                                          2
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 160 of 175 Page ID #:160
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

       Claim 7
                           Source: https://www.microcontrollertips.com/teardown-inside-TP-Link-archer-c7-wireless-router/
A program that is
stored in a computer-
readable medium and
controls wireless
communication for
transmitting
transmission data,
which is generated by
encoding source
                                      {firmware}
data, from a
computer to an
external device via a
wireless network,
comprising:


                                                                                                                            3
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 161 of 175 Page ID #:161
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

       Claim 7
                           Source: https://www.microcontrollertips.com/teardown-inside-TP-Link-archer-c7-wireless-router/
A program that is
stored in a computer-
readable medium and
controls wireless
communication for
transmitting
transmission data,
which is generated by
encoding source
data, from a
computer to an
external device via a
wireless network,
comprising:


                                                                                                                            4
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 162 of 175 Page ID #:162
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

       Claim 7

A program that is
stored in a computer-
readable medium and
controls wireless
communication for
transmitting
transmission data,
which is generated by
encoding source
data, from a                 https://static.tp-link.com/2018/201802/20180224/1910012180_Archer%20C1200_UG.pdf
                             Page 19
computer to an
external device via a
wireless network,
comprising:


                                                                                                                5
              Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 163 of 175 Page ID #:163
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

      Claim 7

causing the              Source: https://www.tp-link.com/us/support/faq/1104/
computer to
execute a process
of detecting the
number of devices
connected to the
computer via the
wireless network;




                                                                                                        6
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 164 of 175 Page ID #:164
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

    Claim 7
                      Source: https://static.tp-link.com/2018/201802/20180224/1910012180_Archer%20C1200_UG.pdf pg 43
causing the
computer to
determine a rate
at which the
source data is to
be transmitted,
on the basis of
the detected
number of
devices and a
type of the
source data




                                                                                                                       7
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 165 of 175 Page ID #:165
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

   Claim 7

causing the
                                                                      Source: https://www.tp-link.com/us/support/faq/1104/
computer to
determine a
rate at which
the source
data is to be
transmitted,
on the basis
of the
detected
number of
devices and a
type of the
source data                                                              {Note: Example from TP-Link shows one
                                                                         detected device, but routers can have more}

                                                                                                                             8
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 166 of 175 Page ID #:166
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

   Claim 7
                    Source: https://www.tp-link.com/us/support/faq/1104/
causing the
computer to
determine a
rate at which
the source
data is to be
transmitted,
on the basis
of the
detected
number of
devices and a
type of the
source data


                                                                                                        9
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 167 of 175 Page ID #:167
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

     Claim 7
                        Source: https://community.tp-link.com/us/home/forum/topic/161574?replyId=328672
wherein when the
detected number
is greater than a
preset value, the
rate is determined        {Note: “preset value”
                          would be count of all
lower than when           devices allocated priority
                          higher than “low” , which
the detected              is one in this example
                          from TP-Link.}
number is not
greater than the
preset value; and




                                                                                                          10
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 168 of 175 Page ID #:168
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

     Claim 7
                        Source: https://www.tp-link.com/us/support/faq/1104/
wherein when the
detected number
is greater than a        {Note: With # of
                         devices=preset value, the
preset value, the        rate is determined higher}

rate is determined
lower than when
the detected
number is not
greater than the
preset value; and




                                                                                                        11
              Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 169 of 175 Page ID #:169
  Preliminary Claim Chart Showing Infringement of Claim 7 of the U.S. Patent No. 7,460,477 by TP-Link

     Claim 7
                       Source: https://www.tp-link.com/us/support/faq/1104/
causing the
computer to
execute a process
of controlling an
operation of the
encoding to vary
an amount of the
generated
transmission data
on the basis of the
determined rate of
the source data.




                                                                                                        12
Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 170 of 175 Page ID #:170




                            EXHIBIT 11
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 171 of 175 Page ID #:171



Patent   6,885,643
Claim    1

         Product                                            WiFi Certified Model   Alternate Model Name
         AC1350 Wireless Dual Band Gigabit Router           EC230-G1               Archer C60, Archer C59, Archer C58
         AC1200 Wireless Dual Band Gigabit Router           Archer C1210
         AC1750 Wireless Dual Band Gigabit Router           C7
         AC1200 Wireless Dual Band Gigabit VoIP VDSL/ADSL
         Modem Router                                       Archer VR500v
         AC1200 Wireless Dual Band Gigabit Router           Archer C5
         AC1900 Wireless Dual Band Gigabit Router           EC330-G5u
         AC1200 Wireless Dual Band Gigabit VoIP VDSL/ADSL
         Modem Router                                       VC221-G3v              C6
         AC1900 Wireless Dual Band Gigabit Router           C9
         AC1750 Wireless Dual Band Gigabit Router           C8                     Archer A7, Archer C7, Archer C8
         AC1200 Wireless Dual Band Gigabit VoIP VDSL/ADSL
         Modem Router                                       Archer VR1200v
         AC1200 Wireless Daul Band Gigabit Router           Archer C1200
         AC1200 Wireless Daul Band Gigabit Router           Archer C5
         AC1900 Touch Screen Wi-Fi Gigabit Router           Touch P5
         AC1200 Whole Home Mesh Wi-Fi System                HC221-G1
         AC900 Wireless Dual Band Router                                           Archer C25
         AC5200 Wireless Tri-Band MU-MIMO Gigabit Router                           Archer C5200
         AC5400 Wireless Tri-Band MU-MIMO Gigabit Router                           Archer C5400
         Talon AD7200 Multi-Band Wi-Fi Router                                      AD7200
         AC3000 Wireless Tri-Band Gigabit Router                                   Archer C3000
         AC2600 Wireless Dual Band Gigabit Router                                  Archer C2600
         AC750 Wireless Dual Band Gigabit Router                                   Archer C2, TL-WR902AC
         AX11000 Next-Gen Tri-Band Gaming Router                                   Archer AX11000
         AX6000 Next-Gen Wi-Fi Router                                              Archer AX6000
         AX3000 Dual Band Gigabit Wi-Fi 6 Router                                   Archer AX50
         AX3000 Dual Band Gigabit Wi-Fi 6 Router                                   Archer AX3000
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 172 of 175 Page ID #:172


         AX1500 Wi-Fi 6 Router                                                     Archer AX10
         AX1500 Wi-Fi 6 Router                                                     Archer AX1500
         AC4000 MU-MIMO Tri-Band Wi-Fi Router                                      Archer C4000, Archer A20
         AC2300 Wireless MU-MIMO Gigabit Router                                    Archer C2300

Patent   6,928,166
Claim    13

         Product                                            WiFi Certified Model   Alternate Model Name
         300Mbps Wireless N Gigabit Access Point            EAP120
         300Mbps Universal Wi-Fi Range Extender             TL-WA850RE
         AC750 Wireless Dual Band 4G LTE Router             Archer MR200
         300Mbps Wireless N VDSL/ADSL Modem Router          VN020-F3
         AC750 Wireless Dual Band 4G LTE Router             Archer MR200
         AC750 Wireless Dual Band Router                    C20i
         150Mbps Wireless N ADSL2+Modem Router              TD-W8951ND
                                                            AC750 Wireless Dual
         AC750 Wireless Dual Band Gigabit Router            Band Gigabit Router    Archer C2
         N600 Wireless Dual Band Gigabit Access Point       EAP220
         300Mbps Wireless N VDSL/ADSL VoIP Modem Router     TP-Link 100v
         AC1350 Wireless Dual Band Gigabit Router           EC230-G1               Archer C60, Archer C59, Archer C58
         AC1200 Wireless Dual Band Gigabit Router           Archer C1210
         AC1750 Wireless Dual Band Gigabit Router           C7                     Archer A7, Archer C7, Archer C8
         AC1200 Wireless Dual Band Gigabit VoIP VDSL/ADSL
         Modem Router                                       Archer VR500v
         AC1200 Wireless Dual Band Gigabit Router           Archer C5
         300Mbps Wireless N Access Point                    EAP110
         AC1900 Wireless Dual Band Gigabit Router           EC330-G5u              Archer C1900
         AC1200 Wireless Dual Band Gigabit VoIP VDSL/ADSL
         Modem Router                                       VC221-G3v
         300Mbps Wireless N USB VDSL2 Modem Router          TD-W9970
         AC1900 Wireless Dual Band Gigabit Router           C9
         AC1750 Wireless Dual Band Gigabit Router           C8
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 173 of 175 Page ID #:173


         Wireless Dual Band 4G LTE Router                   Archer MR200
         AC1200 Wireless Dual Band Gigabit VoIP VDSL/ADSL
         Modem Router                                       Archer VR1200v
         AC1200 Wireless Daul Band Gigabit Router           Archer C1200           Archer C6
         AC1200 Wireless Daul Band Gigabit Router           Archer C5
         AC1900 Touch Screen Wi-Fi Gigabit Router           Touch P5
         AC1200 Whole Home Mesh Wi-Fi System                HC221-G1
         AC900 Wireless Dual Band Router                                           Archer C25
         AC5200 Wireless Tri-Band MU-MIMO Gigabit Router                           Archer C5200
         AC5400 Wireless Tri-Band MU-MIMO Gigabit Router                           Archer C5400
         Talon AD7200 Multi-Band Wi-Fi Router                                      AD7200
         AC3000 Wireless Tri-Band Gigabit Router                                   Archer C3000
         AC2600 Wireless Dual Band Gigabit Router                                  Archer C2600
         AC750 Wireless Dual Band Gigabit Router                                   Archer C2, TL-WR902AC
         AX11000 Next-Gen Tri-Band Gaming Router                                   Archer AX11000
         AX6000 Next-Gen Wi-Fi Router                                              Archer AX6000
         AX3000 Dual Band Gigabit Wi-Fi 6 Router                                   Archer AX50
         AX3000 Dual Band Gigabit Wi-Fi 6 Router                                   Archer AX3000
         AX1500 Wi-Fi 6 Router                                                     Archer AX10
         AX1500 Wi-Fi 6 Router                                                     Archer AX1500
         AC4000 MU-MIMO Tri-Band Wi-Fi Router                                      Archer C4000, Archer A20
         AC2300 Wireless MU-MIMO Gigabit Router                                    Archer C2300



Patent   7,039,445
Claim    13

         Product                                            WiFi Certified Model   Alternate Model Name
         AC1900 Wireless Dual Band Gigabit Router           C9                     Archer C1900
         AC1750 Wireless Dual Band Gigabit Router           C8                     Archer A7, Archer C7, Archer C8
         AC1200 Wireless Daul Band Gigabit Router           Archer C5              Archer C1200, Archer C1210, Archer C6
         AC1900 Touch Screen Wi-Fi Gigabit Router           Touch P5
         AX11000 Next-Gen Tri-Band Gaming Router                                   Archer AX11000
                Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 174 of 175 Page ID #:174


         AX6000 Next-Gen Wi-Fi Router                                             Archer AX6000
         AX3000 Dual Band Gigabit Wi-Fi 6 Router                                  Archer AX50
         AX3000 Dual Band Gigabit Wi-Fi 6 Router                                  Archer AX3000
         AX1500 Wi-Fi 6 Router                                                    Archer AX10
         AX1500 Wi-Fi 6 Router                                                    Archer AX1500
         AC4000 MU-MIMO Tri-Band Wi-Fi Router                                     Archer C4000, Archer A20
         AC2300 Wireless MU-MIMO Gigabit Router                                   Archer C2300



Patent   7,460,477
Claim    7

         Product                                           WiFi Certified Model   Alternate Model Name
         AC1350 Wireless Dual Band Gigabit Router          EC230-G1               Archer C60, Archer C59, Archer C58
         AC1900 Wireless Dual Band Gigabit Router          EC330-G5u              Archer C9, Archer C1900
         AC1900 Touch Screen Wi-Fi Gigabit Router          Touch P5
         AC5200 Wireless Tri-Band MU-MIMO Gigabit Router                          Archer C5200
         AC5400 Wireless Tri-Band MU-MIMO Gigabit Router                          Archer C5400
         Talon AD7200 Multi-Band Wi-Fi Router                                     AD7200
         AC1200 Wireless Daul Band Gigabit Router          Archer C1200
         AC3000 Wireless Tri-Band Gigabit Router                                  Archer C3000
         AC2600 Wireless Dual Band Gigabit Router                                 Archer C2600
         AC750 Wireless Dual Band Gigabit Router                                  Archer C2 (V3)
         AC1750 Wireless Dual Band Gigabit Router          C8                     Archer A7, Archer C7, Archer C8
         AX3000 Dual Band Gigabit Wi-Fi 6 Router                                  Archer AX50
         AX1500 Wi-Fi 6 Router                                                    Archer AX10
         AC4000 MU-MIMO Tri-Band Wi-Fi Router                                     Archer C4000, Archer A20
         AC5400 Wireless Tri-Band MU-MIMO Gigabit Router                          Archer C5400
         AX6000 Next-Gen Wi-Fi Router                                             Archer AX6000
         AX1500 Wi-Fi 6 Router                                                    Archer AX1500
         AX3000 Dual Band Gigabit Wi-Fi 6 Router                                  Archer AX3000

Patent   7,127,210
               Case 8:20-cv-00708-JVS-JDE Document 1 Filed 04/10/20 Page 175 of 175 Page ID #:175


Claim   20

        Product
        HA100 - Bluetooth Music Receiver
